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                                   Appeal No. 2023-1217


                                     IN THE
                         UNITED STATES COURT OF APPEALS
                            FOR THE FEDERAL CIRCUIT
                             _______________________


                                   US SYNTHETIC CORP.,
                                        Appellant

                                            v.

                        INTERNATIONAL TRADE COMMISSION,
                                    Appellee

 SF DIAMOND CO., LTD., SF DIAMOND USA, INC., ILJIN DIAMOND CO., LTD., ILJIN
HOLDINGS CO., LTD., ILJIN USA INC., ILJIN EUROPE GMBH, ILJIN JAPAN CO., LTD., ILJIN
  CHINA CO., LTD., INTERNATIONAL DIAMOND SERVICES, INC., HENAN JINGRUI NEW
MATERIAL TECHNOLOGY CO., CR GEMS SUPERABRASIVES CO., LTD., FUJIAN WANLONG
                  SUPERHARD MATERIAL TECHNOLOGY CO., LTD.,
                                    Intervenors

                             _______________________

                 Appeal from the United States International Trade
                  Commission in Investigation No. 337-TA-1236
                            ____________________

NON-CONFIDENTIAL BRIEF OF APPELLANT US SYNTHETIC CORP.
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           Case: 23-1217      Document: 34     Page: 2    Filed: 05/19/2023




U.S. Patent No. 10,508,502 (“the ’502 patent”):

      1. A polycrystalline diamond compact, comprising:

      a polycrystalline diamond table, at least an unleached portion of the
      polycrystalline diamond table including:

      a plurality of diamond grains bonded together via diamond-to-
      diamond bonding to define interstitial regions, the plurality of
      diamond grains exhibiting an average grain size of about 50 μm or
      less; and

      a catalyst including cobalt, the catalyst occupying at least a portion of
      the interstitial regions;

      wherein the unleached portion of the polycrystalline diamond table
      exhibits a coercivity of about 115 Oe to about 250 Oe;

      wherein the unleached portion of the polycrystalline diamond table
      exhibits a specific permeability less than about 0.10 G·cm3/g·Oe; and

      a substrate bonded to the polycrystalline diamond table along an
      interfacial surface, the interfacial surface exhibiting a substantially
      planar topography;

      wherein a lateral dimension of the polycrystalline diamond table is
      about 0.8 cm to about 1.9 cm.

      2. The polycrystalline diamond compact of claim 1 wherein the
      unleached portion of the polycrystalline diamond table exhibits a
      specific magnetic saturation of about 15 G·cm3/g or less.

      11. The polycrystalline diamond compact of claim 1 wherein the
      lateral dimension of the polycrystalline diamond table is about 1.3 cm
      to about 1.9 cm.

      15. A polycrystalline diamond compact, comprising:

      a polycrystalline diamond table, at least an unleached portion of the
      polycrystalline diamond table including:
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a plurality of diamond grains bonded together via diamond-to-
diamond bonding to define defining interstitial regions, the plurality
of diamond grains exhibiting an average grain size of about 50 μm or
less; and

a catalyst including cobalt, the catalyst occupying at least a portion of
the interstitial regions;

wherein the unleached portion of the polycrystalline diamond table
exhibits:

a coercivity of about 115 Oe to about 250 Oe;

a specific magnetic saturation of about 10 G·cm3/g to about 15
G·cm3/g; and

a thermal stability, as determined by a distance cut, prior to failure in
a vertical lathe test, of about 1300 m to about 3950 m;

wherein a lateral dimension of the polycrystalline diamond table is
about 0.8 cm or more.

21. The polycrystalline diamond compact of claim 15 wherein the
unleached portion of the polycrystalline diamond table exhibits a
specific permeability less than about 0.10 G·cm3/g·Oe.
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                UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT

                         CERTIFICATE OF INTEREST


         Case Number: 2023-1217

   Short Case Caption: US Synthetic Corp. v. ITC

   Filing Party/Entity: US Synthetic Corp.


  Instructions:

    1. Complete each section of the form and select none or N/A if appropriate.

    2. Please enter only one item per box; attach additional pages as needed, and
       check the box to indicate such pages are attached.

    3. In answering Sections 2 and 3, be specific as to which represented entities
       the answers apply; lack of specificity may result in non-compliance.

    4. Please do not duplicate entries within Section 5.

    5. Counsel must file an amended Certificate of Interest within seven days after
       any information on this form changes. Fed. Cir. R. 47.4(c).



I certify the following information and any attached sheets are accurate and
complete to the best of my knowledge.

 Date:   May 19, 2023                     Signature:    /s/ Daniel C. Cooley

                                          Name:         Daniel C. Cooley




                                          i
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     1. Represented                2. Real Party in              3. Parent Corporations
         Entities.                     Interest.                    and Stockholders.
    Fed. Cir. R. 47.4(a)(1).     Fed. Cir. R. 47.4(a)(2).          Fed. Cir. R. 47.4(a)(3).

Provide the full names of      Provide the full names of        Provide the full names of
all entities represented by    all real parties in interest     all parent corporations for
undersigned counsel in         for the entities. Do not list    the entities and all
this case.                     the real parties if they are     publicly held companies
                               the same as the entities.        that own 10% or more
                                                                stock in the entities.


                                   None/Not Applicable              None/Not Applicable

US Synthetic Corporation                                        ChampionX Corporation




                                Additional pages attached




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4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

      None/Not Applicable                         Additional pages attached

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5. Related Cases. Other than the originating case(s) for this case, are there
related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?

    Yes (file separate notice; see below)          No        N/A (amicus/movant)

If yes, concurrently file a separate Notice of Related Case Information that complies
with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
Notice must only be filed with the first Certificate of Interest or, subsequently, if
information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

      None/Not Applicable               Additional pages attached




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The public version of the addendum to U.S. Synthetic Corporation’s opening brief
redacts confidential information of U.S. Synthetic Corporation and Respondents,
including technical details about products and business information. No material
has been redacted from the text of the opening brief.

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                     STATEMENT OF RELATED CASES

      Counsel for US Synthetic Corporation (“USS”) hereby certifies that no other

appeal from the same proceeding in the United States International Trade

Commission (“ITC”) is or was previously before this Court or another appellate

court, whether under the same or similar title.

      The Court’s decision in this appeal may affect or be affected by US Synthetic

Corporation v. CR Gems Superabrasives Co., Ltd., No. 4:20-cv-03962 (S.D. Tex.);

US Synthetic Corporation v. Shenzhen Haimingrun Superhard Materials Co., Ltd.,

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Corporation v. SF Diamond Co. Ltd. et al., No. 4:20-cv-03974 (S.D. Tex.); and

US Synthetic Corporation v. Fujian Wanlong Superhard Material Technology Co.,

Ltd., No. 4:20-cv-03975 (S.D. Tex.).




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I.    STATEMENT OF JURISDICTION

      The ITC had jurisdiction pursuant to 19 U.S.C. § 1337. The Commission

issued its Final Determination on October 3, 2022. USS’s notice of appeal from the

Commission’s determination finding no Section 337 violation was timely filed on

November 28, 2022. This Court has jurisdiction pursuant to 28 U.S.C.

§ 1295(a)(6).




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II.   STATEMENT OF THE ISSUES

      1.     Did the International Trade Commission (“Commission”) err when it

found that claims 1, 2, 11, 15, and 21 of U.S. Patent No. 10,508,502 (“the ’502

patent”) are directed to an abstract idea and therefore ineligible under 35 U.S.C.

§ 101?




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III.   INTRODUCTION

       USS appeals the Commission’s decision finding claims of the ’502 patent

invalid under 35 U.S.C. § 101 as being directed to a patent-ineligible abstract idea.

The claims held unpatentably abstract by the Commission are directed to a

composition of matter: a polycrystalline diamond compact (“PDC”) 1 used in

drilling applications. USS believes—and no case raised by the parties in the

proceedings is contrary—that this is the first time a composition of matter has been

deemed an ineligible abstract idea.

       Compositions of matter are expressly among the categories Congress

enumerated as patentable in the Patent Act of 1793, persisting unchanged to the

present day, 35 U.S.C. § 101 (“any new and useful process, machine, manufacture,

or composition of matter”). The Commission recognized that USS’s claims to

man-made PDCs were statutory compositions of matter, but nevertheless held that

they were ineligible for patenting under the judge-made exception for mere

abstract ideas.




       1
        “PDC” refers to a “polycrystalline diamond compact,” which is a compact
of both polycrystalline diamond and a substrate often made of tungsten carbide.
“PCD,” on the other hand, refers specifically to the polycrystalline diamond that is
sintered to the top of the substrate. The PCD is often referred to as a “PCD table” or
a “diamond table.”


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      The Supreme Court and Federal Circuit jurisprudence defining ineligible-

subject matter have traditionally found claims “abstract” when they are directed to

mathematical equations, business methods, or generic ideas implemented on

computers. Here, however, the claims are directed to tangible PDCs—described, in

part, by objective measurements of their physical properties. The Commission’s

ineligibility decision was unprecedented in finding that by including these

measurements to define the characteristics of the diamond microstructure, the PDC

claims were rendered abstract by virtue of identifying “results” or “side effects.”

The Commission went further, finding that the claimed PDC measurements were

nonstructural and thus abstract because “the measurable characteristics” were

merely “the result of the sintering conditions and input materials that went into

manufacturing the PDC.” But every inventive element under the sun is the “result”

of the process that made it.

      The Commission’s decision conflicts with the plain language of § 101 and

Federal Circuit and Supreme Court caselaw. It also raises serious policy concerns

across the materials, chemical, and pharmaceutical industries, which often patent

compositions of matter by claiming the physical properties of a material. The

Commission should be reversed.




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IV.   STATEMENT OF THE CASE

      A.     USS Is a Leading Manufacturer and Innovator of PDC
             Technologies

      USS is one of the world’s largest developers and producers of PDCs.

Appx900. PDCs are commonly used in drill bits used for oil and gas exploration.

Appx900; Appx903. USS has developed PDCs for drill bits that drill faster and last

longer, enhancing the durability of drilling equipment. Appx918; Appx928. USS’s

research and development center and manufacturing facility are located in Orem,

Utah, where the company was founded in 1978. Appx900; Appx904. It does not

have overseas operations. See Appx904.

      USS is globally recognized in the industry as the leader in the PDC market

due to the quality of its PDC products. See Appx887 (Respondent Iljin’s CEO

praising USS as “the leader in [the] PDC market”); Appx889 (Respondent SF

Diamond noting that USS is the “industry leader in PDC products”).

      B.     USS Developed and Patented Innovative PDC Products

      This appeal relates to PDCs. As shown below, a PDC includes a diamond

table and a substrate. The substrate is made from metal—typically, a cobalt-

cemented tungsten carbide. The diamond table is made from synthetized

polycrystalline diamond. PDCs are often shaped as cylinders and are brazed into

drill bits to provide cutting elements. Below is an exploded view of a PDC (left)

and multiple PDCs in a drill bit (right).


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Appx552 (citing Appx1238).

      The process of making a PDC, including synthesizing the diamond table,

requires intense pressure and temperature to fuse or “sinter[]” the diamond grains

to each other. Appx100, 9:54-63. The pressure and temperature also help bond the

diamond table to the tungsten carbide substrate. Appx1636, 60:7-18.

      A PDC can be fabricated by placing the substrate into a cartridge with a

volume of diamond particles on top of the substrate. See Appx96, 1:42-46. This

cartridge may be loaded into a press. Appx96, 1:45-46. The substrate and diamond

particles are processed under the high-pressure and high-temperature conditions in

the presence of a catalyst (e.g., cobalt or a similar catalyst that originates from the

substrate) that causes the diamond particles to bond to one another, creating a

polycrystalline diamond table that is bonded to the substrate. Appx96, 1:46-54.



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             1.    Development of the Invention

      USS sought to improve the performance of its PDCs. One way to improve

performance is to reduce the amount of metal catalyst (e.g., cobalt) in the diamond

table. Appx97, 4:5-12. Having metal catalyst in the diamond matrix is helpful

during the sintering process to promote the growth of diamond grains, but the

metal catalyst can be harmful to the structural integrity of the diamond table when

the PDC is later used for drilling. Appx96, 1:54-2:7; Appx1647-1648, 71:17-72:10.

      One method for reducing the amount of catalyst in PDCs is called

“leaching.” Appx1647-1648, 71:17-72:10. Leaching involves submerging the PDC

diamond table (but not the metal substrate) into an acid bath. Appx101, 12:20-47.

The acid removes some of the metal catalyst in the diamond table. Id. A PDC that

has undergone leaching is called a “leached” PDC in the industry. It may have a

leached region near its surface (where the acid has removed the metal catalyst) and

an unleached region (where the acid did not penetrate). Id.; see also Appx104,

18:25-42. A PDC that has not undergone any leaching process is referred to in the

industry as an “unleached” PDC. Appx1704, 128:18-24. Diamond that is leached

of its sintering catalyst often lasts longer under higher temperatures and performs

better during abrasion tests than unleached diamond. Appx1653, 77:5-22.

      USS sought to create a new, stronger type of PDC by reducing the amount of

metal catalyst (e.g., cobalt), thereby increasing the diamond bonding, but without



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requiring a leaching process to do so—although the product could later be leached

later to make it even more wear-resistant. Appx1647-1648, 71:10-72:10. Before

the claimed invention, USS and others believed that sintering a PDC at too high a

pressure could damage or destroy expensive press equipment without improving

diamond bonding. Appx1645-1646, 69:16-70:12. But through significant R&D

efforts, USS developed a way to exert higher sintering pressure (e.g., > 7

Gigapascals (“GPa”)) and reduce the overall cobalt content in the diamond table

even before leaching. See Appx922; Appx1642-1648, 68:20-72:23. These

manufacturing methods led to a new type of PDC with more diamond bonding and

less cobalt.

      USS’s new PDCs have stronger diamond-to-diamond bonding than those in

the prior art. Appx97, 3:66-4:5. USS found that its new PDCs performed

surprisingly well in two standard industry tests that simulate drilling conditions.

Appx1652-1653, 76:6-77:22 (noting that the claimed invention “was not leached

and still beat a leached cutter”). These tests use a vertical turret lathe (“VTL”) to

grind the PDC against a large, rotating rock cylinder. Appx1651-1652, 75:17-76:5.

One test called a “wet VTL” uses a coolant and produces a measurement called

“G-Ratio.” Appx1717-1718, 141:25-142:5; Appx98, 6:1-13. The other test called

“dry VTL” is similar but does not use coolant and produces a measurement called

“thermal stability.” Appx1734-1735, 158:24-159:12; Appx98, 6:14-38.


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      USS found that its new PDC performed better in high-abrasion applications,

such as earth-boring drill bits. Appx97, 4:46-57. Good PDC performance reduces

how frequently drill operators must remove or replace the drill bit. Appx96, 1:26-

41. This is important because removing a drill bit from a well that is thousands of

feet into the earth’s surface can be time consuming and expensive, decreasing the

productivity of the drill rig. Appx1634-1635, 58:10-59:2. The patented PDC can

also be used to improve the performance of other applications, such as thrust-

bearing assemblies, radial-bearing assemblies, wire-drawing dies, artificial joints,

machining elements, and heat sinks. Appx105, 20:62-67. The patented PDCs

achieved superior performance compared to conventional PDCs that are leached to

merely reduce the metal-solvent catalyst content without having stronger diamond-

to-diamond bonding. Appx1647-1648, 71:19-72:10.

               2.   Characterization of the Invention
      USS sought to characterize the innovative PDC it invented, including its

improved degree of diamond-to-diamond bonding. These bonds could be observed

using a scanning electron microscope (“SEM”), as USS expert Dr. German did at

the hearing.




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          Appx568 (red ovals indicating diamond-to-diamond bonding).

      Because the degree of diamond-to-diamond bonding cannot be quantified by

observation alone, USS used objective measurements to define the characteristics

of the diamond microstructure:

      Average Grain Size: Average diamond grain size or average grain size

refers to an average size of diamond grains measured by a standard method, such

as ASTM E112-96 (2004). Appx195-197; Appx1729-1730, 153:20-154:1. The

measurements are taken using a scanning electron microscope (“SEM”) and other

instrumentation. Appx1726-1727, 150:14-151:2; Appx1728-1730, 152:18-154:1.

The ’502 patent discloses that the claimed PDCs have an average grain size of 50

µm or less. See Appx97, 4:36-45.




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      Seeking other ways to characterize its novel PDC, USS measured

electromagnetic properties of the material. Appx2823, 1243:19-25. A PDC’s

electromagnetic properties are important because they reflect the quantity and

spacing of the metal-solvent catalyst left over in the diamond table after sintering,

thereby also providing information regarding the diamond that surrounds the

catalyst. This metal-solvent catalyst—often cobalt—is magnetic and electrically

conductive. Appx3283, 1:55-65; Appx3292-3293, 19:1-21:29. As the diamond

particles in the PCD table bond and grow, they displace the metal solvent catalyst

in the diamond matrix. Appx97, 3:66-4:17. The new PCD table with a reduced

metal-solvent catalyst content exhibited “a higher coercivity, a lower specific

magnetic saturation, or a lower specific permeability (i.e., the ratio of specific

magnetic saturation to coercivity) than [a] PCD formed at a lower sintering

pressure.” Id. Each of these measurements provides different and quantifiable

information about the diamond microstructure.

      Coercivity: Coercivity measures resistance to changes in magnetization

indicated by the magnetic field intensity needed to reduce the magnetization of the

material from saturation to zero. Appx197. Coercivity is correlated with the “mean

free path” between neighboring diamond grains of the PCD. Appx97-98, 4:66-5:1.

The mean free path “is representative of the average distance between neighboring

diamond grains of the PCD, and thus may be indicative of the extent of diamond-


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to-diamond bonding in the PCD.” Appx98, 5:2-5. “A relatively smaller mean free

path, in well-sintered PCD, may indicate relatively more diamond-to-diamond

bonding.” Appx98, 5:5-7. Thus, coercivity reflects how tightly the diamond grains

are bonded together in a PCD.

      Specific magnetic saturation: Specific magnetic saturation represents a

state in which an increase in the magnetizing force does not result in an increase in

the magnetization of the material. Appx199-200. The ’502 patent discloses that

“[t]he amount of the metal-solvent catalyst present in the PCD may be correlated

with the measured specific magnetic saturation of the PCD. A relatively larger

specific magnetic saturation indicates relatively more metal-solvent catalyst in the

PCD.” Appx97, 4:61-65. The amount of metal-solvent catalyst in a PCD depends

on the PCD microstructure, specifically, the extent of diamond-to-diamond

bonding. Appx98, 5:20-22 (“Generally, as the sintering pressure that is used to

form the PCD increases, the coercivity may increase and the magnetic saturation

may decrease.”).

      Specific permeability: Specific permeability measures the ratio of specific

magnetic saturation to coercivity. Appx199. Specific permeability is a

microstructure parameter because it is a ratio of coercivity and specific magnetic

saturation, both of which represent a PCD’s microstructure. See Appx2920,




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1340:12-15. USS determined that its polycrystalline diamond table exhibits a

specific permeability less than about 0.10 G·cm3/g·Oe. Appx98, 5:37-41.

             3.     USS Patented Its PDC Invention

      After its research developments, USS tested and analyzed its novel PDCs

and characterized properties of their composition, including the average diamond

grain size, diameter, coercivity, and magnetic saturation. USS provided the results

of this testing in Table I of the ’502 patent and related patents, U.S. Patent No.

10,507,565 (“the ’565 patent”) and U.S. Patent No. 8,616,306 (“the ’306 patent”)

(collectively “the Asserted Patents”).




Appx103-104, tbl.I. USS also analyzed and tested prior art products for these same

properties. The results of these tests are provided in Tables II and III in the

Asserted Patents and show that the microstructure of the PDCs that USS had

developed was unique and differed from the prior art. Appx104, tbls.II & III. When



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compared on equal footing (unleached USS PDC versus unleached prior art PDC),

no prior art product exhibited all the characteristics of the PCD table in USS’s new

PDC. Appx104, tbl.IV.

      USS was granted claims covering its inventions, including the ’502 patent

(Appx80-108) and its claims 1, 2, 11, 15, and 21 (collectively “the Asserted

Claims”). Some claims in USS’s Patents, not at issue here, claimed the process of

making the PDC, including pressures during the sintering process. The Asserted

Claims at issue in this appeal, however, address the PDC itself.

      Claims 1 and 2 of the ’502 patent recite the novel PDC:

             1. A polycrystalline diamond compact, comprising:

             a polycrystalline diamond table, at least an unleached
             portion of the polycrystalline diamond table including:

             a plurality of diamond grains bonded together via
             diamond-to-diamond bonding to define interstitial
             regions, the plurality of diamond grains exhibiting an
             average grain size of about 50 μm or less; and
             a catalyst including cobalt, the catalyst occupying at least
             a portion of the interstitial regions;

             wherein the unleached portion of the polycrystalline
             diamond table exhibits a coercivity of about 115 Oe to
             about 250 Oe;

             wherein the unleached portion of the polycrystalline
             diamond table exhibits a specific permeability less than
             about 0.10 G·cm3/g·Oe; and




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             a substrate bonded to the polycrystalline diamond table
             along an interfacial surface, the interfacial surface
             exhibiting a substantially planar topography;

             wherein a lateral dimension of the polycrystalline diamond
             table is about 0.8 cm to about 1.9 cm.

             2. The polycrystalline diamond compact of claim 1
             wherein the unleached portion of the polycrystalline
             diamond table exhibits a specific magnetic saturation of
             about 15 G·cm3/g or less.

Appx106-107, Claims 1, 2.

      C.     USS Requested This Investigation to Address Infringement of the
             Asserted Patents by Foreign Manufacturers
      USS successfully commercialized its novel PDC products. Its customers

include most of the largest oil field service providers and drill bit manufacturers in

the industry. Appx1641, 65:2-7; Appx901. When USS introduced its new PDC

product to one large customer, the customer was especially interested because it

“beat a leached cutter.” Appx1651-1653, 75:1-77:22. The sales of USS’s domestic

industry products covered by the Asserted Patents increased from 2017 through

2019. Appx2072-2073, 495:3-496:13.

      After USS publicized its technology, USS started to identify foreign

companies infringing the Asserted Patents. These companies include the

Respondents: entities from China and Korea who soon began to import infringing




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PDC products into the United States.2 After obtaining samples and testing them,

USS determined there was infringement. The only products made by Respondents

that had the claimed features were created after USS published the disclosure of its

patents and sold its own products into the marketplace. This result is unsurprising

because Respondents later conceded that they were benchmarking products from

USS, who they called the “leader in the industry.” See Appx1215-1216, 213:21-

214:13; Appx887 (Respondent Iljin’s CEO praising USS as “the leader in [the]

PDC market”); Appx889 (SF Diamond noting that USS is the “industry leader in

PDC products”); Appx1892-1893, 315:21-316:7; Appx821.

      Throughout this Investigation, Respondents challenged the Asserted Claims

as being directed to patent-ineligible natural phenomena or diagnostics. In their

pre-hearing brief, Respondents argued that “the claims are directed to diagnostics


      2
        Respondents in this Investigation include SF Diamond (which includes SF
Diamond Co., Ltd., and SF Diamond USA, Inc.), which is based in Zhengzhou,
China, and its subsidiary SF Diamond USA, Inc.; Iljin (includes Iljin Holdings
Co., Ltd., and its subsidiaries Iljin Diamond Co., Ltd., Iljin USA Inc., Iljin Europe
GmbH, Iljin Japan Co., Ltd., and Iljin China Co., Ltd.) is headquartered in South
Korea; Jingrui (Henan Jingrui New Material Technology Co., Ltd.) is based in
Zhengzhou, China; New Asia (Zhengzhou New Asia Superhard Materials
Composite Co., Ltd.) is based in Zhengzhou, China, and its distributor IDS
(International Diamond Services, Inc.) is based in Houston, Texas; CR Gems (CR
Gems Superabrasives Co., Ltd.) is based in Shanghai, China; Wanlong (Fujian
Wanlong Superhard Material Technology Co., Ltd.) is based in Quangzhou, China;
JuxTech (Juxin New Materials Technology Co., Ltd.) is headquartered in Zhuhai,
China; and Haimingrun (Shenzhen Haimingrun Superhard Materials Co., Ltd.) is
based in Shenzhen City, China.


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applied to characterize previously unmeasured magnetic and electrical properties

of the PCD table in the PDC.” Appx3701. Respondents made a similar argument in

their post-hearing briefing. Appx3911-3912.

      After the evidentiary hearing, the Administrative Law Judge (“ALJ”) held

that “[a]ll asserted claims of U.S. Patent Nos. 10,507,565, 10,108,502, and

8,616,306 are infringed by at least one Accused Product”; that “[a]ll asserted

claims of U.S. Patent Nos. 10,507,565, 10,108,502, and 8,616,306 are invalid”;

and that “[e]xcept for the invalidity of the asserted claims, a domestic industry

within the meaning of 19 U.S.C. § 1337 exists.” Appx391.

      With respect to the claims on appeal, the ALJ found that the Asserted

Claims of the ’502 patent are infringed by the Accused Products. Appx297-299.

The ALJ also found that domestic industry products practice claims 1, 2, 11, 15,

and 21 of the ’502 patent. Appx314-315.

      Turning to the Respondents’ arguments that the claims are directed to an

ineligible natural phenomenon, the Initial Determination (“ID”) rejected the

arguments, holding that “[t]he asserted claims of the 565 patent obviously do recite

compositions of matter that are not found in nature . . . .” Appx325 (emphasis

added). However, the ALJ found the Asserted Claims were invalid under 35 U.S.C.

§ 101 as being directed to an abstract idea. The ALJ rejected Respondents’ other

invalidity arguments under §§ 102, 103, and 112 for claims 2, 15, and 21.


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Therefore, only the § 101 ruling prevented an exclusion order from issuing against

the Respondents.

      USS petitioned for review from the Commission. After briefing from both

parties, the Commission issued its Final Determination holding that the Asserted

Claims are directed to an abstract idea and ineligible under § 101. At Alice step

one, the Commission reiterated the ALJ’s description of the claims as reciting

“side effects” and “performance measures.” Appx20-21; Appx23. The

Commission then held that “the claims are directed to the abstract idea of PDCs

that achieve the claimed performance measures and desired magnetic and electrical

results, which the specifications posit may be derived from enhanced diamond-to-

diamond bonding.” Appx24-25. At Alice step two, the Commission agreed with the

Initial Determination’s finding that “the claims read on any PDC structure that

achieves the claimed improvements.” Appx34 (quoting Appx333). The

Commission further stated that “the claims recite results-oriented language and the

recited physical elements are conventional.” Appx35.

      Commissioner Schmidtlein dissented, stating that “the claims are directed to

an eligible composition of matter – i.e., polycrystalline diamond compact defined

by specific, objective measurements.” Appx58. At Alice step one, Commissioner

Schmidtlein stated that the claims recite various structural elements (e.g., a PCD

table, a catalyst occupying at least a portion of interstitial regions, an unleached


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portion of the PCD table), which are defined by specific ranges of measurable

properties (e.g., average diamond grain size, average electrical conductivity,

G-Ratio, thermal stability, and lateral dimension of the PCD table) tied to the

microstructure of the claimed PCDs. Appx69. Commissioner Schmidtlein noted

that the claims do not raise any preemption concerns because the PDC

manufacturers can manufacture PDCs that do not read on the claims. Appx75.

Commissioner Schmidtlein also distinguished American Axle & Manufacturing,

Inc. v. Neapco Holdings LLC, 967 F.3d 1285 (Fed. Cir. 2020), cert. denied, 142

S. Ct. 2902 (2022), noting that the claims in American Axle lacked “any physical

structure or steps for achieving the claimed result,” unlike the claims on appeal

where “the advance of the claimed invention is a physical structure described by

various measured parameters.” Appx74 (quoting Am. Axle, 967 F.3d at 1295).

Commissioner Schmidtlein concluded in dissent that since the claims are not

directed to an abstract idea, she would have reversed and “f[ou]nd a violation

based on infringement of claims 1, 2, 11, 15, and 21 of the ’502 patent.” Appx77.

V.    SUMMARY OF THE ARGUMENT

      The claimed PDC is a quintessential “composition of matter” under the

statute and not an abstract idea. In finding otherwise, the Commission commits

legal and factual errors. Under step one of Alice, the Commission creates an

arbitrary structure/nonstructural distinction, improperly labeling measurements of



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PDC properties as “side effects” and “desired results” in a way that misunderstands

the underlying technology. The “results” that the Final Determination identifies are

not the sort of “results” precedents have called into question, but rather

measurements of microstructure of a novel composition of matter. And the Final

Determination fails to explain how the claims are “directed to” the measurements

alone as required under Alice step one. The Final Determination further erred in

faulting the Asserted Claims, which are directed to the PDC itself, because they do

not recite manufacturing steps. However, the statutory text of § 101 allows an

inventor to claim a “composition of matter,” not merely a “process.”

      The Final Determination also errs under Alice step two, failing to analyze

each Asserted Claim in its ordered combination as directed by the Supreme Court,

effectively collapsing the two-step Alice test into a one-step test. In doing so, the

Final Determination ignores all numerical ranges recited in each Asserted Claim—

which are features that define the novel and improved microstructure of the

claimed PDC—and concludes that the Asserted Claims are invalid because it found

that a few of the elements are generic. These rulings are legally erroneous.

VI.   STANDARD OF REVIEW

      This Court reviews questions concerning patent-eligible subject matter under

§ 101 without deference. Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 713 (Fed.

Cir. 2014).



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VII. ARGUMENT

      A.     This Is Not a Proper Case for Application of the Abstract Idea
             Exception Under 35 U.S.C. § 101

      This is not a proper case for application of the judge-made prohibition on

abstract ideas.

      PDCs are a “composition of matter” under the statute, a patentable category

contemplated by Congress 230 years ago. 35 U.S.C. § 101; Patent Act of 1793, § 1,

1 Stat. 318, 319 (1793) (“any new and useful art, machine, manufacture or

composition of matter”). The Supreme Court in Diamond v. Chakrabarty defined a

composition of matter as “all compositions of two or more substances and . . .

whether they be the results of chemical union, or of mechanical mixture, or

whether they be gases, fluids, powders or solids.” 447 U.S. 303, 308 (1980)

(citation omitted). The claims here are to a physical, man-made object falling

squarely within the permitted statutory categories and the type of products that

Congress has deemed appropriate to patent since the founding of the Republic. Id.

at 307-09 (citing U.S. Const. art. I, § 8); see Digitech Image Techs., LLC v. Elecs.

for Imaging, Inc., 758 F.3d 1344, 1348-49 (Fed. Cir. 2014).

      Indeed, the Commission has identified no Federal Circuit case, nor have the

Respondents cited any, where claims to a man-made “composition of matter”—let

alone a novel, nonobvious, definite, and enabled composition of matter as claimed




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in this case3—have been deemed ineligible as an abstract idea. A limited number of

cases have addressed whether a composition-of-matter claim is directed to a

patent-ineligible natural law, but the Commission correctly distinguishes the

Asserted Claims here because they “recite compositions of matter that are not

found in nature.” Appx20-21 (emphasis added) (quoting Appx325). However, the

Commission then goes on to find that certain limitations in the claims recite

properties that are abstract. Appx20-34. This is without precedent. In fact, it has

been noted that “[a] new and useful . . . composition of matter is not an abstract

idea.” BASCOM Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341,

1353-54 (Fed. Cir. 2016) (Newman, J., concurring). The PDCs claimed here

qualify under the statute as a man-made “composition of matter” and do not fall

under the judicial exception barring abstract ideas.

      The body of Supreme Court and Federal Circuit cases that the Commission

relies on that find abstract ideas are distinguishable from the facts here. They relate

to financial methods, processes, math equations, or generic computer componentry

applying known ideas; they do not relate to a novel man-made article like a PDC.

          • Alice Corp. v. CLS Bank International, 573 U.S. 208 (2014), involved

              claims directed to computer-implemented business methods;


      3
        As noted above, claims 1, 2, 11, 15, and 21 of the ’502 patent were found
invalid only due to § 101.


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• Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350 (Fed. Cir.

   2016), involved claims directed to computer-implemented monitoring

   of the performance of an electric power grid;

• Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229 (Fed. Cir. 2016),

   involved claims directed to computer-implemented means for

   generating menus in restaurants;

• Smart Systems Innovations, LLC v. Chicago Transit Authority,

   873 F.3d 1364 (Fed. Cir. 2017), involved claims for transit system

   payment systems;

• Yu v. Apple Inc., 1 F.4th 1040 (Fed. Cir. 2021), cert. denied,

   142 S. Ct. 1113 (2022), involved claims for a digital camera that was

   capable of producing high-resolution images;

• ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759 (Fed. Cir.

   2019), cert. denied, 140 S. Ct. 983 (2020), involved claims directed

   to vehicle-charging stations that communicated with each other over

   a network;

• Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335 (Fed. Cir. 2018),

   involved claims directed to a computer-implemented “attention

   manager” system;




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          • O’Reilly v. Morse, 56 U.S. (15 How.) 62 (1853), involved claims for

             an electromagnetic telegraph; and

          • Le Roy v. Tatham, 55 U.S. (14 How.) 156 (1852), involved claims

             directed to a process for hot-working lead.

The Commission also cited to several cases expressly decided under a law-of-

nature theory. See Appx20; Appx27; Appx29 (citing Am. Axle, 967 F.3d 1285

(decided under a natural-law theory)); Appx28 n.14 (citing Funk Bros. Seed Co. v.

Kalo Inoculant Co., 333 U.S. 127 (1948) (involved claims for naturally occurring

bacteria and decided under a natural-law theory)); Appx33 (citing Mayo

Collaborative Servs. v. Prometheus Lab’ys, Inc., 566 U.S. 66 (2012) (involved

claims directed to measuring metabolites in the blood of patients and decided

under a natural-law theory)). However, it is undisputed that the PDCs in this case

are not naturally occurring. E.g., Appx20-21. They are man-made. Id.

      In short, the Commission misapplies abstract-idea precedents to the facts of

this case. While true that an inventor’s “draftsman’s art” cannot be allowed to

convert an abstract idea into an eligible claim, Am. Axle, 967 F.3d at 1301 (citation

omitted), likewise, an incorrect application of § 101 precedent should not be

allowed to convert a novel PDC composition into an abstraction.




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      B.     Claims 1, 2, and 11 of the ’502 Patent Are Patent Eligible Under
             § 101
      Claims 1, 2, and 11 of the ’502 patent do not fail either step of Alice.

Reciting measured material properties in the claims does not cause the claims to be

directed to an abstract idea under Alice step one. And the claims integrate the

material properties in a way that transforms them into a patent-eligible application

under Alice step two.

             1.    Claims 1, 2, and 11 of the ’502 Patent Are Not
                   “Directed to” an Abstract Idea Under Alice Step One

      Claims 1, 2, and 11 are not “directed to” an abstract idea under Alice step

one. Alice, 573 U.S. at 217. This Court has described the step-one inquiry “as

looking at the ‘focus’ of the claims.” ChargePoint, 920 F.3d at 765 (quoting Elec.

Power Grp., 830 F.3d at 1353). “[A]t step one of the Alice/Mayo test, ‘it is not

enough to merely identify a patent-ineligible concept underlying the claim; [the

court] must determine whether that patent-ineligible concept is what the claim is

‘directed to.’” Illumina, Inc. v. Ariosa Diagnostics, Inc., 967 F.3d 1319, 1325 (Fed.

Cir. 2020) (citation omitted), cert. dismissed, 141 S. Ct. 2171 (2021). The focus

“as a whole” of claims 1, 2, and 11 of the ’502 patent, as evidenced by both the

claim language and the specification, is the novel PDC achieved by USS. The

claimed PDCs are not directed to a “result” like the precedents cited by the

Commission.



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                           The Claims Are Directed to a Composition of
                           Matter Defined—in Part—by Its Measured
                           Properties

      As Commissioner Schmidtlein correctly explained, “[o]ne only need to look

at the language of the claims to observe that they are directed to [a] measurable

composition of matter for which eligibility should be routine.” Appx69.

Nevertheless, the Commission majority held that the Asserted Claims here are

directed to the abstract ideas of “enhanced diamond-to-diamond bonding” or

“stronger PDCs that achieve certain performance measures and desired magnetic

and electrical properties.” See, e.g., Appx24-25. The Commission believed that

claimed measurements are merely “side effects,” Appx23-24; Appx28, but the

Commission misunderstands the law and the claimed technology. The claims are

directed to a concrete composition of matter—a PDC—described, in part, by

objective measurements of its structure. The language of claims 1, 2, and 11 of the

’502 patent and the specification confirm that the claims are not “directed to” an

abstract idea.

                           (1)   The claimed measurements are directed
                                 to structure, not “side effects”

      Claim 1 of the ’502 patent recites, inter alia, “a polycrystalline diamond

table” that includes “an unleached portion,” “a plurality of diamond grains . . .

exhibiting an average grain size of about 50 µm or less,” “a catalyst including

cobalt,” “the unleached portion . . . exhibit[ing] a coercivity of about 115 Oe to


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about 250 Oe,” “a specific permeability less than about 0.10 G·cm3/g·Oe,” and “a

substantially planar topography.” Appx106-107, Claim 1. Claim 2 adds that “the

unleached portion . . . exhibits a specific magnetic saturation of about 15 G·cm3/g

or less.” Appx107, Claim 2. Claim 11 further defines a lateral dimension of the

diamond table between “about 1.3 cm to about 1.9 cm.” Appx107, Claim 11. Even

on their face, claims 1, 2, and 11 are directed to the structure of the polycrystalline

diamond material and its material properties, not an abstract idea.

      The Commission disagreed and found that “the claims” are directed to the

“abstract idea of PDCs that achieve the claimed performance measures and desired

magnetic and electrical results, which the specifications posit may be derived from

enhanced diamond-to-diamond bonding.” Appx24-25. But this is not correct. The

properties are not “side effects” or “desired . . . results.” They are measurements

characterizing properties of PDC samples that USS manufactured, as disclosed in

Table I of the ’502 patent entitled “Selected Magnetic Properties of PCD Tables

Fabricated According to Embodiments of the Invention.”




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Appx103-104, tbl.I.

      The inventors sought to quantify the properties of their inventive PDC

microstructure with objective measurements. These measurements address

different and quantifiable aspects of the physical material and its microstructure.

As the specification explains, measured coercivity is a corollary of “[t]he mean

free path between neighboring diamond grains,” which is “indicative of the extent

of diamond-to-diamond bonding.” Appx97-98, 4:66-5:7. The specification teaches

measuring the coercivity using a published standard, ASTM B887-03 (2008) e1.

Appx98, 5:8-11. Similarly, specific magnetic saturation is indicative of “[t]he

amount of the metal-solvent catalyst present.” Appx97, 4:61-65. Again, the

specification teaches to measure magnetic saturation using a published standard,


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ASTM B886-03 (2008). Appx98, 5:8-11. Specific permeability is defined in the

’502 patent as “the ratio of specific magnetic saturation to coercivity.” Appx97,

4:5-12. It is therefore a measure of the extent of diamond-to-diamond bonding and

the amount of catalyst as those characteristics relate to each other. Put simply,

coercivity, specific permeability, and specific magnetic saturation are neither

“merely a result or effect,” nor a “side effect,” but objective measurements by

which different structural aspects of the patented microstructure can be described

to the public.

      The Commission suggests that “USS has not proven that the claimed

electrical and magnetic properties are indicative of any specific microstructure.”

Appx27 (emphasis added). This is incorrect for several reasons. First, the

Commission’s suggestion that something must be “proven” by USS, id.,

improperly reverses the burden. Respondents, not USS, bear the burden to prove

the claims are ineligible under § 101. Microsoft Corp. v. i4i Ltd. P’ship, 564 U.S.

91, 95 (2011) (“Under § 282 of the Patent Act of 1952, ‘[a] patent shall be

presumed valid’ and ‘[t]he burden of establishing invalidity of a patent or any

claim thereof shall rest on the party asserting such invalidity’ . . . by clear and

convincing evidence.” (alterations in original) (quoting 35 U.S.C. § 282)); Cellspin

Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1319 (Fed. Cir. 2019) (“To the extent the




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district court . . . conclude[ed] that issued patents are presumed valid but not

presumed patent eligible, it was wrong to do so.”).

      Second, imposing a “structural”/“nonstructural” requirement is nowhere

supported by the law. Many inventions claim physical, electrical, compositional, or

chemical phenomena that are not “structural” and are yet patent eligible.

      Third, it is unclear what the Commission means by a “specific

microstructure.” Appx27 (emphasis added). Respondents’ experts never opined

that the claimed features are not structural. Indeed, the expert testimony shows that

the claimed features are structural. For example, although Respondents’ expert,

Dr. Schaefer, testified that he believed that USS’s PDCs were “conventional” (i.e.,

not novel) and the claims fell under the natural-law prohibition of § 101 as

“diagnostic[]” methods, he did not dispute that the measurements in the claims

related to the PDC structure. See, e.g., Appx2407-2408, 828:24-829:19;

Appx2411, 832:14-20. Dr. German likewise confirmed that the claimed

measurements relate to PDC structure.

      Q. Okay. Turning to slide 282, did you hear Dr. Schaefer testify that
      the asserted claims are directed to diagnostic methods that merely
      measure conventional PDCs?

      A. Yes, I did.

      Q. Do you agree with Dr. Schaefer?

      A. No, I don’t.


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      Q. Why do you disagree?

      A. What we’re dealing with is a complicated microstructure. The
      claims are teaching us about how to do measurements of that
      microstructure of the quality of this product, showing us a range of
      properties that would be associated with the performance.

Appx2823, 1243:12-23.

      Q. . . . And do the asserted patents say anything about coercivity?

      A. Well, they talk about the property called the mean free path which,
      again, gets into similar sort of things as the grain size. It’s a
      microstructure parameter. And so it’s saying that the mean free path
      does influence the coercive force.

Appx2834, 1254:4-10.

      Seeking to bolster its structural/nonstructural distinction, the Commission

states that “the evidence does not support USS’s argument that the claimed

properties are ‘structural elements’ of a PDC or indicative of any specific

microstructure” because “the measurable characteristics are the result of the

sintering conditions and input materials that went into manufacturing the PDC.”

Appx26. This assertion is a non sequitur.

      A measured feature can be both (1) a result of a manufacturing process and

(2) structural. Most (if not all) structural features are a result of the manufacturing

process that created them. The length of a steel beam, for instance, is a

measurement of a “structural” feature. And the measured dimension—the length—

would “result” from whatever casting, forging, shaping, or material removal



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processes created the steel beam in its final form. A polycrystalline diamond

microstructure is more complex than a steel beam, but its structural and

compositional characteristics can likewise be measured and defined objectively,

including its constituent materials (e.g., “diamond”/carbon; “catalyst”/“cobalt”),

bonding and processing details (e.g., “diamond grains bonded together via

diamond-to-diamond bonding” and “unleached”), dimensions of bonded materials

(e.g., “average grain size”), and material properties (e.g., “coercivity” and “specific

magnetic saturation”). Each of these objectively measurable features was recited,

for example, in claims 1 and 2 of the ’502 patent.

      In short, the claimed PDC of the ’502 patent involves a composition of

matter that the inventors characterized based on what it is, as measured and

quantified through various objective features and measurements. That a measured

property of the claimed composition of matter at some level “results” from a

manufacturing process does not render it nonstructural as the Commission

believes. “A compound and its properties are inseparable . . . .” In re Cescon,

474 F.2d 1331, 1334 (CCPA 1973) (citations omitted).

                           (2)   The Commission’s holding sows mischief
                                 in adjacent fields where claiming
                                 measurements is common

      The Commission’s unprecedented finding that measured properties and

performance measures are abstract “side effects” and “results” has far-reaching



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negative implications for mechanical, metallurgical, and pharmaceutical arts.

Properties of materials necessarily “result” from manufacturing choices, such as

the choice of chemical inputs, processing parameters, and finishing steps for the

material. Under the Commission’s logic, claiming such “results” is suddenly

problematic.

      The Commission’s logic also casts a shadow over claiming of measured

properties. Claims in materials and chemical-compound patents commonly use

measurements, like density, volume, and dosage amounts. See, e.g., In re Willis,

455 F.2d 1060, 1061 (CCPA 1972) (claim reciting “[e]xpanded cross-linked

poly(epihalohydrin) of substantially uniform closed-cell structure, having a density

of from about 8 pounds per cubic foot to about 75 pounds per cubic foot and a

percentage compressibility of from about 20% to about 97%” (emphasis added)).

Patents in the materials and chemical-compound space also commonly include

claim limitations that describe compounds by a result. See, e.g., Warner Chilcott

Co. v. Teva Pharms. USA, Inc., 642 F. App’x 996, 1001-02 (Fed. Cir. 2016)

(addressing “pharmaceutically effective absorption”); Key Pharms. v. Hercon

Lab’ys Corp., 161 F.3d 709, 713 (Fed. Cir. 1998) (construing “a pharmaceutically

effective amount”); Knoll Pharm. Co. v. Teva Pharms. USA, Inc., 367 F.3d 1381,

1383 (Fed. Cir. 2004). (“A pharmaceutical composition which comprises

hydrocodone or a pharmaceutically acceptable acid addition salt thereof and


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ibuprofen or a pharmaceutically acceptable acid addition salt thereof in amounts

that are sufficient to provide an analgesic effect . . . .” (emphasis added)). Indeed,

in Knoll Pharmaceutical, the claimed “effect” or “result” was precisely the reason

this court found the claim may be valid and warranted further consideration. 367

F.3d at 1384 (reversing and remanding because, “[c]ontrary to the district court’s

perception, the specification expressly acknowledges that the efficacy of the

combination is ‘surprising,’ in that it provides an analgesic effect greater than that

obtained by increasing the dose of either constituent administered alone”).

      The Commission’s ruling miscasting measured properties as “side effects”

and not related to structure is contrary to science, law, and good policy. Claims 1,

2, and 11 of the ’502 patent are not directed to an abstract idea.

                           Claims 1, 2, and 11 of the ’502 Patent Are Not
                           Directed to a “Result” Akin to the Cases Cited
                           by the Commission
      Even assuming, arguendo, that coercivity, specific permeability, and

specific magnetic saturation are “side effects” or “results,” they are still not akin to

the “result-oriented” claiming found abstract and ineligible under the case law

cited by the Commission. See Appx21-22; Appx29-30. In those distinguishable




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cases, the abstract-idea analysis was concerned with claims reciting the end

“result,” “goal,” or “effect” of a claimed invention.

      The Commission relies heavily on an unappealed Commission decision:

Certain Light-Emitting Diode Products, Fixtures, and Components Thereof, Inv.

No. 337-TA-1213 (“Light-Emitting Diode”), 2021 WL 3829977 (USITC Aug. 17,

2021), aff’d, Comm’n Op., 2022 WL 168302 (USITC Jan. 14, 2022). The

Commission suggests similarity between the claimed “efficiency” in Light-

Emitting Diode and the measurements here. Appx29-30 (citing Light-Emitting

Diode, 2021 WL 3829977, at *20). But Light-Emitting Diode differs from this case

because it claimed the abstract idea directly and almost nothing more.

      Light-Emitting Diode involved a claim to a lighting device that reads as

follows:

             1. A lighting device comprising at least one solid state
             light emitter, said lighting device, when supplied with
             electricity of a first wattage, emitting output light having a
             wall plug efficiency of at least 85 lumens per watt of said
             electricity.

2021 WL 3829977, at *19 (citation omitted). The ALJ found this and related

claims ineligible because “the claims are directed to an abstract goal, namely, the

energy efficiency of LED lighting devices at or above 85 [lumens per watt],

however achieved.” Id. at *20. Rather than claiming a structure, claim 1 in Light-

Emitting Diode claimed the goal of energy efficiency itself. Id. The purpose of an



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LED lighting device, according to the ALJ, is to take energy and transform it into

light; so “energy efficiency” is simply a reflection of the “abstract goal” of the

device. Id. Aside from this goal, the decision noted that claim 1 “recites only one

structure, and only in the most generic terms: ‘at least one solid state light

emitter.’” Id. (citation omitted).

      By contrast, claims 1 and 2 of the ’502 patent, for example, do not directly

claim the goal of “enhanced” or “stronger bonding.”4 Instead, claim 2, for example,

recites a variety of different features, which in combination, define the novel

composition of matter, including:

 Types of claim features Specific Limitations from Claim 2
 Constituent materials     • “diamond”
                           • “catalyst including cobalt”
 Bonding information       • “grains bonded together via diamond-to-
                               diamond bonding”
 Processing state          • “unleached”
 Dimensions of diamond     • “average grain size of about 50 μm or less”
 grains
 Measured properties of    • “exhibits a coercivity of about 115 Oe to about
 unleached portion of          250 Oe”
 diamond table             • “exhibits a specific permeability less than about
                               0.10 G·cm3/g·Oe”
                           • “exhibits a specific magnetic saturation of about
                               15 G·cm3/g or less”




      4
        A claim equivalent to Light-Emitting Diode would look like: “A drilling
element, comprising at least one PDC, said drilling element, when used, having a
stronger bonding of at least [X units].” No such claim appears in the ’502 patent.


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 Dimensional                   • “the interfacial surface exhibiting a substantially
 information for the table       planar topography”
 and substrate                 • “a lateral dimension of the polycrystalline
                                 diamond table is about 0.8 cm to about 1.9 cm”

Appx106-107, Claims 1, 2.

      Instead of claim 2 abstractly reciting a goal of “stronger bonding,” it recites

a structure that details how to achieve stronger bonding through a unique

combination of material constituents, processing states, dimensions, and measured

properties. And unlike Light-Emitting Diode where improving “wall plug

efficiency” would be an end “goal,” 2021 WL 3829977, at *20, here Respondents

produced no evidence that people in drilling arts were seeking to create a PDC

having the claimed “coercivity,” “specific permeability,” or “magnetic saturation”

ranges of the claimed invention.

      The Commission also cites to Yu, noting that “a claim recites an article of

manufacture, or a composition of matter, is not determinative of whether it is in

fact directed to an abstract idea.” Appx21-22 (citing Yu, 1 F.4th at 1044 & n.2).

According to the Commission, “[j]ust as the ‘digital camera’ in Yu is directed at

patenting an abstract idea, so too is the ‘polycrystalline diamond compact’ here.”

Appx22. Like Light-Emitting Diode, the Commission misapplies Yu to this case.

      In Yu, the court held that the claim in question was “directed to the abstract

idea of taking two pictures (which may be at different exposures) and using one

picture to enhance the other in some way.” 1 F.4th at 1043. The parties did not

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dispute that “the idea and practice of using multiple pictures to enhance each other

has been known by photographers for over a century.” Id. The court explained that

the abstract idea at issue (i.e., using one picture to enhance the other) was the

ultimate result of the claim itself. Id. (“At the outset, we note that claim 1 results in

‘producing a resultant digital image from said first digital image enhanced with

said second digital image.’” (emphasis added)). Therefore, the claimed “solution”

in Yu “is the abstract idea itself—to take one image and ‘enhance’ it with another.”

Id. at 1044 (emphasis added) (citation omitted).

      Here, claim 1 of the ’502 patent does not recite the alleged abstract idea of

“enhanced diamond-to-diamond bonding.” Appx23-25. This alleged “goal” is also

not recited in any other Asserted Claim of the ’502 patent. At most, claim 1 recites

“a plurality of diamond grains bonded together via diamond-to-diamond bonding

to define interstitial regions.” Appx106-107, Claim 1. But this is merely a

recitation of structure and lacks any mention of the word “enhancing” or

“enhanced.” By contrast, claim 1 of Yu directly recited the abstract idea,

“producing a resultant digital image from said first digital image enhanced with

said second digital image.” 1 F.4th at 1043 (emphasis added). Yu is not on point.

      Moreover, the claimed PDC and its properties have not been known for

“over a century” as in Yu. See id. Here, Respondents were unable to produce any

evidence showing products with the claimed features were known or obvious—or


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that any of their pre-existing products ever had them—which was why the asserted

’502 patent claims overcame all of the Respondents’ anticipation and obviousness

challenges.5

      Yu likewise does not apply to the Commission’s other formulations of the

alleged abstract idea. The Commission refers to the “abstract idea” as being “a

PDC that achieves the claimed performance measures (G-Ratio and thermal

stability) and has certain measurable side effects (specific magnetic saturation,

coercivity, and specific permeability).” Appx23. That is inapposite here, first,

because claim 1 of the ’502 patent does not even recite “G-Ratio,” “thermal

stability,” or “magnetic saturation.” See also infra § VII.B.1.e. For this reason

alone, claim 1 fails to align with Yu, which expressly claimed the abstract idea

itself. It is further inapposite because “a PDC” with defined properties is a tangible

composition of matter, not a concept or idea like the one claimed in Yu of “taking

two pictures (which may be at different exposures) and using one picture to

enhance the other in some way.” See 1 F.4th at 1043. Expanding Yu to apply to the

facts of this case would make any claim reciting a material property susceptible to

ineligibility. Cf. Mayo, 566 U.S. at 71 (“[A]ll inventions at some level embody,


      5
        Light-Emitting Diode further found that the specification did not enable a
skilled artisan to make a light-emitting diode consistent with claim 1. 2021 WL
3829977, at *24. By contrast, the Commission found that the Asserted Claims were
enabled. Appx54-56.


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use, reflect, rest upon, or apply laws of nature, natural phenomena, or abstract

ideas.”); Diamond v. Diehr, 450 U.S. 175, 187-88 (1981).

                           The Commission’s Decision Conflates Product
                           and Method Claims
      The Commission commits additional error by faulting “the claims” for

failing to include the manufacturing steps that created the claimed PDC. Appx28-

29 (indicating that “[u]nclaimed features of the manufacturing process” cannot

save the claims from ineligibility). But the claims are directed to the PDC

composition of matter, not the method of making the PDC. The Commission’s

requirement that the claims include the method or process steps that created the

PDC—or risk failing § 101—belies the language of the statute and undermines

precedents relating to 35 U.S.C. § 112.

      The Commission states that “[t]he specifications set forth various

manufacturing conditions and input materials, and teach that these conditions and

inputs may produce PCDs having improved mechanical and/or thermal properties

over the prior art. However, other than grain size, none of these conditions/inputs

are required by the claims.” Appx29 (citation omitted). The Commission

continues, “In other words, the asserted claims cover all PDCs exhibiting the

claimed properties no matter what pressure was used to make them or how much

catalyst is present in the PCD.” Appx29. But claims 1, 2, and 11 of the ’502 patent




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focus on the PDC, not the method or process of how it was made. It is, therefore,

unremarkable that the inventors did not include process steps in the claims.

      The law nowhere requires parties to claim their inventive contributions in

only one manner. Section 101 on its face recognizes multiple ways to claim

inventions: “[w]hoever invents or discovers any new and useful [1] process,

[2] machine, [3] manufacture, or [4] composition of matter, or any new and useful

improvement thereof, may obtain a patent therefor . . . .” 35 U.S.C. § 101

(emphases added). Congress left it to patent filers to determine how best,

considering the technological and commercial context, to convey and claim the

invention. There is no dispute that § 101 permits USS to claim the process steps for

making PDCs, including temperatures, pressures, and other processing steps.

However, § 101 also permits USS to claim the “composition of matter” itself.

Requiring inventors to include manufacturing steps in their composition-of-matter

claims, or risk claiming ineligible subject matter, contravenes the statute.

      Similarly, the Asserted Claims need not recite how the PDCs are

manufactured to constitute a patent-eligible technological improvement. See

Uniloc USA, Inc. v. LG Elecs. USA, Inc., 957 F.3d 1303, 1308-09 (Fed. Cir. 2020)

(rejecting defendant’s argument that a claim must state the claimed invention’s

advantage over prior art, holding that “[c]laims need not articulate the advantages

of the claimed combinations to be eligible”). The claims are to the composition of


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matter (what the material is), not a method or process (how the material is made).

Yet, the Commission erroneously declares the Asserted Claims patent ineligible for

not reciting manufacturing steps without citing any binding legal authority for this

proposition.

      The Commission also states that the “causal connection” between the

specification’s manufacturing variables and the claim limitations is “loose and

generalized.” Appx27 (quoting Appx327). But it is unclear what evidence and

expert testimony the Commission or ALJ relied on for this characterization (neither

cites any), and the Commission elsewhere rejected the Respondents’ arguments

that the PDC claims are not enabled by the manufacturing parameters in the

specification. Appx54-56. In any event, the Commission ultimately focuses on the

wrong question. Requiring a direct “causal” connection between the manufacturing

variables and the claim limitations is merely another way of requiring that

manufacturing steps be recited in the product claims, which is incorrect for the

reasons discussed above.

      Section 101 allowing an inventor to claim an invention in different forms—

as a method of manufacturing or a resulting composition of matter—supports the

policy goals of the intellectual property right. An inventor may wish to sell a

product and not a service into the marketplace. This makes the product the more

significant economic unit for the inventor’s business. Requiring the inventor to


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conflate the product and process together to obtain patent protection creates

unintended business constraints and inefficient market outcomes.

       One unintended consequence of the Commission’s rationale relates to patent

law’s most fundamental right: the right to exclude. 35 U.S.C. § 154(a)(1). The

right to exclude in the United States is self-policed. A product claim allows an

inventor to monitor infringement based on a competitor’s products in the open

marketplace. Market products can be purchased immediately and anonymously.

They can be analyzed and tested objectively. By contrast, a competitor’s process

steps may be hidden from view, alterable, or performed in foreign countries that

limit access to discovery. See In re Valsartan, Losartan, and Irbesartan Prods.

Liab. Litig., MDL No. 2875 (RBK), 2021 WL 6010575, at *2 (D.N.J. Dec. 20,

2021) (“A theme in Federal Court litigation is that PRC defendants, when in doubt

as to their potential liability for the production of PRC state secrets, invoke the

SSL [PRC State Secret Law] and don’t produce,” which “can work to the

advantage of PRC defendants to avoid or minimize their liability in U.S. courts.”).

Under the Commission’s § 101 requirement, an inventor may have limited or no

ability to police and establish infringement of a foreign competitor’s processes.

       Imposing a requirement that the manufacturing steps be recited in the product

claim (to achieve patent eligibility) is inconsistent with the plain language of § 101

and it curtails statutory rights.


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                           Claims 1, 2, and 11 of the ’502 Patent Are Not
                           Preemptive
      The Commission incorrectly suggests that USS’s claims are preemptive and

that this indicates the claims are directed to an abstract idea. Appx31. Claims 1, 2,

and 11 of the ’502 patent do not preempt the use of all PDCs but are instead

directed only to the novel PDC that USS created, described using features and

standard measurements of the composition of matter. There was significant

evidence that Respondents had designed other products that did not fall within the

claims. The Asserted Claims provide no impediment to using “basic building

blocks of scien[ce].” Appx20 (citation omitted).

      In suggesting preemption, the Commission cites to ChargePoint, which

itself cites Morse. Appx31 (citing ChargePoint, 920 F.3d at 766); see

ChargePoint, 920 F.3d at 769 (citing Morse, 56 U.S. at 112-13). Morse was a

seminal case in developing the exception to § 101 and the broad contours of the

notion of scientific preemption (dealing with Samuel Morse’s invention of the

electromagnetic telegraph). Of it, the Federal Circuit explained:

             In Morse, the Court upheld claims related to the details of
             Samuel Morse’s invention of the electromagnetic
             telegraph, but invalidated a claim for the use of
             “electromagnetism, however developed for marking or
             printing intelligible characters, signs, or letters, at any
             distances.”

             ...



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             [I]n Morse . . . , [the] inventor “lost a claim that
             encompassed all solutions for achieving a desired result”
             because those claims “were drafted in such a result-
             oriented way that they amounted to encompassing the
             ‘principle in the abstract’ no matter how implemented.”

ChargePoint, 920 F.3d at 769 (first quoting Morse, 56 U.S. at 112; and then

quoting Interval Licensing, 896 F.3d at 1343).

      Applying this “result-oriented” understanding, ChargePoint reached the

same conclusion, finding that “the broad claim language would cover any

mechanism for implementing network communication on a charging station, thus

preempting the entire industry’s ability to use networked charging stations.” Id. at

770. Therefore, the claims at issue in ChargePoint were found “directed to” the

abstract idea of communication over a network because, as drafted, they preempted

“any mechanism” solving the problem faced by the inventors: a lack of

networking. See id.; see also Light-Emitting Diode, 2021 WL 3829977, at *20

(finding claims “directed to an abstract goal, namely, the energy efficiency of LED

lighted devices . . . , however achieved”). These cases were cited by the

Commission here, but are distinguishable—those claims were all directed to an

abstract idea because they were not adequately limited to the invention described

in the specification and would instead preempt all solutions to the problem.

      The present claims, in contrast, do not preempt all other PDCs that have the

alleged abstract idea of “enhanced” or “stronger diamond-to-diamond bonding”;



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only those PDCs having all the elements of the specific technical solutions in the

novel PDC with its claimed features, including the objective measurements, are

covered by the claims. The Commission premised its preemption concerns on its

belief that “USS seeks a monopoly on any PDCs that exhibit the claimed properties

however achieved.” See Appx30-31. This assertion is not supported by the

evidence presented during this Investigation, which showed that the Asserted

Claims do not improperly preempt prior art PDCs, current PDCs in the market, or

PDCs that could be developed in the future.

      As a legal matter, USS never accused, nor could it accuse, a product that

merely met the “claimed properties” and lacked the other features of the claims.

USS accused and demonstrated infringement where products met each and every

claim element. See Linear Tech. Corp. v. Int’l Trade Comm’n, 566 F.3d 1049,

1060 (Fed. Cir. 2009) (“To prove infringement, a patentee must show that a

defendant has practiced each and every element of the claimed invention, and may

do so by relying on either direct or circumstantial evidence.” (citation omitted)).

      The Commission’s preemption analysis is also wrong factually:

         • First, Respondents would be free to practice their prior art products

             relative to the Asserted Patents. Respondents collectively sell (and

             have sold) hundreds of different product lines and variations of

             products within those product lines. Respondents did not and could not


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            identify one single prior art product made by them having the claimed

            features. Respondents would be free to practice all their prior art

            products.

         • Second, the Commission’s finding of preemption overlooks

            Respondents’ current products that USS tested but did not accuse of

            infringement. USS tested scores of Respondents’ products for

            infringement (see Appx891-898), but USS only included a fraction of

            the tested products in their final infringement mappings. Compare

            Appx891-898 (listing tested products), with Appx233-234 (listing the

            Accused Products).

         • And third, Respondents have already fashioned redesigns. SF

            Diamond produced a line of “redesign products” and the Commission

            found that these products do not fall within the claim scope. See

            Appx75-76.

Together, these represent a substantial number of products. Given all the sources of

products that did not fall within the claimed limitations, the Commission’s

assertions about “USS seek[ing] a monopoly” are conclusory and conflict with the

evidence of record. Appx30-31.

      In suggesting a “monopoly” across hundreds of products, the Commission

points to only two examples. The Commission points to Haimingrun’s accused S18


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product, noting that it was allegedly made with a different pressure and catalyst

weight percentage than what is disclosed in the patent. Appx31-32. The

Commission also points to New Asia’s Dragon 2 product as being allegedly made

with a different pressure. Appx32. Both examples are irrelevant and incorrect.

They are irrelevant because the Asserted Claims of the ’502 patent do not recite

manufacturing pressure. The asserted ’502 patent claims are to the composition of

matter, not the process. The asserted ’502 patent claims also do not recite the

catalyst weight percentage.

        The Commission’s examples are also incorrect factually. The Commission

points to Haimingrun’s interrogatory response created after the litigation was filed

(Appx1280-1282) and states that it lists the cavity pressure measurement for the

S18 below the pressure used in the ’502 patent disclosure (Appx1473). However,

this assertion by Haimingrun conflicts with the actual pressure-curve document,

which reveals a manufacturing pressure consistent with the pressures disclosed in

the ’502 patent when the input pressure they disclose is applied to their own graph.

Appx1474; see also Appx3326. Similarly, New Asia’s conclusory interrogatory

response asserting knowledge of its manufacturing pressure conflicts with the

testimony given by its corporate representative. See Appx3412-3414; Appx3494-

3496.




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      The Commission also frames USS’s analysis of Appx1474 as “attorney

argument” and faults USS’s expert for not questioning New Asia’s sintering

pressure. Appx32. USS was merely addressing Respondents’ own attorney

argument from their post hearing briefing regarding Appx1474 and New Asia, on

an issue which Respondents bore the burden. The Commission’s statements are

further improper burden reversals.

      Given the scores of prior, current, and future products that do not fall within

the claims, these Asserted Claims of the ’502 patent do not preempt the use by

others of a mere abstract idea (such as, for example, “enhanced diamond-to-

diamond bonding”). Other solutions to the same problem are left open.

                           The Commission Fails to Analyze Any
                           Individual Claim

      The Commission’s analysis fails for yet another reason. The specific claims

define the invention and are the subject of eligibility analysis. Alice, 573 U.S. at

217. (“[W]e consider the elements of each claim both individually and ‘as an

ordered combination . . . .’”); see also Realtime Data LLC v. Reduxio Sys., Inc.,

831 F. App’x 492, 495-96 (Fed. Cir. 2020) (requiring a claim-specific analysis

during Alice step one). The Commission never analyzes the specific claims, nor

does it analyze a single claim and find that such claim is representative of the other

claims at issue. This was error and the Commission’s gloss over the analysis

should be rejected.


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      When addressing Alice step one, the Commission only ambiguously refers to

“the claims” or “the asserted claims.” Appx23 (“It is clear from the language of the

claims that the claims involve an abstract idea . . . .” (emphasis added)); Appx23-

24 (“Here, the specifications suggest that the asserted claims are directed to the

abstract idea of PDCs that achieve the claimed performance measures and have

side effects . . . .” (emphasis added)); Appx24-25 (“[T]he Commission finds that

the claims are directed to the abstract idea of PDCs that achieve the claimed

performance measures and desired magnetic and electrical results . . . .” (emphasis

added)); Appx28 (“The claims run afoul of section 101 . . . .” (emphasis added));

Appx28 (“[T]he claims here cover a set of goals.” (emphasis added)); Appx28

(“The claims do not recite a way of achieving the claimed characteristics . . . .”

(emphasis added)). Indeed, the first time that the Commission’s § 101 analysis

mentions a specific claim in its § 101 analysis is not until Alice step two, and it

does so merely in passing when quoting the Initial Determination. Appx34 (citing

Appx333). Patent law requires element-by-element and claim-by-claim analysis; it

does not permit mass invalidation upon a generic analysis of “the claims.”

      Each claim and its language must be given weight. Alice, 573 U.S. 208 at

217. The Commission admits this point, stating that “the ‘directed to’ inquiry must

focus on the language of the claims themselves.” Appx23 (citing ChargePoint, 920

F.3d at 767). Analyzing specific claims also matters here because the “asserted


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claims” differ. The evidentiary hearing involved three different patents, having five

independent claims and six different dependent claims. Exemplary features

addressed in only some claims include: “thermal stability” (Appx107, Claims 15,

21; Appx3295-3296, Claim 18); a “first” and “second polycrystalline diamond

layer” (Appx956, Claim 15); “G ratio” (Appx3295, Claims 1, 2, 4, 6); “average

electrical conductivity” (Appx3295-3296, Claims 1, 2, 4, 6, 18); “the interfacial

surface exhibiting a substantially planar topography” (Appx106-107, Claims 1, 2,

11, 15, 21); and “specific magnetic saturation” (Appx107, Claims 2, 15;

Appx3295, Claim 4; Appx956, Claim 15). The Commission must analyze the

combinations of limitations, in the context of specific claims, when analyzing

whether they meet the requirements of Alice.

      The Commission’s error is like the error in Realtime Data:

             One critical shortcoming in the district court’s analysis is
             a failure to identify which, if any, claims are
             representative. Although the court articulated a “fair
             description” of each patent-in-suit, it failed to tie those
             descriptions to any specific claim or to clarify whether
             those descriptions are the abstract ideas that the claims are
             “directed to” within the meaning of § 101 jurisprudence.
             It is, of course, incorrect to consider whether a patent as a
             whole is abstract. The analysis is claim specific. If, as we
             suspect, the district court’s analysis simply generalized the
             claims, absent a finding of the representativeness of
             certain claims and without considering the “directed to”
             inquiry, that was error.

831 F. App’x at 497 (emphasis added) (citation omitted).



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      Even assuming the Commission had identified and analyzed a representative

claim—which it did not—its analysis would fail for additional reasons. A court

may analyze a representative claim only in “certain situations,” such as “if the

patentee does not present any meaningful argument for the distinctive significance

of any claim limitations not found in the representative claim or if the parties agree

to treat a claim as representative.” Berkheimer v. HP Inc., 881 F.3d 1360, 1365

(Fed. Cir. 2018), cert. denied, 140 S. Ct. 911 (2020). None of the conditions was

met here. USS never agreed to a representative claim, and USS presented pages of

arguments regarding the differences between the claims and their limitations,

challenging how the ALJ had conflated terms across different claims and patents.

      In its briefing before the Commission, USS explained that the Initial

Determination had not been consistent in its analysis of the abstract idea, proposing

three competing formulations that conflated claim limitations across several claims

from the ’565 and ’502 patents:

             (1) “the goal or result of a particular measure of wear
                 resistance (i.e., G-Ratio) or thermal resilience (i.e.,
                 thermal stability)” ([Appx328]);

             (2) “improved coercivity, electrical conductivity, G-Ratio”
                 ([Appx332-333]); and

             (3) some “problematic” “performance measure” or “side
                 effect” ([Appx327-328]).

Appx414.



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      USS noted:

             [T]he analysis for the ’502 Patent must be different than
             the analysis for the ’565 Patent claims because the claims
             have different and non-overlapping features. For example,
             no asserted claim of the ’502 Patent recites either
             “G-Ratio” or “electrical conductivity.” [Appx106-108;
             Appx357.] These features are found only in the asserted
             claims of the ’565 Patent.

             ...

             The same is true of the ID’s inference that the claims cover
             “the goal or result of a particular measure of wear
             resistance (i.e., G-Ratio) or thermal resilience (i.e.,
             thermal stability).” Neither “G-Ratio” nor “thermal
             stability” are found in claims 1, 2, and 11 of the ’502
             patent. They are found in other claims.

Appx415. Rather than correct the issue, the Commission again conflated the

claims, stating that “the claims involve an abstract idea,” and listing elements

found across several different claims and patents: “G-Ratio,” “thermal stability,”

“specific magnetic saturation,” “coercivity,” and “specific permeability.” Appx23

(emphasis added).

      As was once said, “the name of the game is the claim.” Giles S. Rich, The

Extent of the Protection and Interpretation of Claims—American Perspectives,

21 Int’l Rev. Indus. Prop. & Copyright L. 497, 499 (1990). The Commission’s

analysis was improper at least because it never analyzes any one claim under Alice

step one.




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             2.     Claims 1, 2, and 11 of the ’502 Patent Recite
                    “Something More” Under Alice Step Two
      Only if the court properly determines that the claim is “directed to” a

judicially created exception such as a law of nature, a natural phenomenon, or an

abstract idea, Alice, 573 U.S. at 221-22, does it proceed to Alice step two: assess

the elements “as an ordered combination” to determine whether the claim as a

whole integrates the exception in a manner sufficient to “‘transform’ the claimed

abstract idea into a patent-eligible application.” Id. at 217, 221-22. Here, the

Commission’s Alice step-two analysis is infected by the errors of its step-one

analysis. And it failed to consider the transformative nature of the invention

claimed as an ordered combination.

                           The Commission’s Alice Step-One Errors
                           Carried Through to Step Two

      The Commission’s incorrect analysis of Alice step one infected the

remainder of its analysis at Alice step two. The Commission again irrelevantly

fixates on the manufacturing steps it deems should have been claimed, rather than

what is actually claimed. Appx34-35. The claims are directed to a novel

composition of matter, not a method or process for making the composition. Thus,

the claims need not recite the method or process for making the composition for

patent eligibility. The Commission also finds that the “recited physical elements

are conventional.” Appx35 (emphasis added). But this again treats a measurement



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of a physical structure as somehow nonphysical. The Commission erred both as a

matter of science and law.

                          The Commission Does Not Address the Claims
                          as an Ordered Combination
      In Alice step two, a court must assess the elements “both individually and ‘as

an ordered combination’” to determine whether the claim as a whole integrates the

exception in a manner sufficient to “‘transform’ the claimed abstract idea into a

patent-eligible application.” Alice, 573 U.S. at 217, 221-22; Rapid Litig. Mgmt.

Ltd. v. CellzDirect, Inc., 827 F.3d 1042, 1051 (Fed. Cir. 2016). Thus, a new

combination of elements “may be patentable even though all the constituents of the

combination were well known and in common use before the combination was

made.” Rapid Litig., 827 F.3d at 1051 (citation omitted). “To require something

more at step two would be to discount the human ingenuity that comes from

applying a natural discovery in a way that achieves a ‘new and useful end.’” Id. at

1051-52 (quoting Alice, 573 U.S. at 217).

      When searching for an inventive concept at Alice step two, the court must be

careful not to “ʻoversimplify[] the claims’ by looking at them generally and failing

to account for the specific requirements of the claims.” CardioNet, LLC v.

InfoBionic, Inc, 955 F.3d 1358, 1371 (Fed. Cir. 2020) (citation omitted), cert.

denied, 141 S. Ct. 1266 (2021); see also Koninklijke KPN N.V. v. Gemalto M2M

GmbH, 942 F.3d 1143, 1151 (Fed. Cir. 2019).


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      In reaching its patent-ineligible conclusion, Appx34-36, the Commission

never properly considers the claim “as an ordered combination” to determine

whether it contains an inventive concept. Alice, 573 U.S. at 225. Even in its would-

be step-two analysis, which is merely four paragraphs long, the Commission does

not use the word “combination” other than its recitation of the legal standard. See

Appx34-36.

      Instead, the Commission adopts the Initial Determination’s flawed

separation of some of the claim elements into three categories—“structural

limitations” and “objectionable claimed limitations,” referring to “results-oriented

language”—and analyzed the eligibility of each category on its own. Appx34-35.

But it failed to analyze whether the elements of each Asserted Claim when read “as

an ordered combination” in fact “‘transform the nature of the claim’ into a patent-

eligible application.” Alice, 573 U.S. at 217 (emphasis added) (citation omitted).

      Claim 2 of the ’502 patent, for example, shows the ordered combination of

the composition of matter at issue having a host of structural features:

         • “a polycrystalline diamond table”

         • “a substrate” having “a substantially planar topography”

         • “an average grain size of about 50 µm or less”

         • “a coercivity of about 115 Oe to about 250 Oe”




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          • “a plurality of diamond grains bonded together via diamond-to-

             diamond bonding to define interstitial regions”

          • “a catalyst including cobalt, the catalyst occupying at least a portion

             of the interstitial regions”

          • “an unleached portion of the polycrystalline diamond table”

          • “a specific permeability less than about 0.10 G·cm3/g·Oe”

          • “a specific magnetic saturation of about 15 G·cm3/g or less.”

See Appx106-107, Claims 1-2. The Commission ignored or otherwise dismissed

USS’s evidence concerning the nature of the combination of all elements—

including the numerical ranges—without citing any contrary evidence. See

Appx35.

      First, USS and its expert, Dr. German, produced evidence that the

combination of all these elements is directed to a PDC having a denser diamond

microstructure, which provides significant utility in oil-drilling applications, such

as wear resistance and thermal stability. Appx1642-1645, 66:20-69:5 (explaining

that the patents disclose PDCs with “even greater diamond-to-diamond bonding,

lower metal content, higher diamond density, and better wear resistance”);

Appx2823, 1243:12-25 (referring to the Asserted Claims as “teaching us about

how to do measurements of [a complicated] microstructure of the quality of this

product, [and] showing us a range of properties that would be associated with the


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performance”). The evidence showed that the combination of high coercivity, low

specific magnetic saturation, and low specific permeability along with other

elements recited in claims 1, 2, and 11 reflect a novel PCD microstructure with

enhanced diamond-to-diamond bonding that did not exist in conventional PCDs.

Appx97, 4:5-12; Appx1693-1695, 117:3-119:25 (testifying that the claimed

properties “would come from higher performance . . . .”).

      Second, the Commission erred by omitting all analysis of the numerical

ranges recited in the Asserted Claims, and the Commission never grapples with

their implications in Alice step two. Each Asserted Claim recites a specific

numerical range for each measurement parameter, providing a specific

implementation of the parameter. For example, claim 2 of the ’502 patent recites a

specific range of coercivity (about 115 Oe to about 250 Oe), specific permeability

(less than about 0.10 G·cm3/g·Oe), and specific magnetic saturation (about 15

G·cm3/g or less). Appx106-107, Claims 1, 2. The specific numerical limitations

relate to the improved PCD microstructure. Appx2823, 1243:12-25 (referring to

the Asserted Claims as “teaching us about how to do measurements of [a

complicated] microstructure of the quality of this product, [and] showing us a

range of properties that would be associated with the performance.”); Appx2834,

1254:4-10 (referring to coercivity as “a microstructure parameter”). The

Commission does not cite any contrary evidence to rebut USS’s evidence, but



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rather relies on the ALJ’s conclusory analysis in the ID, which relied on

misleading arguments in Respondents’ initial post-hearing brief on pages 51-52.

Appx34-35; Appx332. Contrary to Respondents’ arguments, there is no evidence

that a PDC having the claimed ranges of coercivity, magnetic saturation, specific

permeability, and other features was known in the art.

        Nowhere does the Commission or the Initial Determination address these

numerical limitations, contravening the Federal Circuit’s caution against

“ʻoversimplifying the claims’ by looking at them generally and failing to account

for the specific requirements of the claims.” CardioNet, 955 F.3d at 1371 (citation

omitted); see also Koninklijke KPN, 942 F.3d at 1148, 1151 (holding that the claim

reciting “to modify the permutation in time” was a sufficiently specific

implementation improving the overall technological process of detecting

systematic errors in data transmission of an existing tool, a “check data generating

device”). Had Alice step two been properly performed, the ordered combination of

recited claim elements, including the various measurement parameters and their

specific numerical limitations, would have demonstrated patent-eligible

technological improvement over prior art—i.e., specific types of novel PDCs with

unique and desirable properties for oil-drilling applications. BASCOM, 827 F.3d at

1352.




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      When read as an “ordered combination,” the novel USS PDC is a

quintessential transformation of numerous elements into a tangible product and

should have been patent eligible under Alice step two. Alice, 573 U.S. at 217.

Instead, the analysis of the claimed invention as a whole—with more than a dozen

“structural and design features” in the claim—was sidestepped in the second half

of the Commission’s Alice analysis. See Appx34-36. Thus, rather than properly

applying the Supreme Court’s two-step framework for evaluating subject matter

eligibility, the Commission erroneously collapsed it into a subjective one-step

determination dependent on the intuition of the ALJ looking at elements in

isolation.

      C.      Claims 15 and 21 of the ’502 Patent Are Patent Eligible Under
              § 101
      The Commission’s Final Determination is erroneous for yet another

reason—it failed to consider elements in claims 15 and 21 of the ’502 patent that

confer patent eligibility. Claims 15 and 21 recite specified material properties, such

as average grain size, coercivity, specific permeability, and specific magnetic

saturation, but they also add the feature of “a thermal stability, as determined by a

distance cut, prior to failure in a vertical lathe test, of about 1300 m to about 3950

m.” Appx107, Claims 15, 21. The Commission once again failed to properly

analyze claims 15 and 21 under Alice steps one and two.




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      The Commission commits various errors, including (1) failing to clearly

identify the abstract idea to which claims 15 and 21 are supposedly directed,

(2) misunderstanding the magnetic properties used to measure the diamond

microstructure as mere “side effects,” (3) misinterpreting case law considering

claims reciting only the intended result or effect of an invention, and (4) failing to

consider the scope of the claims and the context of the invention and the problem it

solves as defined in the specification and by the claim language. The Commission

also failed to consider claims 15 and 21 individually, which alone was error. See

supra § VII.B.1.e.

      The additional “thermal stability” feature of claims 15 and 21 is not an

abstract idea. It relates to a standard industry test for measuring PDC properties.

Dr. German testified that he measured thermal stability using a VTL test without

any coolant and observed how long it can cut before the PCD graphitizes and

leaves a black mark in the granite workpiece. Appx1736, 160:3-16 (“[T]he cutter is

heating up, and it’s going to . . . the destruction. And it’s leaving that black line

behind, which is the graphite, which is the characteristic measurement that we

make to determine the thermal stability. So the longer it goes, the more thermally

stable it is.”). Thus, thermal stability represents a different way of characterizing

and measuring the microstructure of the claimed PDCs.




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      Claims 15 and 21 are not “directed to” an abstract idea because, unlike the

claims in Light-Emitting Diode, which were found “not limited to any particular

structure, but instead read on any and all means of achieving the claimed

efficiencies,” Light-Emitting Diode, 2021 WL 3829977, at *20 (emphasis added),

claim 15 and 21 do not read on “any and all means of achieving the claimed”

thermal stability. Instead, they are limited to those PDCs that meet the thermal

stability requirement in addition to having “particular structure” related to the other

measured properties. See Appx107, Claim 15 (reciting “wherein the unleached

portion of the polycrystalline diamond table exhibits: a coercivity of about 115 Oe

to about 250 Oe; [and] a specific magnetic saturation of about 10 G·cm3/g to about

15 G·cm3/g”), Claim 21 (reciting “[t]he polycrystalline diamond compact of claim

15” and further “a specific permeability less than about 0.10 G·cm3/g·Oe”). Thus,

the thermal stability requirement is another feature that only further limits the

claims rather than expanding their scope. The scope of infringing products in this

case bore that out. Specifically, USS only accused a limited subset of products of

infringing claims 15 and 21 of the ’502 patent. See, e.g., Appx16; Appx891-898

(list of tested products). Therefore, there is no preemption for claim 15 for this

reason in addition to all the reasons noted above for claims 1, 2, and 11. See supra

§ VII.B.




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      As with claims 1, 2, and 11, the Commission’s Alice step-two analysis is

infected by the errors of its step-one analysis and fails to consider the

transformative nature of the invention claimed as an ordered combination. For

these reasons, the Commission’s step-two analysis also fails.

VIII. CONCLUSION

      For the foregoing reasons, the Court should reverse the ITC’s Final

Determination of no violation of Section 337 by Respondents. The Court should also

reverse the ITC’s Initial Determination finding claims 1, 2, 11, 15, and 21 of the

’502 patent to be ineligible under 35 U.S.C. § 101.




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Date: May 19, 2023                      Respectfully submitted,

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                ADDENDUM
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                         SUBJECT TO PROTECTIVE ORDER
                                                   PUBLIC VERSION

                         UNITED STATES INTERNATIONAL TRADE COMMISSION
                                        Washington, D.C.




      In the Matter of

      CERTAIN POLYCRYSTALLINE                                                            Investigation No. 337-TA-1236
      DIAMOND COMPACTS AND
      ARTICLES CONTAINING SAME

                                                 COMMISSION OPINION

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Dissenting Opinion of Commissioner Schmidtlein




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                                    PUBLIC VERSION

I.     INTRODUCTION

       On May 9, 2022, the Commission determined to review in part the final initial

determination (“ID”) of the presiding administrative law judge (“ALJ”), which issued on March

3, 2022. Specifically, the Commission determined to review certain of the ID’s findings relating

to validity of the asserted claims of U.S. Patent Nos. 10,507,565 (“the ’565 patent”), 10,508,502

(“the ’502 patent”), and 8,616,306 (“the ’306 patent”) (collectively, “the Asserted Patents”), and

the ID’s findings regarding the economic prong of the domestic industry requirement. The

Commission determined not to review the ID’s finding that the sole asserted claim of the ’306

patent is invalid under 35 U.S.C. § 102(b).

       On review, the Commission has determined to affirm in part, modify in part, reverse in

part, and take no position on certain issues in the ID that are under review. Consistent with those

determinations, the Commission affirms the ALJ’s determination that there has not been a

violation of section 337 of the Tariff Act of 1930, 19 U.S.C. § 1337. 1 This opinion sets forth the

Commission’s reasoning in support of its determination.

II.    BACKGROUND

       A.      Procedural History

       The Commission instituted this investigation on December 29, 2020, based on a

complaint filed by US Synthetic Corporation (“USS” or “Complainant”) of Orem, Utah. 85 Fed.

Reg. 85661-662 (Dec. 29, 2020). The complaint alleged violations of section 337 based upon

the importation into the United States, the sale for importation, and the sale within the United

States after importation of certain polycrystalline diamond compacts and articles containing



       1
         Commissioner Schmidtlein supports finding a violation with respect to the asserted
claims of the ’502 patent. She offers below her dissenting views.




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same by reason of infringement of certain claims of the ’565, ’502, and ’306 patents and U.S.

Patent Nos. 9,932,274 (“the ’274 patent”) and 9,315,881 (“the ’881 patent”). 2 Id. The complaint

further alleged that an industry in the United States exists as required by section 337. Id. The

notice of investigation named as respondents: SF Diamond Co., Ltd. and SF Diamond USA, Inc.

(collectively, “SF Diamond”); Element Six Abrasives Holdings Ltd., Element Six Global

Innovation Centre, Element Six GmbH, Element Six Limited, Element Six Production (Pty)

Limited, Element Six Hard Materials (Wuxi) Co. Limited, Element Six Trading (Shanghai) Co.,

Element Six Technologies US Corporation, Element Six US Corporation, ServSix US, and

Synergy Materials Technology Limited (collectively, “Element Six”); Iljin Diamond Co., Ltd.,

Iljin Holdings Co., Ltd., Iljin USA Inc., Iljin Europe GmbH, Iljin Japan Co., and Ltd., Iljin China

Co., Ltd. (collectively, “Iljin”); Henan Jingrui New Material Technology Co., Ltd. (“Jingrui”);

Zhenzghou New Asia Superhard Materials Composite Co., Ltd. and International Diamond

Services, Inc. (“IDS”) (collectively, “New Asia”); CR Gems Superabrasives Co., Ltd. ( “CR

Gems”); FIDC Beijing Fortune International Diamond (“FIDC”); Fujian Wanlong Superhard

Material Technology Co., Ltd. (“Wanlong”); Zhujau Juxin Technology (“Juxin”); 3 and Shenzhen

Haimingrun Superhard Materials Co., Ltd. (“Haimingrun”). Id. at 85662. The Office of Unfair

Import Investigations did not participate in the investigation. Id.

       USS moved to terminate the investigation as to various respondents over the course of the

investigation. All of the motions were granted by non-final IDs, and the Commission did not

review them. ID at 2 (citing Order Nos. 6, 8, 10, and 16). Thus, the only remaining respondents



       2
           The ’274 and ’881 patents were terminated from the investigation.
       3
         On February 8, 2021, Guangdong Juxin Materials Technology Co., Inc. was substituted
in place of Zhuhai Juxin Technology. ID at 1 n.1 (citing Order No. 8).




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are Iljin, SF Diamond, New Asia, Haimingrun, Juxin, IDS, CR Gems, Jingrui, and Wanlong

(collectively, “Respondents”).

       USS also moved for partial termination of the investigation with respect to certain patents

and claims. All of the motions were granted by non-final IDs, and the Commission did not

review them. ID at 3 (citing Order Nos. 26, 32, and 57). The following asserted patents and

claims were at issue in the final ID, with the independent claims in bold:




Id. (citing Order No. 59 (August 9, 2021), unreviewed by Comm’n Notice (Aug. 20, 2021)).

       On May 24, 2021, Order No. 23 issued, which construed certain claim terms of the

Asserted Patents. An evidentiary hearing was held on October 18-22, 2021.

       The ALJ issued his final ID on March 3, 2022, finding no violation of section 337 by

Respondents. Specifically, the ID found at least one accused product infringes all asserted

claims of the Asserted Patents, but those claims are patent ineligible under 35 U.S.C. § 101

and/or invalid under 35 U.S.C. § 102. The ID also found that Complainant has shown that the

domestic industry requirement has been satisfied with respect to the Asserted Patents.

       On March 15, 2022, USS filed a petition for review seeking review of certain patent

ineligibility and invalidity findings. 4 That same day, Respondents filed two contingent petitions

for review. 5 The first petition, submitted by all active Respondents, sought review of certain




       4
        See Complainant US Synthetic’s Petition for Review of Initial Determination (Mar. 15,
2022) (“Compl. Pet.”).
       5
        See Respondents’ Contingent Petition for Review of the Initial Determination (Mar. 15,
2022) (“1st Resp. Pet.”); Petition for Commission Contingent Review by Zhengzhou New Asia




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findings related to infringement, the technical prong of the domestic industry requirement, and

invalidity. The second petition, submitted by Respondents New Asia, Haimingrun, and Juxin,

sought review of Order No. 46, which allowed Complainant to present evidence regarding its

revenue-based investment allocation method for the economic prong of the domestic industry

requirement. On March 23, 2022, the parties filed separate replies to the petitions for review. 6

On March 31, 2022, the Iljin Respondents submitted a public interest statement.

       The Commission determined to review in part the final ID. 87 Fed. Reg. 29375-377

(May 13, 2022). Specifically, the Commission determined to review: (1) the ID’s finding that

the asserted claims are patent ineligible under 35 U.S.C. § 101; (2) the ID’s finding that the

asserted claims of the ’565 patent are not entitled to an earlier priority date and, thus, they are

invalid as anticipated by the sale of the        product; (3) the ID’s finding that the Mercury

product anticipates claims 1 and 2 of the ’565 patent and claims 1 and 11 of the ’502 patent;

(4) the ID’s finding that Respondents did not prove that the asserted claims are not enabled; and

(5) the ID’s findings regarding the economic prong of the domestic industry requirement

(including the ruling allowing USS to supplement its domestic industry contentions with a

revenue-based allocation method). The Commission determined not to review any other findings

presented in the final ID, including the ID’s finding that the sole asserted claim of the ’306 patent

is invalid under 35 U.S.C. § 102(b).




Superhard Materials Co., Ltd., Shenzhen Haimingrun Superhard Materials Co., Ltd., and
Guangdong Juxin New Materials Technology Co., Ltd. (Mar. 15, 2022) (“2nd Resp. Pet.”).
       6
        See Complainant US Synthetic’s Response to Respondents’ Contingent Petitions for
Review of Initial Determination (Mar. 23, 2022) (“Compl. Reply”); Respondents’ Response to
Complainant US Synthetic’s Petition for Review of Initial Determination (Mar. 23, 2022)
(“Resp. Reply”).




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         The Commission also asked the parties to brief certain issues under review and to brief

issues of remedy, the public interest, and bonding. The parties filed timely initial submissions 7

and reply submissions. 8

         B.     The Asserted Patents

         The technology at issue in this investigation relates to polycrystalline diamond compacts

(“PDCs”), which are compacts made of a polycrystalline diamond (“PCD”) and a substrate.

PDCs can be shaped as cylindrical parts as shown, for example, in Fig. 11A of the ’565 patent

(reproduced below) and Fig. 3B of the ’502 patent. See, e.g., ’565 patent (JX-0002), 9 at 15:63-

16:21.




         7
         Complainant US Synthetic’s Written Submission in Response to the Commission’s
Determination to Review-In-Part a Final Initial Determination of a Violation of Section 337,
EDIS Doc ID 771391 (May 23, 2022) (“Compl. Sub.”); Respondents’ Opening Submission on
the Issues Under Review and on Remedy, Bond, and Public Interest, EDIS Doc ID 771380 (May
23, 2022) (“Resp. Sub.”).
         8
        Complainant US Synthetic’s Response to Respondents’ Opening Submission on the
Issues Under Review and on Remedy, Bond, and Public Interest, EDIS Doc ID 771964 (May 31,
2022) (“Compl. Reply Sub.”); Respondents’ Responsive Submission on the Issues Under
Review and on Remedy, Bond, and Public Interest, EDIS Doc ID 771966 (May 31, 2022)
(“Resp. Reply Sub.”).
         9
         Citations are to the ’565 patent only. The ’502 and ’306 patents share the same
specification and provide similar disclosures as the ’565 patent for purposes of this investigation
unless otherwise specified.




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       In one disclosed embodiment, the PDC 300 includes “a superabrasive diamond layer

commonly referred to as a diamond table” or “PCD table 302,” a working surface 303 of the

PCD table 302, and a substrate 304. Id. at 1:28-30, 9:44-47; see id. at 15:62-16:10. The

substrate 304 is often made from a cemented hard metal composite, like cobalt-cemented

tungsten carbide. See id. at 6:43-45, 9:44-45, 14:44-50. At least a portion of the PCD table 302

includes a plurality of diamond grains defining a plurality of interstitial regions. Id. at 4:64-67.

The plurality of interstitial regions “may be occupied by a metal-solvent catalyst, such as iron,

nickel, cobalt, or alloys of any of the foregoing metals.” Id. at 4:67-5:4. The plurality of

diamond grains “may exhibit an average grain size of about 50 μm or less, such as about 30 μm

or less or about 20 μm or less.” Id. at 5:8-10.

       Conventional PDCs were fabricated by placing the substrate into a cartridge with a

volume of diamond particles next to the substrate. Id. at 1:42-46; see Order No. 23 (Markman

Order) at 22 (May 24, 2021). This cartridge may be loaded into a press that creates high-

pressure and high-temperature (“HPHT”) conditions. ’565 patent (JX-0002) at 1:45-46. The

substrate and diamond particles are processed under the HPHT conditions in the presence of a

catalyst material (e.g., from the substrate) that causes the diamond particles to bond to one

another, creating a PCD table that is bonded to the substrate. Id. at 1:46-54, 9:28-32. The ’565

patent specification explains the drawbacks to the conventional approach:

               The presence of the solvent catalyst in the PCD table is believed to
               reduce the thermal stability of the PCD table at elevated
               temperatures. For example, the difference in thermal expansion
               coefficient between the diamond grains and the solvent catalyst is
               believed to lead to chipping or cracking of the PCD table during
               drilling or cutting operations, which can degrade the mechanical
               properties of the PCD table or cause failure. Additionally, some of
               the diamond grains can undergo a chemical breakdown or back-
               conversion to graphite via interaction with the solvent catalyst. At
               elevated high temperatures, portions of the diamond grains may




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               transform to carbon monoxide, carbon dioxide, graphite, or
               combinations thereof, thus degrading the mechanical properties of
               the PDC.

               One conventional approach for improving the thermal stability of a
               PDC is to at least partially remove the solvent catalyst from the
               PCD table of the PDC by acid leaching. However, removing the
               solvent catalyst from the PCD table can be relatively time
               consuming for high-volume manufacturing. Additionally,
               depleting the solvent catalyst may decrease the mechanical
               strength of the PCD table.

Id. at 1:66-2:19.

        To overcome the difficulties with the conventional approaches, the specifications disclose

that:

               It is currently believed by the inventors that forming the PCD by
               sintering diamond particles at a pressure of at least about 7.5 GPa
               may promote nucleation and growth of diamond between the
               diamond particles being sintered so that the volume of the
               interstitial regions of the PCD so-formed is decreased compared to
               the volume of interstitial regions if the same diamond particle
               distribution was sintered at a pressure of, for example, up to about
               5.5 GPa and at temperatures where diamond is stable.

Id. at 7:53-61. In other words, the specifications state the inventors’ belief that the disclosed

embodiments of PCDs sintered at a pressure of “at least about 7.5 GPa” differ from conventional

HPHT products because they “may promote” “enhanced diamond-to-diamond bonding” or a

“high-degree of diamond-to-diamond bonding.” Id. at 2:27-28, 2:51-54, 4:34-35, 4:58-65, 7:53-

61.

        USS’s expert opined that “enhanced” bonding in this context means “the level of bonding

is evident typically in a cross-section micrograph, and so we’re talking about more bonding,

stronger bonding, larger bonds. That kind of thing would be enhanced diamond-to-diamond

bonding over what had previously existed.” Tr. (German) at 117:14-22; see also Compl. Sub. at




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14-15 (citing Tr. (German) at 116:8-119:25). Dr. Bertagnolli, a named inventor of the patents,

also confirmed and explained how the inventors viewed this concept:

               [W]e had this hypothesis that, well, if we could make the diamond
               table more dense, so in a sense we want less metal, less of that
               cobalt metal and more diamond, if we can do that, then we could
               keep the cutter sharper longer and our customers would be more
               happy with our products.

               So early on in our sort of journey here, we were experimenting
               with ways to increase density. And one thing that we saw was that,
               as we increased sintering pressure, the pressure applied by the
               press, we saw that we would get, in the PDC, we would have a
               lower metal content.

               And so we thought that meant that instead of so much metal being
               there, that meant we had more diamond, more diamond-to-
               diamond bonding, greater diamond density. And, indeed, that
               turned out to have better wear characteristics.

Tr. (Bertagnolli) at 67:10-68:25 (emphases added).

       Disclosed embodiments of PCD tables are fabricated by subjecting a cell assembly

comprising a plurality of diamond particles of about 30 μm or less and a metal-solvent catalyst

to a temperature of at least about 1000° Celsius and a pressure in the pressure transmitting

medium of at least about 7.5 GPa. ’565 patent (JX-0002) at 2:47-54 & Table I.

       The specifications disclose that PCD tables fabricated using the disclosed embodiments

may exhibit improved mechanical and/or thermal properties. Generally, as the sintering pressure

that is used to form the PCD increased above 7.5 GPa, the coercivity and wear resistance or

Gratio of the PCD may increase while the magnetic saturation and electrical conductivity may

decrease relative to PCD formed at lower pressures. Id. at 5:61-63, 6:63-65. The disclosed PCD

tables may exhibit “a coercivity of 115 Oe or more,” “a specific magnetic saturation of about 15

G·cm3/g or less, a metal-solvent catalyst content of about 7.5 weight % [] or less, an electrical




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conductivity of less than about 1200 S/m,” 10 a Gratio of “at least about 4.0×106,” or combinations

thereof. Id. at 4:34-49, 4:58-64, 6:66. The specifications teach “[b]y maintaining the metal-

solvent catalyst content below about 7.5 wt %, the PCD may exhibit a desirable level of thermal

stability suitable for subterranean drilling applications.” Id. at 5:28-31. The specifications posit

that “[m]any physical characteristics of the PCD may be determined by measuring certain

magnetic and electrical properties of the PCD because the metal-solvent catalyst may be

ferromagnetic.” Id. at 5:32-35. Regarding coercivity, the specifications state that:

               The mean free path between neighboring diamond grains of the
               PCD may be correlated with the measured coercivity of the PCD.
               A relatively large coercivity indicates a relatively smaller mean
               free path. The mean free path is representative of the average
               distance between neighboring diamond grains of the PCD, and thus
               may be indicative of the extent of diamond-to-diamond bonding in
               the PCD. A relatively smaller mean free path, in well-sintered
               PCD, may indicate relatively more diamond-to-diamond bonding.

Id. at 5:40-48. The specifications also posit that the amount of the metal-solvent catalyst present

in the PCD may be correlated with the measured specific magnetic saturation and electrical

conductivity (σ) of the PCD. Id. at 5:35-39; 15:24-31. A relatively larger specific magnetic

saturation indicates relatively more metal-solvent catalyst in the PCD and a relatively small

amount of metal-solvent catalyst within the PCD generally indicates a relatively small value of

electrical conductivity. Id. Moreover, the specifications disclose that the “specific permeability

(i.e., the ratio of specific magnetic saturation to coercivity) of the PCD may be about 0.10 or

less.” Id. at 6:27-29. The specifications further disclose that the “Gratio is the ratio of the volume

of workpiece cut to the volume of PCD worn away during a cutting process,


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          The “electrical conductivity of less than about 1200 S/m” language and other
disclosures related to electrical conductivity were added to the continuation-in-part application
that issued as the ’565 patent and do not appear in the ’502 and ’306 patents. See infra at Part
IV(B).




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such as in a vertical turret lathe (“VTL”) test in which the workpiece is cooled during the cutting

process,” also known as wet VTL. Id. at 7:2-5; see Tr. (Bertagnolli) at 75:21-76:5. Thermal

stability is “evaluated by measuring the distance cut in a workpiece prior to catastrophic failure,

without using coolant, in a vertical lathe test (e.g., vertical turret lathe or a vertical boring mill),”

also known as dry VTL. ’565 patent (JX-0002) at 7:24-28.

       PDCs can be used in “drilling tools (e.g., cutting elements, gage trimmers, etc.),

machining equipment, bearing apparatuses, wire-drawing machinery, and in other mechanical

apparatuses.” Id. at 1:21-25. PDCs have found particular utility in cutters in rotary drill bits

800, as shown in Fig. 13 of the ’565 patent below. Id. at 22:66-23:1, 23:11-12. A plurality of

PDCs 812 are affixed to the bit body 802, as shown in Fig. 14 below. Id. at 23:21-24.




A PDC with higher diamond-to-diamond bonding allows “wear parts,” such as drill bits, to last

longer and perform better in high-abrasion applications, such as earth-boring. ID at 8 (quoting

’502 patent (JX-0003) at 4:41-49). Thus, drill operators do not have to remove or replace the

drill bits as frequently. Id. (citing ’502 patent at 1:26-41).




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       Complainant alleges that Respondents infringe claims 1, 2, 4, 6, and 18 of the ’565

patent, claims 1, 2, 11, 15, and 21 of the ’502 patent, and claim 15 of the ’306 patent.

Independent claims 1 and 18 of the ’565 patent read as follows:

               1. A polycrystalline diamond compact, comprising:

                      a polycrystalline diamond table, at least an unleached
                      portion of the polycrystalline diamond table including:

                              a plurality of diamond grains directly bonded
                              together via diamond-to-diamond bonding to define
                              interstitial regions, the plurality of diamond grains
                              exhibiting an average grain size of about 50 μm or
                              less;

                              a catalyst occupying at least a portion of the
                              interstitial regions;

                              wherein the unleached portion of the polycrystalline
                              diamond table exhibits a coercivity of about 115 Oe
                              or more;

                              wherein the unleached portion of the polycrystalline
                              diamond table exhibits an average electrical
                              conductivity of less than about 1200 S/m; and

                              wherein the unleached portion of the polycrystalline
                              diamond table exhibits a Gratio of at least about
                              4.0×106; and

                      a substrate bonded to the polycrystalline diamond table.

               18. A polycrystalline diamond compact, comprising:

                      a polycrystalline diamond table, at least an unleached
                      portion of the polycrystalline diamond table including:

                              a plurality of diamond grains directly bonded
                              together via diamond-to-diamond bonding to define
                              interstitial regions, the plurality of diamond grains
                              exhibiting an average grain size of about 30 μm or
                              less;

                              a catalyst occupying at least a portion of the
                              interstitial regions;




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                             wherein the unleached portion of the polycrystalline
                             diamond table exhibits a coercivity of about 115 Oe
                             to about 175 Oe;

                             wherein the unleached portion of the polycrystalline
                             diamond table exhibits an average electrical
                             conductivity of less than about 1200 S/m; and

                             wherein the unleached portion of the polycrystalline
                             diamond table exhibits a thermal stability, as
                             determined by distance cut, prior to failure in a
                             vertical lathe test, of at least about 1300 m.

’565 patent at 25:47-65 (emphasis added), 26:63-27:14 (emphasis added). Independent claims 1

and 15 of the ’502 patent read as follows:

              1. A polycrystalline diamond compact, comprising:

                      a polycrystalline diamond table, at least an unleached
                      portion of the polycrystalline diamond table including:

                      a plurality of diamond grains bonded together via diamond-
                      to-diamond bonding to define interstitial regions, the
                      plurality of diamond grains exhibiting an average grain size
                      of about 50 μm or less; and

                      a catalyst including cobalt, the catalyst occupying at least a
                      portion of the interstitial regions;

                      wherein the unleached portion of the polycrystalline
                      diamond table exhibits a coercivity of about 115 Oe to
                      about 250 Oe;

                      wherein the unleached portion of the polycrystalline
                      diamond table exhibits a specific permeability less than
                      about 0.10 G·cm3/g·Oe; and

                      a substrate bonded to the polycrystalline diamond table
                      along an interfacial surface, the interfacial surface
                      exhibiting a substantially planar topography;

                      wherein a lateral dimension of the polycrystalline diamond
                      table is about 0.8 cm to about 1.9 cm.




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              15. A polycrystalline diamond compact, comprising:

                      a polycrystalline diamond table, at least an unleached
                      portion of the polycrystalline diamond table including:

                      a plurality of diamond grains bonded together via diamond-
                      to-diamond bonding to define defining interstitial regions,
                      the plurality of diamond grains exhibiting an average grain
                      size of about 50 μm or less; and

                      a catalyst including cobalt, the catalyst occupying at least a
                      portion of the interstitial regions;

                      wherein the unleached portion of the polycrystalline
                      diamond table exhibits:

                      a coercivity of about 115 Oe to about 250 Oe;

                      a specific magnetic saturation of about 10 G·cm3/g to
                      about 15 G·cm3/g; and

                      a thermal stability, as determined by a distance cut, prior to
                      failure in a vertical lathe test, of about 1300 m to about
                      3950 m;

                      wherein a lateral dimension of the polycrystalline diamond
                      table is about 0.8 cm or more.

’502 patent at 22:61-23:13 (emphasis added), 23:65-24:17 (emphasis added). The sole asserted

claim 15 of the ’306 patent reads as follows:

              15. A polycrystalline diamond compact, comprising:

                      a substrate; and

                      a polycrystalline diamond table including a first
                      polycrystalline diamond layer bonded to the substrate and
                      at least a second polycrystalline diamond layer, the second
                      polycrystalline diamond layer exhibiting a second average
                      diamond grain size that is less than a first average diamond
                      grain size of the first polycrystalline diamond layer, at least
                      an un-leached portion of the polycrystalline diamond table
                      including:




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                              a plurality of diamond grains defining a plurality of
                              interstitial regions;

                              a metal-solvent catalyst occupying at least a portion
                              of the plurality of interstitial regions; and

                              wherein the plurality of diamond grains and the
                              metal-solvent catalyst collectively exhibit a
                              coercivity of about 115 Oe or more and a specific
                              magnetic saturation of about 15 G·cm3/g or less.

’306 patent (JX-0001) at 24:22-40 (emphasis added).

       The asserted claims are directed to PDCs exhibiting certain structural features (e.g., grain

size and a catalyst), performance measures (e.g., Gratio and thermal stability), and various

electrical and magnetic properties (e.g., coercivity, specific magnetic saturation, specific

permeability, and average electrical conductivity). The following chart summarizes the features

of the PCDs in each of the asserted claims.




       C.      Products at Issue

       Pursuant to Commission Rule 210.10(b)(1), 19 C.F.R. § 210.10(b)(1), the plain language

description of the accused products or category of accused products, which defines the scope of




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CDX-0004C.9. The “DI I Products” allegedly practice claims of the ’565 and ’502 patents and

the “DI II Product” allegedly practice claims of the ’306 patent. ID at 90-92.

III.   COMMISSION REVIEW OF THE FINAL ID

       With respect to the issues under review, “the Commission may affirm, reverse, modify,

set aside or remand for further proceedings, in whole or in part, the initial determination of the

administrative law judge.” 19 C.F.R. § 210.45(c). The Commission also “may take no position

on specific issues or portions of the initial determination,” and “may make any finding or

conclusions that in its judgment are proper based on the record in the proceeding.” Id.

IV.    ANALYSIS

       The Commission did not review, and thus adopted, the ID’s finding that the sole asserted

claim of the ’306 patent is invalid under 35 U.S.C. § 102(b) and, therefore, USS has not

established a violation of section 337 with respect to the ’306 patent. On review, the

Commission has determined that USS has also not established a violation of section 337 with

respect to claims 1, 2, 11, 15, and 21 of the ’502 patent and claims 1, 2, 4, 6, and 18 of the ’565

patent. Specifically, the Commission affirms with modifications the ID’s finding that the

asserted claims are directed to an abstract idea and, thus, are patent ineligible under 35 U.S.C.

§ 101. The Commission also affirms with modifications the ID’s finding that the asserted claims

of the ’565 patent are invalid under 35 U.S.C. § 102(b) by the sale of the         product.

Because the Commission finds certain testimony from third-party Diamond Innovations, Inc.’s

(“Diamond Innovations”) witness should be stricken in view of the ALJ’s rulings in Order No.

48 and at trial, the Commission reverses the ID’s finding that the Mercury PDC anticipates

claims 1 and 2 of the ’565 patent and claims 1 and 11 of the ’502 patent. The Commission

further affirms with modification the ID’s finding that Respondents have not proven that the

asserted claims of the ’502, ’565, and ’306 patents are not enabled. Finally, in view of the




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Commission’s finding that all asserted claims are directed to patent ineligible subject matter

and/or invalid, the Commission takes no position on the ID’s economic prong findings, including

the ALJ’s determination to allow USS to supplement its contentions with a new domestic

industry allocation method. The Commission affirms and adopts the ID’s findings, conclusions,

and supporting analysis that are not inconsistent with the Commission’s opinion. 11

       A.      The Asserted Patent Claims Are Directed to an Abstract Idea and Are Patent
               Ineligible Under 35 U.S.C. § 101

       “The statement of patent-eligible subject matter has been substantially unchanged since

the first Patent Act in 1790.” Classen Immunotherapies, Inc. v. Biogen IDEC, 659 F.3d 1057,

1063 (Fed. Cir. 2011). As now codified, it reads:

               § 101. Whoever invents or discovers any new and useful process,
               machine, manufacture, or composition of matter, or any new and
               useful improvement thereof, may obtain a patent therefor, subject
               to the conditions and requirements of this title.

Id.; 35 U.S.C. § 101. The Supreme Court has “long held that this provision contains an

important implicit exception: Laws of nature, natural phenomena, and abstract ideas are not

patentable.” Alice Corp. v. CLS Bank Int’l, 573 U.S. 208, 216 (2014).

       The determination of whether a claim is directed to ineligible subject matter is based on a

two-step test set forth by the Supreme Court in Alice. The first step evaluates “whether the

claims at issue are directed to one of [the] patent-ineligible concepts”—“laws of nature, natural

phenomena, and abstract ideas.” Id. at 217. The Court explained that the “abstract ideas”


       11
           Commissioner Schmidtlein joins the Commission’s decision affirming the ID’s section
102 findings as modified in the Majority opinion but dissents from the Majority’s decision to
affirm the ID’s section 101 findings as explained below in her dissenting views. She would also
affirm with modifications the ID’s conclusion that USS established the economic prong of the
domestic industry requirement for the ’565 patent and the ’502 patent under subsections (A), (B),
and (C) of 337(a)(3). Accordingly, she would find a violation based on infringement of claims 1,
2, 11, 15, and 21 of the ’502 patent.




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category embodies “the longstanding rule that ‘[a]n idea of itself is not patentable.’” Id. at 218;

see Le Roy v. Tatham, 55 U.S. 156, 175 (1852) (“A principle, in the abstract, is a fundamental

truth; an original cause; a motive; these cannot be patented, as no one can claim in either of them

an exclusive right.”). Speaking specifically to the issue of whether a claim is directed to an

abstract idea, the Court said to consider whether the claim seeks to cover a “fundamental []

practice” or basic “building block.” Alice, 573 U.S. at 220, 217.

        The Federal Circuit has described the first-stage inquiry as looking at the “focus” of the

claims, “whether the claim, as a whole” is “directed-to” patent-ineligible matter such as an

abstract idea. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016); see

Ancora Techs., Inc. v. HTC Am., Inc., 908 F.3d 1343, 1347 (Fed. Cir. 2018). This inquiry

involves determining whether the claims “focus on a specific means or method that improves the

relevant technology” or are “directed to a result or effect that itself is the abstract idea and

merely invoke generic processes and machinery.” Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229,

1241 (Fed. Cir. 2016).

        If a claim is directed to a patent-ineligible concept, the second step evaluates whether the

claim’s elements both individually and as an ordered combination of elements transform the

nature of the claim into a patent-eligible application. Alice, 573 U.S. at 217. The Federal Circuit

has described the second-stage inquiry as looking more precisely at what the claim elements add,

whether they identify an “inventive concept” in the application of the ineligible matter to which

the claim is directed. Elec. Power Grp., 830 F.3d at 1353.

        Before applying the two-step Alice test, the Commission first addresses USS’s argument

that “Respondents waived their abstract idea argument because they raised it for the first time in

their Post-Hearing Brief.” Compl. Sub. at 6. USS asserts that Respondents previously only




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argued that the claims are “directed to laws of nature, but never abstract ideas which is a

different framework.” Id. However, USS failed to argue waiver of this issue in its petition for

review, and thus has waived its own waiver argument. See Compl. Pet. at 14-39; 19 C.F.R.

§ 210.43(b). Regardless, Respondents did not waive their argument. While Respondents

repeatedly referred to the claimed properties as “natural phenomena” in their prehearing brief,

see Resp. Pre-Hearing Br. at 61, 65, they characterized the claims as “directed to abstract subject

matter,” id. at 71, and cited case law that found claims unpatentable under the abstract idea

judicial exception, see, e.g., id. at 67, 68, 72. Moreover, other than its conclusory assertion, USS

does not articulate or show support for any “different framework” for analyzing patent claims

purportedly directed to abstract ideas as opposed to laws of nature. Compl. Sub. at 6. There is

no indication in the case law that different principles or modes of analysis apply to these

judicially recognized exceptions. See Am. Axle & Mfg., Inc. v. Neapco Holdings LLC, 967 F.3d

1285, 1297 (Fed. Cir. 2020) (stating the “same principle” applies in cases involving the abstract

idea and natural law), cert. denied, 142 S. Ct. 2902 (2022); Smart Sys. Innovations, LLC v.

Chicago Transit Authority, 873 F.3d 1364, 1377 (Fed. Cir. 2017) (J. Linn dissenting in part and

concurring in part) (“[T]here is no principled difference between the judicially recognized

exception relating to ‘abstract ideas’ and those relating to laws of nature and natural phenomena.

All three nonstatutory exceptions are intended to foreclose only those claims that preempt and

thereby preclude or inhibit human ingenuity with regard to basic building blocks of scientific or

technological activity.”).

               1.      Alice Step One

       Regarding Alice step one, the ID observed that the asserted claims “recite compositions

of matter that are not found in nature,” but they also recite “certain structural and design features

(for example, a particular grain size and a catalyst), performance measures (G-Ratio . . . and




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thermal stability . . .), and side effects (the various electrical and magnetic parameters).” ID at

102, 104; see also id. at 100, 134. The ID found the structural and design features are not

problematic under Alice but the performance measures and side effects are problematic. Id. at

104-105. Specifically, relying on the patent specifications and one of Dr. Bertagnolli’s published

papers, the ID found that the properties of “wear resistance” and “thermal resilience,” as

measured by Gratio and thermal stability, respectively, “are not merely results or effects, but are

actually performance measures.” Id. at 102 (citing JX-0002 (’565 patent) at 2:22-28; CX-0394.3

(“wear resistance,” “thermal resilience,” and fracture toughness are three “properties relevant to

drilling”)). The ID also found that Dr. Bertagnolli’s paper and the patents explain that the

claimed electrical and magnetic properties are “side effect[s] or result[s] of the fabrication

processes and microscopic characteristics of a PDC.” Id.; see also id. at 103-104. The ID

summarized the patented inventions as follows:

                 In short, nothing in the asserted patents, or the rest of the record,
                 suggests that any of these parameters solve any problems, rather
                 than simply being measures of other, actually beneficial
                 characteristics. Nor are the electrical and magnetic parameters
                 sufficiently tied to any such beneficial characteristics through
                 inherency, as explained above. There may be some causal
                 connection between grain size, catalyst concentration, and other,
                 unspecified design and fabrication choices, on the one hand, and
                 electrical and magnetic behavior, on the other hand. But that causal
                 connection is so loose and generalized that the claimed limitations
                 appear to be little more than side effects; thus, the recitation of,
                 say, an electrical conductivity of less than 1200 S/m appears to be
                 gratuitous rather than inventive.

Id. at 104. Thus, the ID concluded that the asserted claims are directed to patent ineligible

matter.

          USS argues that the asserted claims are directed to “manmade PDCs—patent-eligible

articles of manufacture and compositions of matter,” which are “quintessential patent-eligible

subject matter under 35 U.S.C. § 101.” Compl. Sub. at 5, 3. However, under well-settled law,




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that a claim recites an article of manufacture, or a composition of matter, is not determinative of

whether it is in fact directed to an abstract idea. Yu v. Apple Inc., 1 F.4th 1040, 1044 & n.2 (Fed.

Cir. 2021) (finding claims directed to an “improved digital camera” patent ineligible under

§ 101). The Supreme Court confirmed in Alice that what matters is the reality behind the

machine or system claim language, whether or not it simply clothes abstract concepts.

               The fact that a computer “necessarily exist[s] in the physical,
               rather than purely conceptual, realm,” Brief for Petitioner 39, is
               beside the point. There is no dispute that a computer is a tangible
               system (in § 101 terms, a “machine”), or that many computer-
               implemented claims are formally addressed to patent-eligible
               subject matter. But if that were the end of the § 101 inquiry, an
               applicant could claim any principle of the physical or social
               sciences by reciting a computer system configured to implement
               the relevant concept. Such a result would make the determination
               of patent eligibility “depend simply on the draftsman’s art,” Flook,
               supra, at 593, 98 S.Ct. 2522, thereby eviscerating the rule that
               “‘[l]aws of nature, natural phenomena, and abstract ideas are not
               patentable,’” Myriad, 569 U.S., at ––––, 133 S.Ct., at 2116.

Alice, 573 U.S. at 224. Just as the “digital camera” in Yu is directed at patenting an abstract idea,

so too is the “polycrystalline diamond compact” here.

       USS next argues that, instead of determining whether the claim, as a whole, is directed to

an abstract idea, the ID improperly “created its own framework, looking at individual claim

elements, bucketing the elements into different groups, and analyzing whether each group is

directed to an abstract idea.” Compl. Sub. at 5 (citing ID at 101-107). According to USS, the ID

then “blessed one group as ‘structural’ (e.g., a particular grain size and a catalyst) and

condemned other groups as merely ‘side effects’ (e.g., magnetic saturation, coercivity, and

specific permeability) or ‘performance measures’ (e.g., G-Ratio and thermal stability).” Id.

(citing ID at 102, 104).

       We consider the ID to have examined the claims as a whole in determining that they were

directed to an abstract idea and that the ID’s level of abstraction in discussing what the claims




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are “directed to” does not meaningfully impact the patentability analysis. The Federal Circuit

has recognized that an “abstract idea can generally be described at different levels of

abstraction.” Ameranth, 842 F.3d at 1340-41. Here, the ID examined the language of the claims

as a whole, explaining that it found certain claim elements to be performance measures or side

effects rather than structural or design parameters. See, e.g., ID at 105 (finding that the “claims

of the ’565 patent [] incorporate the [abstract] goal or result of a particular measure of wear

resistance (i.e., G-Ratio) or thermal resilience (i.e., thermal stability), however achieved,” and

“certain electrical and magnetic side effects that themselves are simply imperfect proxies for

unclaimed features”). It is clear from the language of the claims that the claims involve an

abstract idea—namely, the abstract idea of a PDC that achieves the claimed performance

measures (G-Ratio and thermal stability) and has certain measurable side effects (specific

magnetic saturation, coercivity, and specific permeability), which, as discussed below, the

specifications posit are derived from enhanced diamond-to-diamond bonding in the PCDs.

       While the “directed to” inquiry must focus on the language of the claims themselves, the

Federal Circuit has explained that “the specification may [] be useful in illuminating whether the

claims are ‘directed to’ the identified abstract idea.” ChargePoint, Inc. v. SemaConnect, Inc.,

920 F.3d 759, 767 (2019) (“The ‘directed to’ inquiry “may also involve looking to the

specification to understand ‘the problem facing the inventor’ and, ultimately, what the patent

describes as the invention.”). Here, the specifications suggest that the asserted claims are

directed to the abstract idea of PDCs that achieve the claimed performance measures and have

side effects that the inventors believed may be derived from “enhanced” or “a high-degree of




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diamond-to-diamond bonding.” See, e.g., ’565 patent 12 (JX-0002) at Abstract (“Embodiments of

the invention relate to polycrystalline diamond compacts (ʻPDC’) exhibiting enhanced diamond-

to-diamond bonding.”), 2:20-29 (patent purports to disclose “PCD materials that exhibit

improved mechanical and/or thermal properties” via “enhanced diamond-to-diamond bonding”),

4:58-64 (“According to various embodiments, unleached PCD sintered at a pressure of at least

about 7.5 GPa may exhibit . . . a high-degree of diamond-to-diamond bonding . . . .”), 7:47-52

(“[I]n one or more embodiments of the invention, PCD exhibits . . . a greater amount of

diamond-to-diamond bonding between diamond grains than that of a PCD sintered at a lower

pressure . . . .”), 21:17-29 (conventional PDC tables listed in Table II exhibit “a lower coercivity

indicative of a relatively greater mean free path between diamond grains, and thus may indicate

relatively less diamond-to-diamond bonding between the diamond grains”).

       The problem identified in the specifications was that the “residual stresses” in the PCD

table and substrate following the HPHT process “may result in premature failure of the PDC.”

’565 patent (JX-0002) at 1:62-2:7; see ’502 patent (JX-0003) at 1:62-2:7. The specifications

state that the inventors believed that “forming the PCD by sintering diamond particles at a

pressure of at least about 7.5 GPa may promote nucleation and growth of diamond between the

diamond particles being sintered,” thereby forming a PCD “having a metal-solvent catalyst

content of less than about 7.5 wt %.” ’565 patent (JX-0002) at 7:53-8:5. The specifications also

state the inventors’ belief that PCDs formed at a sintering pressure above 7.5 GPa and with the

metal-solvent catalyst content below about 7.5 wt % may exhibit increased wear resistance and

improved thermal stability. Id. at 4:54-57, 5:43-44, 5:63-64, 6:14-22. In short, looking at the


       12
          Citations are to the ’565 patent only. The ’502 and ’306 patents provide similar
disclosures. See ’502 patent (JX-0003) at 2:19-20, 3:66-4:12, 4:21-24, 6:45-59; ’306 patent (JX-
0002) at 2:16-18, 3:64-4:9, 4:18-23, 6:44-52.




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problem identified in the patents, as well as the way the inventors describe their invention, the

Commission finds that the claims are directed to the abstract idea of PDCs that achieve the

claimed performance measures and desired magnetic and electrical results, which the

specifications posit may be derived from enhanced diamond-to-diamond bonding.

       The Commission finds that the concept of stronger PDCs that achieve certain

performance measures and desired magnetic and electrical properties is an abstract idea for

purposes of Alice step one. 13 USS does not dispute that the focus of the claims is stronger

bonding. See Tr. (German) at 116:8-16 (testifying that the disclosed PDCs are differentiated

from prior art PDCs by “the key term [that] shows up in both the summary and the abstract, and

it says enhanced diamond-to-diamond bonding”) (emphasis added), 117:7-12 (testifying that

“embodiments of the invention relate to polycrystalline diamond compacts exhibiting enhanced

diamond-to-diamond bonding”), 118:12-119:15 (testifying that although the word “enhanced” is

not in the claims, “the implications from the – the relative properties that follow in both of those

claims would be satisfied by an enhanced level of bonding”).

       USS argues that achieving the claimed properties and stronger bonding are not abstract

ideas. See Compl. Pet. at 7-10. Central to USS’s argument and the dissent’s view is that the

claims are directed to “objective measurements” of the diamond microstructure and the

measurements are, thus, “structural elements.” Compl. Sub. at 4, 5. In its petition for review,

USS asserts:



       13
          There is no dispute that the main goal for the PDC industry is enhanced or more
diamond-to-diamond bonding. See Resp. Sub. at 13-14 (stronger bonding is “top of mind for
everyone in the PDC industry”) (citing Tr. (German) at 119:17-25 (USS’s expert noting that
“enhanced diamond-to-diamond bonding” is “driving the economics” in the drill rig industry));
Alice, 573 U.S. at 218 (defining an abstract idea as “a fundamental truth; an original cause; a
motive”) (quoting Le Roy, 55 U.S. at 175).




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                Before the claimed invention, USS and others believed that
                sintering a PDC at too high a pressure could cause problems, such
                as exerting strain on the press equipment. [Tr. (Bertagnolli)], 73:3-
                9. Extremely high pressures can also destroy the press. Id., 68:8-
                11. Through significant R&D efforts, USS developed a way to
                exert higher sintering pressure (e.g., 7.8 GPa). See CX-2349. These
                manufacturing methods led to a new type of PDC with more
                diamond bonding and less cobalt.

Compl. Pet. at 7. USS submits that “each parameter measures how tightly the diamond grains in

the PCD table are packed together, indicating a greater diamond density, which is directly tied to

the PDC’s superior performance in drilling applications.” Compl. Sub. at 28; see also id. at 9

(the asserted claims “claim how an enhanced or a high-degree of diamond-to-diamond bonding is

achieved with measurements within associated numerical ranges). USS argues that “many claim

features are observed or measured in some way,” and if such features are found abstract, “the

abstract-idea exception would spill well beyond its boundaries.” Compl. Reply Sub. at 2.

         The evidence does not support USS’s argument that the claimed properties are “structural

elements” of a PDC or indicative of any specific microstructure. Instead, as USS’s expert

agreed, the measurable characteristics are the result of the sintering conditions and input

materials that went into manufacturing the PDC. Tr. (German) at 1338:24-1339:4. Thus, as the

ID states, Gratio and thermal stability are performance measurements (specifically of a PDC’s

wear resistance and thermal properties), which the specifications posit may be derived from

stronger diamond-to-diamond bonding. See ID at 102 (citing ’565 patent at 2:22-28, 6:64-66,

7:16-39; CX-0394.3); Tr. (German) at 119:5-15 (testifying “G-ratio [] is a wear characteristic,”

“[t]he higher the G-ratio, as we would know, is more successful [] the diamond cutter would

be.”).

         As for the electrical and magnetic properties of a PCD, there is no dispute that the

presence of cobalt or other metal-solvent catalyst in the PCD is measurable. See Tr. (German) at




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156:10-16 (testifying that coercivity measures “the degree of magnetization necessary to take [a

PCD] sample back to zero magnetism”); ’565 patent (JX-0002) 5:49-60 (the specification

teaches to measure the coercivity and specific magnetic saturation using published standards and

commercially available instruments). However, USS has not proven that the claimed electrical

and magnetic properties are indicative of any specific microstructure. See ID at 102-104 (citing

CX-0394.2-3). Relying on the patent specifications and Dr. Bertagnolli’s paper, the ID found the

electrical and magnetic properties are “not design choice[s] or manufacturing variable[s], but are

instead [] indirect measures of the effectiveness of other design choices and manufacturing

variables,” such as sintering pressure, temperature, metal content, and grain size, none of which,

besides grain size, are recited in the claims. ID at 103. We agree with the ID that “[t]here may

be some causal connection between grain size, catalyst concentration, and other, unspecified

design and fabrication choices, on the one hand, and electrical and magnetic behavior, on the

other hand,” “[b]ut that causal connection is so loose and generalized that the claimed limitations

appear to be little more than side effects; thus, the recitation of, say, an electrical conductivity of

less than 1200 S/m appears to be gratuitous rather than inventive.” Id. at 104.

        Contrary to the dissent’s view, the fact that the claimed characteristics of PDCs may be

measured does not make the claims any less abstract for purposes of Alice. The Federal Circuit

has explained that the patent eligibility inquiry requires that the claim “identify ’how’ [a]

functional result is achieved by limiting the claim scope to structures specified at some level of

concreteness, in the case of a product claim, or to concrete action, in the case of a method claim.”

Am. Axle, 967 F.3d at 1302. The Court noted that the “Supreme Court has so required dating

back at least to the Court’s rejection of Morse’s claim 8 in O’Reilly v. Morse.” Id. The Court

explained that Morse’s claim 8 was struck down because “it ‘was a claim for a patent for an




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effect produced by the use of electro-magnetism, distinct from the process or machinery

necessary to produce it,’ whereas other claims incorporated the descriptions of how to produce

the effect.” Id. at 1302 n.14 (quoting Dolbear v. Am. Bell Tel. Co., 8 S. Ct. 778, 782 (1888))

(internal quotations omitted); see also Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1342-

43 (Fed. Cir. 2018) (explaining that the inventor in Morse “received a patent containing at least

one claim directed to a particular technical solution to a problem,” but also “lost a claim that

encompassed all solutions for achieving a desired result,” because the latter claim “failed to

recite a practical way of applying an underlying idea; [it] instead [was] drafted in such a result-

oriented way that [it] amounted to encompassing the ‘principle in the abstract’ no matter how

implemented.”). Thus, while it is not per se impermissible to claim PDCs that achieve certain

properties and stronger bonding characteristics, the claims run afoul of section 101 due to the

“essentially result-focused, functional character of claim language.” 14 Elec. Power Grp., 830

F.3d at 1356. The claims here cover a set of goals for the PDCs that the specifications posit may

be derived from enhanced diamond-to-diamond bonding. The claims do not recite a way of

achieving the claimed characteristics; they simply recite the desired range of values for each

characteristic. Some claims do not even place a cap on those ranges.




       14
           The dissent argues the claimed properties at issue here are not the sort of results that
have been called into question in cases related to software functionality in computers. The
dissent reads these cases too narrowly, and the principles expressed in those cases are not limited
to cases involving software or computers. Moreover, while recent abstract idea precedent has
focused on computer-based and business method patents, the judicially recognized exceptions
can be found in more than these fields. See, e.g., Le Roy, 55 U.S. at 174-76 (articulating the
abstract idea exception in discussing claims directed to making lead pipes); Funk Bros. Seed Co.
v. Kalo Inoculant Co., 333 U.S. 127, 130-32 (1948) (product claims to composite cultures of
inoculants); O’Reilly v. Morse, 56 U.S. 62, 112-13 (1853) (claims directed to the use of electro-
magnetism for marking or printing characters).




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       The details set forth in the specifications do not change the conclusion under Alice step

one. The specifications set forth various manufacturing conditions and input materials, and

teach that these conditions and inputs may produce PCDs having improved mechanical and/or

thermal properties over the prior art. ’565 patent (JX-0002) at 2:47-54, 5:61-63, 6:63-65.

However, other than grain size, none of these conditions/inputs are required by the claims.

Moreover, USS contends and the ALJ agreed that the patentees did not disavow the claim scope

to limit certain parameters. See Order No. 23 (Markman Order) at 18-20 (construing claims

“such that there is no requirement for all PDCs to have been made with a sintering pressure of at

least 7.5 GPa . . . .”); Compl. Reply at 20 (denying patentees limited claims to PCD tables

manufactured with a cell pressure of 7.5 GPa or above and a metal-solvent catalyst amount of

7.5 wt. % or less”). In other words, the asserted claims cover all PDCs exhibiting the claimed

properties no matter what pressure was used to make them or how much catalyst is present in the

PCD. Unclaimed features of the manufacturing process “cannot function to remove [the claims]

from the realm of ineligible subject matter.” Am. Axle, 967 F.3d at 1295 (citing ChargePoint,

920 F.3d at 766).

       Recently, in Certain Light-Emitting Diode Products, Fixtures, and Components Thereof,

Inv. No. 337-TA-1213 (“Light-Emitting Diode”), the Commission found a claim that recites,

inter alia, a lighting device “having a wall plug efficiency of at least 85 lumens per watt of said

electricity” is directed to the abstract goal of energy efficiency at or above 85 LPW, however that

goal is achieved. Final ID at 21-22, 2021 WL 3829977, at *19-20 (Aug. 17, 2021), aff’d by

Comm’n Op., 2022 WL 168302, at *3 (Jan. 14, 2022). There, the complainant had argued that

the claim is not directed to an abstract goal because it recites “a particular physical structure (a

‘lighting device’) with objective, measurable characteristics (a ‘wall plug efficiency’).” Resp.




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Sub. at 18 (quoting Light-Emitting Diode, Compl. Pet. at 28). The Commission adopted the

ALJ’s finding that the claims are directed to an abstract goal because “the claims themselves,

even when properly construed in light of the specification, do not delineate how the claimed

[result (i.e., efficiency)] is achieved.” Light-Emitting Diode, Final ID at 23, 2021 WL 3829977

at *20. USS attempts to distinguish Light-Emitting Diode by arguing that the claim at issue

recited “one novel structural element,” i.e., “a wall plug efficiency of at least 85 lumens per watt

of said electricity,” whereas the asserted claims here recite numerous parameters, “the

combination of which defines the claimed microstructure with enhanced diamond-to-diamond

bonding.” Compl. Reply Sub. at 7. USS does not cite any cases to support its argument that the

number of parameters claimed somehow matters in the patent eligibility inquiry, particularly

given that the testing data discussed below contradicts USS’s assertion that the parameters it

claims define a particular microstructure.

       The testimony submitted by USS highlights that its research and development efforts

resulted in the ability to manufacture PDCs at higher pressure without damaging the

manufacturing press. Tr. (Bertagnolli) at 67:10-68:25. But rather than claiming a specific

structure or way of making a PDC, or any improvements to the manufacturing equipment itself,

USS purports to monopolize every potential structure or way of creating stronger PDCs with the

claimed characteristics. Whereas patenting a particular solution “would incentivize further

innovation in the form of alternative methods for achieving the same result,” allowing claims

like USS’s claims here would “inhibit[ ] innovation by prohibiting other inventors from

developing their own solutions to the problem without first licensing the abstract idea.” Elec.

Power Grp., 830 F.3d at 1356.




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       Courts have found that preemption is an indication that claims are directed to an abstract

idea. See ChargePoint, 920 F.3d at 766 (“[T]he concern that drives the judicial exceptions to

patentability is one of preemption[.]”) (internal quotation marks omitted). USS contends that the

“Asserted Claims do not cover all PCDs with enhanced diamond-to-diamond bonding, but rather

PDCs with the type of diamond-to-diamond bonding characterized by the numerical parameters

recited in the claims.” Compl. Reply Sub. at 11. In particular, the dissent agrees with USS that

there is no preemption here because the claims do not cover “the conventional PDCs disclosed in

the specification of the Asserted Patents (see, e.g., JX-0002.31-.32 at Tbls. II-III), several

products tested in this Investigation (see, e.g., CX-0383C.5, .7), and SF Diamond’s redesign

products developed during this Investigation (see ID at 55, 68).” Compl. Reply Sub. at 20. The

Commission finds this argument unpersuasive. The fact that one respondent, SF Diamond, was

able to redesign its product with a                   than what is claimed, see ID at 77, does not

render the preemption concern moot. Either                       is irrelevant (contrary to USS’s

assertion) and SF Diamond’s redesign is equivalent to the patented PDCs, or the only path

forward for others is practicing the inferior prior art PDCs. USS seeks a monopoly on any PDCs

that exhibit the claimed properties however achieved, which the law precludes in these

circumstances.

       The evidence also shows that certain accused products in this case achieved the claimed

properties using manufacturing conditions and input materials different from those disclosed in

the specifications. See Resp. Sub. at 8-9 (citing Resp. Reply at 17-18; CX-0383C; Tr. (German)

at 375:2-19; JX-0192C). For example, respondent Haimingrun’s accused S18 product was found

infringing because it met all of the coercivity, magnetic saturation, permeability, and electrical

conductivity thresholds. ID at 10, 63-64 (citing CX-0383C.3-4); CDX-0003C.77-78. Yet, the




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S18 product was manufactured at a sintering pressure of      GPa and included a catalyst weight

percentage of more than      . JX-0192C; CX-0383C.3-4; cf. ’565 patent (JX-0002) at 5:28-31,

5:64-6:3, 6:63-65 (teaching embodiments with less than 7.5% wt catalyst and greater than 7.5

GPa sintering pressure). USS contends that JX-0192C shows the S18 product was manufactured

at a cell (cavity) pressure above GPa. Compl. Reply Sub. at 21. However, JX-0192C (at 1)

lists the cavity pressure measurement as     GPa for the S18. The Commission finds USS’s

attorney argument insufficient to disregard the express statement in the document. Moreover,

even if USS is correct that the S18 product was manufactured at cell pressure above    GPa, USS

does not challenge Respondents’ assertion that the S18 product had a catalyst weight percentage

of more than      , which goes against the teachings in the patents.

       As another example, respondent New Asia’s accused Dragon 2 product was found to

meet all the claimed property thresholds, but New Asia reported that it was manufactured at a

sintering pressure of less than 7.5 GPa. See ID at 64 (citing CX-0383C.3), 68-70; CDX-

0003C.77-78; CDX-0003C.151; Tr. (German) at 375:2-19 (confirming that New Asia reported

“the Dragon 2 product, even though it’s an accused product, is manufactured using less than 7.5

gigapascals” and “greater than the 7.5 percent cobalt or metal-solvent catalyst content described

in the asserted patents”). USS now argues that “New Asia’s pre-suit documents . . . touted that

its PDC products are manufactured at       GPa.” Compl. Reply Sub. at 22 (citing JX-0348C).

JX-0348C is not an admitted exhibit and, therefore, the Commission gives no weight to this

exhibit. Moreover, USS has not shown that the “pre-suit documents” relate to the specific PDC

samples tested for infringement, and its own expert did not question New Asia’s reported

sintering pressure.




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       In view of the above, we agree with Respondents that the fact that PDCs produced with

manufacturing conditions and input materials different from what is taught in the patents may

still satisfy the claimed characteristics contradicts USS’s assertion that the measured properties

“characterize the PDC’s microstructure” and “are structural parameters.” Resp. Sub. at 19;

Compl. Pet. at 20. This is especially problematic because, as Respondents point out, even

assuming that the PCD embodiments in Table I have “enhanced” diamond-to-diamond bonds, as

the patents posit, the claimed ranges are broader than the ranges of the embodiments in Table I,

“illustrating that the claims are not limited to whatever microstructure those embodiments might

have.” Resp. Sub. at 13.

       To the extent that the dissent agrees with USS that “broad preemption” is required to

indicate the claims are directed to an abstract idea, Compl. Reply Sub. at 12, the Supreme Court

has rejected that notion. The Court explained that “the underlying functional concern here is a

relative one: how much future innovation is foreclosed relative to the contribution of the

inventor.” Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 89 (2012) (citation

omitted). “A patent upon a narrow law of nature may not inhibit future research as seriously as

would a patent upon Einstein’s law of relativity, but the creative value of the discovery is also

considerably smaller.” Id. at 88. And, as the Court recognized, “even a narrow [ineligible

subject matter] can inhibit future research.” Id. The Court said that its “cases have endorsed a

bright-line prohibition against patenting laws of nature, mathematical formulas, and the like,

which serves as a somewhat more easily administered proxy for the underlying ‘building-block’

concern.” Id. at 89; see also Alice, 573 U.S. at 217 (claims directed to no more than a

“fundamental [] practice” or basic “building block” of human ingenuity are not patentable

because doing so “would risk disproportionately tying up the use of the underlying ideas”). As




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discussed above, in this case, the inventors do not claim to be the first to make a PDC by

sintering a catalyst with diamond particles in a press under high-temperature, high-pressure

conditions. The discovery described in the patents here is far narrower—that using existing

machinery to sinter diamond particles at a pressure of at least about 7.5 GPa may result in PDCs

that achieve certain performance measures and desired magnetic and electrical properties. USS’s

contribution does not allow it to monopolize every potential structure or way of creating PDCs

with the claimed characteristics.

       In sum, the Commission finds the asserted claims are directed to the abstract idea of

stronger PDCs that achieve the claimed performance measures and desired magnetic and

electrical results no matter how implemented.

               2.      Alice Step Two

       The ID found that the claims also fail Alice step two because they “invoke[] well-

understood, routine, [and] conventional components to apply the abstract idea[s]” recited in the

claims. ID at 110. The ID found the “claims here recite several structural limitations (a

polycrystalline table, an unleached portion, a plurality of diamond grains, a catalyst, and a

substrate) that are generic to all PDCs.” Id. at 109. The ID stated that “[w]hile the inventors

may have discovered methods of manufacturing PDCs that have the specific improved properties

claimed,” they failed “to recite structures, methods [e.g., the manufacturing steps], or any other

inventive feature to achieve the objectionable claimed limitations (G-Ratio, thermal stability,

electrical and magnetic parameters).” Id. The ID reasoned that “the claims read on any PDC

structure that achieves the claimed improvements” and this “mismatch between the

specification” and “the breadth of claim 1 underscores that the focus of the claimed advance is

the abstract idea and not the particular configuration discussed in the specification that allegedly

departs from the prior art.” Id. at 110.




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       We agree with the ID’s analysis of Alice step two. The elements of the asserted claims—

individually and as an ordered combination—do not transform the nature of the claims into

something patent-eligible. As explained above, the claims recite results-oriented language and

the recited physical elements are conventional. See Compl. Reply Sub. at 26-27 (citing Resp.

Sub. at 27-28) (not disputing the following limitations of claim 1 of the ’565 patent are

conventional: “polycrystalline diamond compact,” “an unleached portion of the polycrystalline

diamond table,” “a plurality of diamond grains directedly bonded together via diamond-to-

diamond bonding to define interstitial regions, the plurality of diamond grains exhibiting an

average grain size of about 50 µm or less,” “a catalyst occupying at least a portion of the

interstitial regions,” and “a substrate bonded to the polycrystalline diamond table.”); see also

Resp. Sub. at 28-30. Thus, the claims do not include some “additional feature” or “inventive

concept” showing that it is “more than a drafting effort designed to monopolize the” abstract

idea. ChargePoint, 920 F.3d at 773; Alice, 573 U.S. at 221.

       USS argues the asserted claims contain “an inventive concept” based only on the claimed

properties of the PDC. See Compl. Sub. at 28-29. These properties are the only thing that USS

puts forward as non-conventional. But, as discussed above, achieving the claimed properties is

abstract because they effectively cover any PDCs with those properties no matter how it is made

and, therefore, they do not qualify as an “inventive concept.” Thus, the Commission finds there

is nothing “significantly more” to the claims than the abstract idea cloaked in physical elements.

Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1349 (Fed. Cir. 2016)

(stating this allegedly inventive concept “cannot simply be an instruction to implement or apply

the abstract idea” and “must be significantly more than the abstract idea itself”).




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        In view of the above, the Commission affirms with modified reasoning the ID’s finding

that the asserted claims of the ’502, ’565, and ’306 patents are directed to ineligible subject

matter under § 101.

        B.      The Asserted Claims of the ’565 Patent Are Invalid Under 35 U.S.C. § 102(b)
                by the Sale of the      Product

        A patent is invalid under § 102(b) (pre-AIA 15) if “the invention was . . . on sale in this

country, more than one year prior to the date of the application for patent in the United States.”

Abbott Labs. v. Geneva Pharms., Inc., 182 F.3d 1315, 1318 (Fed. Cir. 1999). A two-prong test

governs the application of the on-sale bar: “First, the product must be the subject of a

commercial offer for sale. . . . Second, the invention must be ready for patenting.” Pfaff v. Wells

Elecs., Inc., 525 U.S. 55, 67 (1998). USS does not dispute that the            product was on sale in

this country by April 2008 and was ready for patenting at that time. See ID at 110; Compl. Pet.

at 40. USS also does not dispute that the           product was a commercial “PCD cutter product”

embodying each and every limitation of the asserted claims of the ’565 patent. ID at 110 (citing

JX-0400C.2-.3; CX-2385C; JX-0034C.179).

        The parties dispute whether the          was on sale more than one year before the

effective filing date of the ’565 patent, i.e., the critical date for the on-sale bar. “The significance

of the critical date is that a sale of the invention before that date can be invalidating.” Helsinn

Healthcare S.A. v. Teva Pharms. USA, Inc., 855 F.3d 1356, 1360 (Fed. Cir. 2017), aff’d, 139

S.Ct. 628 (2019). The ’565 patent is a continuation of the ’881 patent, filed on June 1, 2012.




        15
         The Leahy–Smith America Invents Act (“AIA”) changed 35 U.S.C. § 102. Pub. L. No.
112-29, § 3(b), 125 Stat. 284, 285-86 (2011). However, because the applications from which the
Asserted Patents issued have never contained a claim having an effective filing date on or after
March 16, 2013, the pre-AIA version of § 102 applies. Id. § 3(n)(1), 125 Stat. at 293.




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The ’881 patent claims priority to U.S. Patent No. 7,866,418 (“the ’418 patent”; JX-0365), filed

on October 3, 2008, through a chain of continuing applications, as shown below.




RDX-0006C.95. Any claim in a continuation-in-part application which is directed solely to

subject matter adequately disclosed under 35 U.S.C. § 112 in the parent application is entitled to

the benefit of the filing date of the parent application. If the ’565 patent is entitled to claim

priority to the ’418 patent, then USS contends the critical date for the on-sale bar is October 3,

2007, one year before the filing date of the ’418 patent, and the sale of the          product in

2008 does not invalidate the asserted claims of the ’565 patent. 16

       However, if a claim in a continuation-in-part application recites a feature that was not

disclosed or adequately supported under 35 U.S.C. § 112 in the parent application, but which

was first introduced or adequately supported in the continuation-in-part application, such a claim

is entitled only to the filing date of the continuation-in-part application, which in this case is June




       16
          The parties do not dispute that the ’502 patent is entitled to the October 3, 2008 priority
date of the ’418 patent and, therefore, the       product does not qualify as prior art to the
asserted claims of the ’502 patent. See ID at 135.




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1, 2012. See, e.g., In re Chu, 66 F.3d 292 (Fed. Cir. 1995). The ID found the ’565 patent could

not claim priority to the ’418 patent because the ’418 patent failed to disclose a PDC with “an

average electrical conductivity of less than about 1200 S/m,” as required by the asserted claims

of the ’565 patent. ID at 97. The ID found the first disclosure of electrical conductivity is in the

’881 patent, filed on June 1, 2012, and, therefore, the critical date for the on-sale bar is June 1,

2011. On review, the Commission affirms with modified reasoning the ID’s findings that the

asserted claims of the ’565 patent are not entitled to the priority date of the ’418 patent and, thus,

those claims are invalid under § 102(b) because the claimed invention was sold prior to the

critical date of June 1, 2011.

       The ’565 patent specification includes numerous descriptions of electrical conductivity

that are found nowhere in the earlier filed ’418 patent. Tr. (Barron) at 700:6-701:22. The table

below provides example paragraphs highlighting the new disclosures:




RDX-0006C.96. The ’565 patent also includes teachings regarding the correlation between

higher cobalt content and increased electrical conductivity properties of PCDs that are not found

in the ’418 patent.




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                 ’418 patent, 15:51-61.                      ’565 patent, 22:33-64.

The ’565 patent further includes five figures related to electrical conductivity that are not found

in the earlier ’418 patent.




RDX-0006C.97. The Commission finds the ’565 patent’s extensive disclosures about electrical

conductivity that are not found in the ’418 patent suggest the inventors believed that they were




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adding new matter to the ’881 and ’565 patents with the teachings regarding electrical

conductivity.

       Nonetheless, USS asserts the ’565 patent claims are entitled to the earlier filing date of

the ’418 patent, October 3, 2008, on the grounds that the ’418 patent inherently discloses the

electrical conductivity limitation. The Commission disagrees. “Under the doctrine of inherent

disclosure, when a specification describes an invention that has certain undisclosed yet inherent

properties, that specification serves as adequate written description to support a subsequent

patent application that explicitly recites the invention’s inherent properties.” Yeda Rsch. & Dev.

Co. v. Abbott GMBH & Co. KG, 837 F.3d 1341, 1345 (Fed. Cir. 2016). For a disclosure to be

inherent, “the missing descriptive matter must necessarily be present in the parent application’s

specification such that one skilled in the art would recognize such a disclosure.” Tronzo v.

Biomet, Inc., 156 F.3d 1154, 1159 (Fed. Cir. 1998) (emphasis added).

       USS asserts that the ’418 and ’565 patents disclose the exact same working examples in

Table I, made using the same disclosed fabrication method. See ID at 98; Compl. Sub. at 32-33.

USS argues that since the ’565 patent discloses that all of the example PDCs in Table I exhibit an

average electrical conductivity of less than about 1200 S/m and PDCs made under the same

manufacturing conditions and input materials exhibit the same electrical conductivity, then the

same examples in the ’418 patent necessarily exhibit an average electrical conductivity of less

than about 1200 S/m. See Compl. Sub. at 32-33. The Commission finds the ID erred in finding

that the ’418 and ’565 patents do not disclose the same working examples in Table I. However,

this error does not change the fact that the record evidence shows that the examples in Table I do

not necessarily have an average electrical conductivity that is less than about 1200 S/m.




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       The ID erred by finding that USS has not shown that the ’418 patent “adequately teaches

the same starting materials and the same manufacturing conditions” for the example PDCs in

Table I. ID at 98. While the ’418 and ’565 patent disclosures do not expressly disclose all

sintering conditions used to manufacture the PDCs in Table I, as the ID found, there is no reason

to believe that the PDCs in Table I are not the same in both patents. The magnetic properties of

the PDC tables are exactly the same and the descriptions of Table I are nearly verbatim in both

patents. Compare ’418 patent (JX-0365) at 16:55-17:20 (Tbl. I) with ’565 patent at 20:15-37

(Tbl. I). Indeed, Respondents do not dispute that “the 418 Patent and the 565 Patent describe the

same working examples.” Resp. Reply Post-Hearing Br. at 69; see also Resp. Reply at 37 (“[I]t

is true that the ’418 Patent and the ’565 Patent describe the same working examples and the same

fabrication methods.”).

       However, even if the PDCs disclosed in Table I of both patents are the same, nowhere

does the ’565 patent disclose that any of the examples in Table I necessarily exhibit an average

electrical conductivity of less than about 1200 S/m. The ’565 patent states that certain

unspecified disclosed embodiments may result in a PDC having an electrical conductivity of less

than about 1200 S/m. See, e.g., ’565 patent at 5:64-6:10 (“The PCD defined collectively by the

bonded diamond grains and the metal-solvent catalyst may exhibit one or more of the following

properties . . . an electrical conductivity less than about 1200 S/m.” (emphasis added)). USS

asserts that “the ’565 patent presents Table I, which provides ‘detail[s] about the magnetic

properties of PCD tables of PDCs fabricated in accordance with the principles of some of the

specific embodiments of the invention (i.e., PDCs having an average electrical conductivity of

less than about 1200 S/m).” Compl. Sub. at 32 (emphasis added) (citing ’565 patent at 19:1-4;

Abstract). The ’565 patent at column 19, lines 49-51, states that “Table I below lists PCD tables




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that were fabricated in accordance with the principles of certain embodiments of the invention

discussed above” (emphasis added), but electrical conductivity is not a property listed in the

table and there is no indication that the examples in Table I necessarily exhibit the claimed

electrical conductivity parameter.

       Indeed, in response to the Commission’s question asking whether the ’418 and the ’565

patents disclose, either expressly or inherently, an exemplary PDC exhibiting “an average

electrical conductivity of less than about 1200 S/m,” USS admits the examples in Table I of the

’565 patent do not expressly disclose the average electrical conductivity values but argues “that

is unnecessary because the specification makes clear that PCDs manufactured using specific

input materials under specific manufacturing conditions produce PDCs having the claimed

electrical conductivity values.” Compl. Reply Sub. at 28; see Compl. Sub. at 31, 32-33

(asserting the samples in Table I of the ’565 patent disclose the claimed electrical conductivity

but pointing only to claim 1, the Abstract, and certain manufacturing methods) (citing ’565

patent at Abstract, 19:1-4, 19:51-54, 20:4-6). However, USS also admits that the ’418 patent

specification “discloses ranges of manufacturing parameters,” and that a person of ordinary skill

in the art (“POSITA”) would have “to select appropriate numbers within those ranges to arrive at

the claimed PDCs, in light of the specific working examples.” Compl. Reply Sub. at 29; see

’565 patent at 12:20-13:26 (describing ranges for sintering pressure, temperature, input diamond

particle size, etc.). USS does not explain why a POSITA would necessarily choose parameters to

achieve an average electrical conductivity of less than 1200 S/m, particularly given that electrical

conductivity is not listed in Table I and not discussed anywhere in the ’418 patent specification.

       USS relies on Dr. German’s testimony in an attempt to fill in the gaps. USS submits that

Dr. German testified that the sample PCDs of Table I in the ’418 patent inherently exhibit the




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claimed electrical conductivity. Compl. Sub. at 35 (citing Tr. (German) at 1245:2-1247:25).

Every PDC may have a measurable electrical conductivity due to the presence of cobalt or other

metal catalyst, but that does not mean the PDCs necessarily have an average electrical

conductivity of less than 1200 S/m. See Tr. (Barron) at 747:2-5 (agreeing that “a polycrystalline

diamond table that contains cobalt will have some electrical conductivity as a property”). As the

ID noted, Dr. German never actually measured the electrical conductivity of the samples listed in

Table I. Rather, he based his opinion solely on the ’418 patent’s disclosure regarding the cobalt

content of the samples. See Compl. Sub. at 43 (“Dr. German consistently explained that the

average electrical conductivity of a PDC reflects the PDC’s microstructure, such as the amount

of cobalt in a PDC, which is determined by the input materials and manufacturing methods used

to produce it.”); Tr. (German) at 1245:22-1246:6. However, the ID found Dr. German’s

testimony unreliable because “there is no disclosure of actual cobalt concentration [since] the

concentrations given in Table I are simply the specific magnetic saturation measurements

divided by 2.01,” and it found the 2.01 proportionality constant “is not a clearly reliable measure

of cobalt concentration.” ID at 99. The Commission did not review this finding in the ID, id. at

94-95, and thus agrees that Dr. German’s opinion based on the cobalt content of the samples is

unreliable. Moreover, as the ID found, Dr. German’s opinion conflicts with his previous

testimony during the hearing. Id. at 99; 17 Tr. (German) at 364:21-365:6, 365:18-366:3, 366:8-




       17
           The ID (at 99) cites to Dr. German’s testimony that “when [a PDC is] leached, the
electrical conductivity drops down.” ID at 99 (quoting Tr. (German) at 128:14-129:21). USS
argues “this is not relevant to the electrical conductivity of the PDCs disclosed in the ’418
Patent, which are not leached.” Compl. Pet. at 46. The Commission finds Dr. German’s
testimony irrelevant and potentially confusing because the ’565 patent claims require “the
unleached portion of the polycrystalline diamond table exhibits an average electrical
conductivity of less than about 1200 S/m” and the ’565 patent specification discloses that “a
PCD cutting element with electrical conductivities below about 1200 S/m (in an unleached




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367:2 (testifying that despite having detailed manufacturing information about certain products,

Dr. German could not determine whether the products met the claim limitations, including the

electrical conductivity limitation, unless he tested those products). In sum, the Commission finds

that Dr. German’s testimony regarding the inherent disclosure of the average electrical

conductivity parameter in the ’418 patent is unreliable.

       USS also submits that Respondents’ expert, Dr. Barron, does not dispute that the PDC

examples in Table I of the ’418 patent inherently disclose the claimed average electrical

conductivity. Dr. Barron’s opinion was based on his belief that the only thing a POSITA needs

to know to predict the electrical conductivity is the percentage of cobalt by weight. Tr. (Barron)

at 747:21-25, 749:7-13; see RDX-0006C.68-72. In particular, Dr. Barron testified that “any PDC

that has a cobalt percentage less than 25 percent cobalt by weight will have an electrical

conductivity of less than 1200 siemens per meter.” Tr. (Barron) at 749:7-13. Dr. Barron’s

model was based on teachings from prior art references, including Akaishi. See ID at 96-97

(citing Tr. (Barron) at 681:18-684:4); Resp. Reply Sub. at 38. The Commission did not review

the ID’s finding that Akaishi does not disclose the same manufacturing conditions and input

materials as the ’418 and ’565 patents, ID at 96-97, 118-19, and, thus, Dr. Barron’s model based

on the prior art is not a reliable measure of the average electrical conductivity of PDCs

manufactured according to the embodiments disclosed in the ’418 and ’565 patents.

       Moreover, as with Dr. German’s opinion, the Commission agrees with the ID’s finding

that Dr. Barron’s model for electrical conductivity is “conclusively refuted by Dr. German’s

testing” (discussed below). ID at 97 (citing CX-0383C). Specifically, the Commission agrees



region of PCD) have been found to increase cutting performance.” ’565 patent at 22:60-62
(emphasis added). Thus, the Commission determines to strike this citation in the ID.




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with the ID’s finding that Dr. German’s actual testing of the domestic industry products and

accused products show that the sample PCDs of Table I in the ’418 patent do not necessarily

exhibit the claimed electrical conductivity. Id. In particular, the ID found that the “cobalt

concentration of every tested sample was significantly less than 20 weight percent, but dozens of

samples displayed a conductivity exceeding 1200 S/m, in some cases by wide margins.” Id.

(citing CX-0383C.07 (Juxin 1613 CT200 (BBBBA.03) had                  cobalt and electrical

conductivity of           ).

       USS argues that the ID’s finding regarding Dr. German’s testing “is premised on a false

equivalence between the incomplete manufacturing information provided by Respondents and

the ’418 patent’s and ’565 patent’s more complete disclosures.” Compl. Reply Sub. at 32. Yet,

the ID found the ’418 patent fails to disclose input materials and manufacturing conditions

“particularly relevant for electrical conductivity,” including the “sintering time at any particular

pressure/temperature combination” and “the cobalt concentration in the tungsten carbide

substrate.” ID at 98-99. While certain Respondents did not provide all relevant manufacturing

parameters for their accused products, neither did USS. Id. at 100 (finding “USS does not

identify the sintering pressures and temperatures” for its DI Products). And even where

Respondents reported manufacturing parameters that are “particularly complete” and “show a

striking consistency (namely, identical sintering pressure and temperature, relatively low grain

size, and relatively high cobalt concentration)” as the manufacturing conditions disclosed in the

’418 patent, “their electrical conductivities vary between

              ” Id. (citing CX-0383C.2-.3); see also Tr. (German) at 365:10-366:22 (testifying

                           products have the same starting materials and manufacturing




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processes, but despite having the same manufacturing information, certain samples were below

1200 S/m and others were above the threshold).

       Moreover, USS does not refute the ID’s finding that “[t]hree of the four DI Products

consistently exhibit electrical conductivity below 1200 S/m, but their input diamond particle

sizes are significantly larger than specified in the 418 patent,” and the “fourth DI Product, the

         , does not consistently exhibit electrical conductivity below 1200 S/m, even though it

has the same input diamond particle size as the           and approximately the same cobalt

concentration.” ID at 99 (CX-0383C.2; CX-2141C (               specification); CX-2142C (

specification); CX-2143C (       specification); CX-2144C); see Resp. Reply Sub. at 31

(explaining that different samples of           have “electrical conductivity values that ranged

from 903 S/m (less than about 1200 S/m) to 1513 S/m (much greater than about 1200 S/m)”).

Accordingly, the Commission finds the record evidence does not support USS’s inherency

argument and agrees with the ID that “it cannot be concluded that the ’418 patent discloses even

a single [PDC] example that necessarily possesses an electrical conductivity of 1200 S/m or

below.” ID at 100.

       Contrary to USS’s argument, this case is not analogous to Kennecott Corp. v. Kyocera

Int’l, Inc., 835 F.2d 1419 (Fed. Cir. 1987). In that case, the defendants had conceded the claim

limitation at issue in the asserted ’299 patent was inherently disclosed in the parent ’954

application:

               In this case, the invention of the ’299 claims is a ceramic product.
               That product is the same as the product in the ’954 application, and
               has the same structure. It was conceded that anyone with a
               microscope would see the microstructure of the product of
               the ’954 application. The disclosure in a subsequent patent
               application of an inherent property of a product does not deprive
               that product of the benefit of an earlier filing date.




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Id. at 1423. As discussed above, although USS asserts that both parties’ experts testified that the

’418 patent inherently discloses the electrical conductivity limitation, the ID found both experts’

testimonies were unreliable and contradicted other testimony and test data. The Commission

agrees with the ID’s assessment of the record on this point.

       The Commission finds that the record evidence does not support USS’s argument that the

’418 patent inherently discloses that the examples necessarily have an average electrical

conductivity of less than 1200 S/m. The Commission affirms with the above modified reasoning

the ID’s findings that the asserted claims of the ’565 patent are not entitled to the priority date of

the ’418 patent but rather have a priority date of June 1, 2012. USS does not dispute that the

   product meets all of the limitations of the asserted claims of the ’565 patent, and that at least

one was sold in April 2008. ID at 110 (citing JX-0400C.2-.3; CX-2385C; JX-0034C.179).

Accordingly, the Commission finds that a product meeting all the limitations of the asserted

claims of the ‘565 patent was on sale more than one year before the effective filing date of the

‘565 patent and therefore the asserted claims of the ’565 patent are invalid under § 102(b).

       C.      Respondents Have Not Shown That the Mercury PDC Anticipates Claims 1
               and 2 of the ’565 Patent and Claims 1 and 11 of the ’502 Patent

       Respondents contend that the Mercury PDC, which was manufactured by third-party

Diamond Innovations and produced pursuant to subpoena, was “known or used by others in this

country” prior to the date of invention of the ’565 and ’502 patents under pre-AIA 35 U.S.C.

§ 102(a) and, therefore, anticipates claims 1 and 2 of the ’565 patent and claims 1 and 11 of the

’502 patent. The Commission finds that the record evidence supports the ID’s finding that the

Mercury PDC tested by Respondents’ expert, Mr. Bellin, meets all the limitations of claims 1

and 2 of the ’565 patent and claims 1 and 11 of the ’502 patent. Respondents, however, failed to

establish by clear and convincing evidence that the Mercury PDC is prior art to the ’565




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and ’502 patents under § 102(a) (pre-AIA), and thus, the Commission reverses the ID’s finding

that the Mercury PDC anticipates claims 1 and 2 of the ’565 patent and claims 1 and 11 of the

’502 patent.

       An article qualifies as prior art if it was “known or used by others in this country . . .

before the invention thereof by the applicant for patent.” 35 U.S.C. § 102(a) (pre-AIA). The

Federal Circuit has interpreted the “known or used” prong of § 102(a) to mean “knowledge or

use which is accessible to the public.” BASF Corp. v. SNF Holding Co., 955 F.3d 958, 964 (Fed.

Cir. 2020). Since the parties do not dispute that the date of invention for the asserted claims of

the ’502 and ’565 patents is January 4, 2008, we assume this date for the purpose of our analysis

of this issue. See ID at 111; JX-0034C.179. Thus, Respondents must show that the Mercury

PDC was made publicly available before January 4, 2008 to succeed in its argument.

       Respondents assert that a letter from Diamond Innovations’ counsel (“the Brinkman

Letter,” RX-0554C) accompanying the production of the Mercury 1613 samples tested by Mr.

Bellin establishes the Mercury PDC was publicly available before January 2008. Resp. Sub. at

57. The Brinkman Letter states that the Mercury 1613 sample is one of

                     RX-0554C.003. The letter includes information that Diamond Innovations’

witness, Mr. Gledhill, personally retrieved and other information that Mr. Gledhill obtained by a

staff member querying Diamond Innovations’ “system.” ID at 112 (citing Tr. (Gledhill) at

530:20-531:9). According to a chart (reproduced below) included in the Brinkman Letter, the

Mercury 1613 was

                                          . Id.; see Tr. (Gledhill) at 534:24-535:2.




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Resp. Sub. at 62 (citing RX-0554C.3 (annotated)). Even assuming the information in the chart is

reliable, the Commission finds it does not establish the Mercury PDC was publicly available

before January 2008, because it is not clear                                    or whether the

Mercury 1613 was sold or otherwise made available to the public before January 2008.

       Respondents assert that the Brinkman Letter is corroborated by USS’ own testing of a

Mercury 1608 prior to October 2008 and the trial testimony of Mr. Gledhill. 18 The ID appears to

assume the Mercury 1608 and Mercury 1613 are identical for all relevant purposes and found it

“reasonable to infer that as a competitor of Diamond Innovations, USS obtained [a Mercury

1608] by a purchase prior to October 2008.” ID at 112 (citing Tr. (Bertagnolli) at 101:10-

102:22; JX-0370C.62; see also JX-0517C (Mukhopadhyay Dep. Tr.) at 96:4-16). However, Dr.

Bertagnolli testified that he did not know how USS obtained the Mercury 1608 sample for

testing. Tr. (Bertagnolli) at 101:10-102:22. Moreover, Mr. Gledhill could not find any evidence

that the Mercury 1613 was sold or otherwise made available to the public at any time, let alone

prior to the date of the invention. See Tr. (Gledhill) at 535:6-14, 536:13-15. Even if USS



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          Mr. Gledhill’s Declaration was stricken because it was produced eleven days after the
close of fact discovery, as discussed below. See Order No. 48 (Oct. 14, 2021).




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purchased a Mercury 1608 prior to October 2008, the evidence does not establish public

availability of either Mercury PDC before January 2008, the date of the invention under

§ 102(a).

       Moreover, USS argues the “ID erroneously mixed and matched the evidence

concerning . . . one product (Mercury 1608) and the evidence concerning how a different product

(Mercury 1613) practiced the claim elements.” Compl. Reply Sub. at 45-46. Respondents

contend that Mercury 1608 has the same PDC table and, thus, exhibits the same properties, as the

Mercury 1613. Resp. Reply Sub. at 45-46 (citing Tr. (Bellin) at 1005:15-1006:20 (testifying that

between the Mercury 1608 and 1613, the “diamond tables are usually the same height” and

“[o]nly the carbide, the substrate changes, its length”); Tr. (Bertagnolli) at 107:7-23 (explaining

that PDCs are named using this four-digit number, where the “first two numbers refer to the

diameter in millimeters” of the PDC, and the “second two numbers refer to the height in

millimeters” of the PDC)). The Commission finds that Respondents’ argument conflicts with

statements they made in their motion to compel USS to produce the Mercury 1608. In their

motion, Respondents argued the two PDCs “are different products.” Resp. Mot. to Compel 19 at

4 n.3 (“Diamond Innovations only produced a Mercury 1613 sample, not a Mercury 1608

sample. These are different products that exhibit different characteristics, and thus are not

duplicative.”).

       USS does not dispute Mr. Bellin’s and Dr. Bertagnolli’s testimonies regarding the PDC

industry’s naming convention, but argues that “it is common practice in the PDC industry to

make a variety of different products under the same product name” and to “make new



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        Respondents’ Motion to Compel, EDIS Doc ID 746382 (Jul. 7, 2021) (“Resp. Mot. to
Compel”).




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experimental products, assign them new product designations under an existing brand name, and

test them for internal research and development purposes, without ever selling them or otherwise

disclosing it to the public.” Compl. Reply Sub. at 47. The evidence is unclear as to whether the

two PDCs would exhibit the same properties. Since the burden falls on Respondents, the

Commission finds Respondents failed to show by clear and convincing evidence that the

Mercury 1608 and Mercury 1613 would exhibit the same properties. See Intel Corp. v. U.S. Int’l

Trade Comm’n, 946 F.2d 821, 830 (Fed. Cir. 1991). Therefore, the information regarding the

Mercury 1613 in the Brinkman Letter, even when considered in light of USS’s testing of a

Mercury 1608 prior to October 2008, is not sufficient to prove that the Mercury PDC was

publicly available before January 2008. 20

        Mr. Gledhill testified regarding the meaning of

                       in the Brinkman letter, and Diamond Innovation’s historical PDC

             See Tr. (Gledhill) at 530:7-19 (explaining that



                                                               (emphasis added), 532:8-24

(testifying that



532:25-533:8 (explaining that




        20
          Respondents also cite to Mr. Bellin’s testimony that he tested Mercury PDCs when he
worked at Varel, but Mr. Bellin did not join Varel until 2009, which is after the January 2008
date of invention. Resp. Sub. at 64 (citing Tr. (Bellin) at 956:5-13); Tr. (Bellin) at 1013:14-16.




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         Although Respondents assert that Mr. Gledhill’s testimony supports finding the Mercury

1613 was commercially available and exhibits the same properties as the Mercury 1608, the

Commission finds the above-cited portions of Mr. Gledhill’s testimony should be stricken in

view of the ALJ’s rulings in Order No. 48 and at trial. By way of background, the Brinkman

Letter and the Mercury 1613 samples were produced on May 19, 2021. Compl. MIL 21 at 1. On

June 28, 2021, the last day of fact discovery and the last day to supplement their invalidity

contentions, Respondents served invalidity contention charts that asserted invalidity based on the

Mercury PDC. Id. The charts relied on the Brinkman Letter and made references to a Diamond

Innovations’ written declaration, which had not yet been produced. Id. On July 2, 2021, USS

informed Respondents that no declaration was produced. Id. at 2. On July 9, 2021, eleven days

after the close of fact discovery, Respondents served a declaration from Mr. Gledhill. See Doc

ID 752820, Ex. 1 (Gledhill Decl.). The declaration contained new information regarding the

Mars and Mercury PDCs that was not previously disclosed during fact discovery. Order No. 48

at 2-3. In particular, Mr. Gledhill’s declaration purported to explain manufacturing practices at

Diamond Innovations prior to his employment and the

          that Respondents received from Diamond Innovations in this investigation. Id. USS

filed a motion in limine to exclude Mr. Gledhill’s written declaration, which was granted by the

ALJ in Order No. 48. Id. at 2-4. Order No. 48 excluded the Gledhill Declaration, which “(1)

stated




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          See Complainant’s Motion in Limine No. 3 to Exclude the Declaration of Andrew
Gledhill, EDIS No. 752820 (Sep. 28, 2021) (“Compl. MIL”).




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                       Order No. 48 at 3.

       Although his declaration was excluded, the ALJ permitted Mr. Gledhill to testify at the

hearing regarding information contained in the Brinkmann Letter. The ALJ excluded Mr.

Gledhill’s testimony that was outside the scope of the Brinkmann Letter except information such

as his background, the nature of Diamond Innovations’ business, and document authentication.

Tr. at 669:13-24. The ALJ instructed the parties to submit proposed redactions to the transcript

when they submitted their post-hearing briefs. Id. at 1112:5-22.

       After the evidentiary hearing, the parties met and conferred regarding proposed

redactions of Mr. Gledhill’s hearing testimony. The ALJ did not rule on the parties’ proposed

redactions. The parties agreed that the following portions of Mr. Gledhill’s testimony would be

stricken: Tr. at 527:17-528:9, 533:9-534:3, 534:7-23. See EDIS Doc ID 756022 (Respondents’

proposed redactions); EDIS Doc ID 756029 (Complainant’s proposed redactions). USS and

Respondents could not reach an agreement on the other portions of his testimony: Tr. at 522:13-

16, 528:10-529:9, 529:21-530:19, 530:24-25, 532:8-533:8, and 534:4-6. The Commission finds

Mr. Gledhill’s testimony at Tr. 530:24-25 should not be stricken because it pertains directly to

how Mr. Gledhill obtained the samples in the Brinkmann Letter. See ID at 112. The testimony

at Tr. 522:13-16 is like the testimony at Tr. at 530:24-25 and thus should also not be stricken.




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The testimony at Tr. 534:4-6 should not be stricken because it relates to Mr. Gledhill’s work

experience at Diamond Innovations.

       The other disputed portions of Mr. Gledhill’s testimony should be stricken because they

relate to technical information disclosed for the first time at the hearing. See Tr. at 671:13-

672:11 (ALJ excluding technical information that is neither in the Brinkman letter nor the

Gledhill Declaration). In particular, the testimony at Tr. 528:10-529:9 relates to Diamond

Innovations’

               Compl. Sub. at 44, and is similar to topic (1) stricken by Order No. 48. The

testimony at Tr. 529:21-530:19 relates to Diamond Innovations’

                                                   and is like topic (2) stricken by Order No. 48.

The testimony at Tr. 532:8-533:8 relates to Diamond Innovations’ product naming and

manufacturing practices.

       In short, the Commission finds that the evidence that is properly a part of the record,

including the Brinkman Letter, USS’s testing of a Mercury 1608 prior to October 2008, and

testimony regarding the PDC industry’s naming convention, is not sufficient to prove the

Mercury PDC was publicly available before January 2008. The Commission therefore reverses

the ID’s finding that Respondents established by clear and convincing evidence that the Mercury

PDC is prior art and that the Mercury PDC anticipates claims 1 and 2 of the ’565 patent and

claims 1 and 11 of the ’502 patent under § 102(a).

       D.      Respondents Have Not Shown That the Asserted Claims of the ’502, ’565,
               and ’306 Patents Are Not Enabled

       The Commission affirms with modified reasoning the ID’s finding that Respondents

failed to provide clear and convincing evidence that the asserted claims of the ’502, ’565, and

’306 patents are not enabled.




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        A patent is enabled if “at the time of filing the application one skilled in the art, having

read the specification, could practice the invention without ‘undue experimentation.’” Cephalon,

Inc. v. Watson Pharms., Inc., 707 F.3d 1330, 1336 (Fed. Cir. 2013) (citation omitted). “Whether

undue experimentation is required ‘is not a single, simple factual determination, but rather is a

conclusion reached by weighing many factual considerations,” known as the Wands factors. Id.

The Wands factors include: (1) the quantity of experimentation necessary, (2) the amount of

direction or guidance presented, (3) the presence or absence of working examples, (4) the nature

of the invention, (5) the state of the prior art, (6) the relative skill of those in the art, (7) the

predictability or unpredictability of the art, and (8) the breadth of the claims. Id.

        Respondents argue that the Asserted Patents failed to enable the claimed magnetic

properties, electrical conductivity, Gratio, and thermal stability ranges. 1st Resp. Pet. at 17.

Respondents relied on the testimony of Complainant’s expert and fact witnesses. Specifically,

Respondents’ evidence supporting lack of enablement was based primarily on Mr. Bertagnolli’s

testimony that more manufacturing information such as “the full particle size distribution and the

sintering pressure profile is needed” to predict the properties of the PDC and Dr. German’s

testimony that “the only way a POSITA could ever determine whether a product met the claimed

properties was to test each and every individual product.” Id. at 18-19 (citing JX-0350

(Bertagnolli Tr.) at 61:3-64:6, 100:7-101:4, 141:23-142:22; Tr. (German) at 366:17-368:4).

Neither witness, however, opined on whether the experimentation necessary to make a PDC with

the claimed properties would be unduly extensive. For that, Respondents make only attorney

arguments that it would require undue experimentation to determine what processing parameters

are necessary to result in the claimed properties. See, e.g., 1st Resp. Pet. at 18, 20; see also

Compl. Reply at 17.




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       USS asserts that the Asserted Patents disclose “detailed manufacturing information” and

“working examples in Table I with a specific set of input conditions” such that a POSITA

“would know how the manufacturing information disclosed in the Asserted Patents can be used

to achieve the claimed PDCs.” Compl. Reply at 17-19 (citing JX-0003 at 8:26-10:15; Tr.

(German) at 1272:3-1273:8). While Dr. Bertagnolli testified that the patents do not disclose the

particle size distribution information for making the PCDs in Table I, he explained that the

universe of possible particle size distributions is limited by the magnetic properties disclosed in

Table I. Tr. (Bertagnolli) at 97:19-99:16. He also testified that a POSITA would make the

disclosed PCDs in Table I through trial and error, choosing various different particle size

distributions and then testing them to see if they got the reported magnetic properties. Id. Thus,

even if the particular particle size distribution information was needed, Respondents have not

shown that it would take undue experimentation for a person of ordinary skill in the art to figure

that out, given the narrow set of possible particle size distributions, the other properties described

in the patents, and a POSITA’s general knowledge of manufacturing PCDs. Compl. Reply at 20.

The evidence also shows that “a POSITA could have easily measured these properties without

any undue experimentation,” id. at 21, and that “it is routine practice in the industry to test PDCs

after manufacturing to ensure consistent quality and performance,” id. at 19. In view of the

evidence as a whole, the Commission finds that Respondents have not shown that a POSITA

with the knowledge disclosed in the patents would require undue experimentation to make PDCs

with the claimed properties. Accordingly, the Commission affirms with modified reasoning the

ID’s finding that Respondents did not prove by clear and convincing evidence that the asserted

claims are not enabled.




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       E.      Domestic Industry

       In view of the Commission’s finding that all asserted claims of the ’502, ’565, and ’306

patents are directed toward ineligible subject matter and/or invalid, the Commission determines

to take no position on the ID’s economic prong findings, including the ALJ’s determination to

allow USS to supplement its contentions with a new domestic industry allocation method.

V.     CONCLUSION

       For the reasons set forth herein, the Commission determines that USS has not established

a violation of section 337 by Respondents with respect to claims 1, 2, 4, 6, and 18 of the ’565

patent, claims 1, 2, 11, 15, and 21 of the ’502 patent, and claim 15 of the ’306 patent.

Accordingly, the investigation is terminated with a finding of no violation of section 337.

       By order of the Commission.




                                                             Katherine M. Hiner
                                                             Acting Secretary to the Commission


       Issued: October 26, 2022




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                  UNITED STATES INTERNATIONAL TRADE COMMISSION
                                 Washington, D.C.




  In the Matter of

  CERTAIN POLYCRYSTALLINE                                       Investigation No. 337-TA-1236
  DIAMOND COMPACTS AND
  ARTICLES CONTAINING SAME

             DISSENTING OPINION OF COMMISSIONER SCHMIDTLEIN

       This matter involves the Commission’s review of the presiding administrative law

judge’s final initial determination (“ID”). The ID found no violation of section 337 by

Respondents. Specifically, the ID found at least one accused product infringes all asserted

claims of the asserted patents, but found all of the claims ineligible under 35 U.S.C. § 101. The

ID also found a subset of the asserted claims invalid under 35 U.S.C. § 102. I join the

Commission’s decision today affirming the ID’s section 102 findings as modified in the

Commission’s opinion.

       The section 101 findings are a different matter. The ID found the asserted claims reciting

a manufactured composition of matter – a class of invention that has historically been patent

eligible – ineligible for being directed to an abstract idea. In my view, the claims are directed to

an eligible composition of matter – i.e., polycrystalline diamond compact defined by specific,

objective measurements. I therefore dissent from the Majority’s decision to affirm the ID’s

section 101 findings.

       Because I would reverse the ID’s section 101 findings, I would also reverse the ID’s

finding of no violation in this investigation for the asserted claims that were not otherwise found

invalid under section 102.




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I.      PATENTED TECHNOLOGY

        The patents addressed in the ID are U.S. Patent Nos. 10,507,565 (the “’565 patent”),

10,508,502 (the “’502 patent”), and 8,616,306 (the “’306 patent”). 1 The patents relate to

polycrystalline diamond compacts (“PDCs”), which are manufactured compositions that include

polycrystalline diamond (“PCD”). PDCs are utilized in a variety of mechanical applications,

including use in in drilling tools, among other applications. ’565 patent (JX-0002) 2 at 1:21-25.

According to the patents, “PDCs have found particular utility as superabrasive cutting elements

in rotary drill bits.” Id. at 1:26-28.

        A PDC cutting element typically includes a superabrasive diamond layer referred to as a

polycrystalline diamond table that is bonded to a substrate. The polycrystalline diamond table is

made from synthetized diamond. Figure 11A of the ’565 patent (reproduced below) depicts a

PDC embodiment. See, e.g., id. at 15:63-16:21.




        1
          Complainant US Synthetic Corporation (“USS”) did not petition for review of the ID’s
finding of no violation with respect to the ’306 patent, including the finding that the sole asserted
claim is invalid under 35 U.S.C. § 102(b). Accordingly, USS’s claim of a violation based on the
’306 patent has been abandoned. See 19 C.F.R. § 210.43(b)(2). Because USS has abandoned its
claim of a violation based on the ’306 patent, my dissent focuses on the claims of the ’565 and
’502 patents.
        2
          Citations are primarily to the ’565 patent. The ’502 patent provides, to a significant
extent, similar disclosures as the ’565 patent. Some differences between the specifications are
noted in my dissent. Any difference between the specifications do not impact the conclusion that
the asserted claims of both patents are eligible.




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       Figure 11A of the ’565 patent shows the diamond table 302, a working surface 303 of the

table 302, and a substrate 304. Id. at 1:28-30; 9:44-47; 15:62-16:10. The substrate 304 is often

made from a cemented hard metal composite, like cobalt-cemented tungsten carbide. See id. at

6:43-45, 9:44-45, 14:44-50.

       Figures 13 and 14 of the ’565 patent (reproduced below) depict PDC used in rotary drill

bit 800. 22:66-23:1, 23:11-12. In those figures, a plurality of PDCs 812 are affixed to blades

804, which are affixed to the drill bit body 802, as shown below. Id. at 23:21-24.




       The process of making a PDC, including synthesizing the diamond table, requires intense

pressure and temperature to fuse or “sinter” the diamond grains to each other. Id. at 13:53-62.

The pressure and temperature also help bond the diamond table to the substrate. Tr.

(Bertagnolli), 60:7-18.

       The patents explain that conventional PDCs were fabricated by placing the substrate into

a cartridge with a volume of diamond particles next to the substrate. JX-0002 at 1:42-46. The

cartridge is then loaded into a press that creates high-pressure and high-temperature conditions.

Id. at 1:45-46. Cobalt from the substrate liquefies during the process and sweeps into interstitial




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regions between the diamond particles. Id. at 55-60. The substrate and diamond particles are

processed under those conditions in the presence of the cobalt, or other metal catalyst, that

causes the diamond particles to bond to one another, creating a polycrystalline diamond table

that is bonded to the substrate. Id. at 1:46-62, 9:28-32.

       The conventional approach is described as having drawbacks. JX-0002 at 1:66-2:19.

Having metal catalyst in the diamond matrix is helpful during the sintering process to promote

diamond growth, but the metal catalyst can be detrimental to diamond table performance when

the PDC is later used for drilling. Id.; Tr. (Bertagnolli), 71:19-72:10. One method for

addressing the performance issues caused by having the metal catalyst in the diamond matrix is

called “leaching.” Id., 71:17-72:10. Leaching involves submerging the diamond table into an

acid bath, which removes some of the metal catalyst. JX-0002 at 2:13-15; see also ’502 patent

(JX-0003) at 12:20-47.

       USS sought to create an improved type of PDC by reducing the amount of metal catalyst

(e.g., cobalt) and increasing the diamond bonding, but without requiring a leaching process to do

so. USS Pet. at 7 (citing Tr. (Bertagnolli), 71:10-72:10). USS alleges it developed a way to exert

higher sintering pressure. USS Pet. at 7 (citing CX-2349). These manufacturing methods led to

the improved PDC described in the asserted patents with more diamond bonding and less cobalt.

JX-0002 at 7:53-61.

       The specifications teach that PDCs sintered at a pressure of at least about 7.5 GPa differ

from conventional high-pressure and high-temperature products because they have “enhanced”

or a “high-degree” of diamond-to-diamond bonding as a result of “increased nucleation and

growth of diamond between the diamond particles.” Id. at 2:27-28, 4:34-49, 4:58-65, 7:53-61.

Increasing the amount of diamond bonding reduces the size of the interstitial regions occupied




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by a metal-solvent catalyst and thereby affects the balance of metal-solvent catalyst to diamond

grain in a PCD. Id. at 4:41-45; 7:53-61.

       The specifications disclose that the improved PDC exhibits improved mechanical and/or

thermal properties and performs better in high-abrasion applications, such as earth-boring drill

bits. See ID at 8; JX-0002 at 5:28-31, 6:63-7:39. Good PDC performance reduces how

frequently drill operators must remove or replace the drill bit. See ID at 8.

       USS obtained patents containing various types of claims to its invention. USS Pet. at 11.

Some claims, not at issue here, claimed the improved process of making the PDC. Id. The

claims at issue in this investigation address the improved PDC itself.

       The parties focus on limitations in claim 1 of the ’565 patent and claims 1 and 15 of the

’502 patent. Claim 1 of the ’565 patent recites:

           1. A polycrystalline diamond compact, comprising:

           a polycrystalline diamond table, at least an unleached portion of the
           polycrystalline diamond table including:

                       a plurality of diamond grains directly bonded together via
                       diamond-to-diamond bonding to define interstitial regions,
                       the plurality of diamond grains exhibiting an average grain
                       size of about 50 μm or less;

                       a catalyst occupying at least a portion of the interstitial
                       regions;

                       wherein the unleached portion of the polycrystalline
                       diamond table exhibits a coercivity of about 115 Oe or
                       more;

                       wherein the unleached portion of the polycrystalline
                       diamond table exhibits an average electrical conductivity of
                       less than about 1200 S/m; and

                       wherein the unleached portion of the polycrystalline
                       diamond table exhibits a Gratio of at least about 4.0×106; and

                       a substrate bonded to the polycrystalline diamond table.




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Claims 1 and 15 of the ’502 patent recite:

   1. A polycrystalline diamond compact, comprising:

   a polycrystalline diamond table, at least an unleached portion of the
   polycrystalline diamond table including:

   a plurality of diamond grains bonded together via diamond-to-diamond
   bonding to define interstitial regions, the plurality of diamond grains
   exhibiting an average grain size of about 50 μm or less; and

   a catalyst including cobalt, the catalyst occupying at least a portion of
   the interstitial regions;

   wherein the unleached portion of the polycrystalline diamond table
   exhibits a coercivity of about 115 Oe to about 250 Oe;

   wherein the unleached portion of the polycrystalline diamond table
   exhibits a specific permeability less than about 0.10 G·cm3/g·Oe; and

   a substrate bonded to the polycrystalline diamond table along an
   interfacial surface, the interfacial surface exhibiting a substantially
   planar topography;

   wherein a lateral dimension of the polycrystalline diamond table is
   about 0.8 cm to about 1.9 cm.

   15. A polycrystalline diamond compact, comprising:

   a polycrystalline diamond table, at least an unleached portion of the
   polycrystalline diamond table including:

   a plurality of diamond grains bonded together via diamond-to-diamond
   bonding to define defining interstitial regions, the plurality of diamond
   grains exhibiting an average grain size of about 50 μm or less; and

   a catalyst including cobalt, the catalyst occupying at least a portion of
   the interstitial regions;

   wherein the unleached portion of the polycrystalline diamond table
   exhibits:

   a coercivity of about 115 Oe to about 250 Oe;

   a specific magnetic saturation of about 10 G·cm3/g to about 15
   G·cm3/g; and




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           a thermal stability, as determined by a distance cut, prior to failure in a
           vertical lathe test, of about 1300 m to about 3950 m; wherein a lateral
           dimension of the polycrystalline diamond table is about 0.8 cm or
           more.

       As can be seen in the claim language above, to define the improved PDC, the asserted

claims require certain properties for the PDC set forth in numerical thresholds. The intrinsic

evidence indicates that the properties reflect the structure of the PDC.

       Specifically, the “average grain size” refers to an average size of diamond grains. See

JX-0002 at 5:8-18. In addition, the asserted claims recite numerical thresholds for magnetic and

electrical properties of the PCD. The claimed magnetic and electrical properties are coercivity, 3

electrical conductivity, 4 specific magnetic saturation, 5 and specific permeability. 6

       The specification of the ’502 patent teaches that coercivity, specific magnetic saturation,

and specific permeability reflect the extent to which the diamond grains have bonded and

formed large diamond grains thereby displacing the metal catalyst in the diamond matrix. See,


       3
         Coercivity is the measurement of the magnetizing force required to return the
magnetizing of PCD back to zero. See Order No. 23, at 27. Coercivity may be correlated with
the average distance or “mean free path” between neighboring diamond grains of the PCD. JX-
0002 at 5:40-49, 5:61-6:3. Thus, coercivity reflects how tightly the diamond grains are bonded
together. Id.
       4
         Electrical conductivity measures how conductive a PCD is, which is associated with
both the amount of metal-solvent catalyst in the diamond microstructure and the continuity of the
catalyst mesh between the diamond grains. JX-0002 at 4:41-49, 9:32-34. A PCD having a higher
degree of diamond-to-diamond bonding has more pinched-off metal catalyst pathways and thus
exhibits a lower average electrical conductivity. Id. at 4:41-49, 5:61-6:3, 7:53-8:5, 9:32-34,
9:63-10:3.
       5
         Specific magnetic saturation represents a state in which an increase in the magnetizing
force does not result in an increase in the magnetization of the material. See Order No. 23, at 29-
30. Specific magnetic saturation is correlated with the amount of the metal-solvent catalyst in the
PCD. JX-0002 at 5:35-39, 5:49-51.
       6
        Specific permeability measures the ratio of specific magnetic saturation to coercivity.
See JX-0002 at 4:47-49; Order No. 23, at 29.




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e.g., ’502 patent (JX-0003) at 3:65-4:12, 4:58-5:7. The specification of the ’565 patent provides

a similar disclosure regarding those properties but further teaches that electrical conductivity

also reflects the extent to which the diamond grains have bonded and displaced the metal

catalyst. See, e.g, JX-0002 at 4:34-54, 5:32-39, 22:44-47 (“Sensitivity of electrical conductivity

measurements of PDC diamond tables of a given PCD microstructure may provide an excellent

method for estimation and imaging of metal content in the diamond table.”). 7

       Asserted claims such as claim 1 of the’565 patent and claim 15 of the ’502 patent also

require that the PDC satisfy specific parameters that are used for measuring cutting performance.

The claimed performance parameters are G-ratio 8 and thermal stability. 9 The specifications

correlate the increased cutting performance with the improved microstructure. See, e.g., JX-

0003 at 4:54-57 (“By maintaining the metal-solvent catalyst content below about 7.5 wt %, the

PCD may exhibit a desirable thermal stability suitable for subterranean drilling applications.”),

5:63-6:38; see also JX-0002 at 22:51-62 (“In fact, relatively lowered metal-solvent content in

the PDC appears to substantially influence cutting performance. Therefore, it follows that the




       7
          The specifications connect the claimed numerical thresholds for the magnetic and
electrical properties to the improved process of making the PDC using a higher sintering
pressure. See Table 1 of both patents (magnetic properties); JX-0002 at 4:58-64 (electrical
conductivity).
       8
          G-ratio is a measure of wear resistance that uses a vertical turret lathe (VTL) test to
replicate drilling conditions by grinding the PDC against a large, rotating rock cylinder using a
coolant. Tr. (Bertagnolli) at 75:17-77:22; Tr. (German) at 141:25-142:5; 7:13-14. It is measured
as the ratio of the volume of workpiece cut to the volume of PCD worn away during a cutting
process. JX-0002 at 7:2-5.
       9
          Thermal Stability is a “dry VTL” measurement since it does not use a coolant. Tr.
(German) at 158:24-159:12; JX-0003 at 6:14-38. It is “evaluated by measuring the distance cut
in a workpiece prior to catastrophic failure, without using coolant, in a vertical lathe test (e.g.,
vertical turret lathe or a vertical boring mill).” JX-0002 at 7:24-28.




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electrical conductivity, also dependent on metal-solvent catalyst content, may also be used as a

quality characteristic for evaluating PDC cutting performance.”).

        In short, both patents describe a problem solved by the inventors as providing an

improved PDC. The invention, meanwhile, is described in terms reflecting its structure,

including its microstructure quantified by various measurements (e.g., grain size, coercivity,

magnetic saturation).

II.     THE ID’S SECTION 101 FINDINGS

        The ID’s analysis focused on the ’565 patent and found the asserted claims of both the

’565 patent and ’502 patent ineligible under section 101 for the same reasons. At the first step of

the two-part eligibility test, the ID observed the asserted claims of the ’565 patent “recite

compositions of matter that are not found in nature.” ID at 102. The ID then continued by

grouping claim features of the ’565 patent into categories and considering whether those

categories are directed to a “result or effect.”

        Specifically, the ID observed that the claims recite “certain structural and design features

(for example, a particular grain size and a catalyst), performance measures (G-Ratio in claim 1

and its dependent claims and thermal stability in claim 18), and side effects (the various

electrical and magnetic parameters).” Id. at 104; see also id. at 100. The ID found the structural

and design features are “not problematic” under Alice but the performance measure and side

effects “are problematic.” ID at 104-105. The ID explained that the performance measures are

problematic because they “incorporate the goal or result of a particular measure of wear

resistance (i.e., G-Ratio) or thermal resilience (i.e., thermal stability), however achieved.” Id. at

105. The ID explained that the side effect features (i.e., the various electrical and magnetic

parameters) are problematic because they are “an indirect measure of the effectiveness of other

design choices and manufacturing variables” and “imperfect proxies for unclaimed features.” Id.




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at 103, 105. The ID also explained: “A low electrical conductivity is not a desirable feature as

such; it is just a result of other desirable features.” Id. at 103.

        The ID found that the claims of the ’565 and ’502 patents also fail Alice step two because

they “invoke[] well-understood, routine, [and] conventional components to apply the abstract

idea[s]” recited in the claims. Id. at 110.

        On review, the Majority affirms the ID and clarifies the identification of the abstract idea.

The Majority finds that the asserted claims are directed to the abstract idea of “PDCs that achieve

the claimed performance measures and desired magnetic and electrical results, which the

specifications claim are derived from enhanced diamond-to-diamond bonding.”

        For the reasons explained below, I dissent from the Commission’s decision to affirm the

ID’s section 101 determination.

III.    DISCUSSION

        A. Patent-Eligibility under Section 101

        Section 101 of the Patent Act defines the subject matter eligible for patent protection. It

provides:

                    Whoever invents or discovers any new and useful process, machine,
            manufacture, or composition of matter, or any new and useful improvement
            thereof, may obtain a patent therefor, subject to the conditions and
            requirements of this title.

35 U.S.C. § 101. It has long been established that the expansive language of § 101 provides a

broad scope for patent eligibility. See Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980).

        Within § 101’s expansive language, the Supreme Court has recognized “an important

implicit exception: Laws of nature, natural phenomena, and abstract ideas are not patentable.”

Ass’n for Molecular Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 589 (2013). The Court

has described the concern that drives this exclusionary principle as one of pre-emption. “Laws




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of nature, natural phenomena, and abstract ideas are . . . the basic tools of scientific and

technological work.” Id. “[M]onopolization of those tools through the grant of a patent might

tend to impede innovation more than it would tend to promote it,” thereby thwarting the primary

object of the patent laws. Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S. 66, 71

(2012).

          At the same time, the Court has cautioned lower tribunals to “tread carefully in

construing this exclusionary principle lest it swallow all of patent law.” Alice Corp. Pty. Ltd. v.

CLS Bank Int’l, 573 U.S. 208, 217 (2014). At some level, “all inventions . . . embody, use,

reflect, rest upon, or apply laws of nature, natural phenomena, or abstract ideas.” Id. Thus, an

invention is not rendered ineligible for patent protection simply because it involves an abstract

concept. Id. (citing Diamond v. Diehr, 450 U.S. 175, 187 (1981)). “‘[A]pplication[s]’ of such

concepts ‘to a new and useful end’ . . . remain eligible for patent protection.” Alice, 573 U.S. at

217 (citing Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

          With these concerns in mind, Supreme Court precedent articulates a two-step framework

for distinguishing patents that claim laws of nature, natural phenomena, or abstract ideas from

those that claim patent-eligible applications of those concepts. First, a court must “determine

whether the claims at issue are directed to [a] patent-ineligible concept[].” Alice, 573 U.S. at

217. Second, if the claims are directed to a patent-ineligible concept, the court must then

determine whether there are additional elements of the claim that contain an “inventive concept”

sufficient to “transform” the claimed matter into a patent-eligible application. Id. at 217-218.

          B. Application of Alice Step One

          The ID’s step-one abstractness determination turns on grouping the claim features into

categories and considering whether those individual categories are directed to a “result or effect.”

As explained below, the “problematic” results and effects which the ID identifies (i.e., the




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measurements of PDC properties) are not the sort of results Federal Circuit caselaw has called

into question. Rather, the specifications (and other record evidence) indicate that they are

measurements that reflect structure of a composition of matter. When the claim elements are

considered as whole, I do not believe that any of the asserted claims are directed to an abstract

idea.

               1. The Asserted Claims Are Directed To A Composition of Matter

        One only need to look at the language of the claims to observe that they are directed to

measurable composition of matter for which eligibility should be routine. The claims recite,

inter alia, a “polycrystalline diamond compact” comprising a “polycrystalline diamond table”

with a “catalyst occupying at least a portion of the interstitial regions” wherein an “unleached

portion” of the table includes certain measurable properties. All of the asserted claims recite

specific ranges of average diamond “grain size” and measurable magnetic properties related to

the diamond structure. Asserted claims also include specific ranges for “average electrical

conductivity,” “G-Ratio” (e.g., at least about 4.0 x 106), “thermal stability” (e.g., at least of about

1300 m), and the “lateral dimension of the polycrystalline diamond table.”

        The specifications provide further insight into the nature of the claims. The

specifications describe “nucleation and growth” of diamond between diamond particles during

the sintering process, which impacts the structure of the PCD at the microscopic level by forming

big diamond grains that pinch-off cobalt between diamond particles. JX-0002 at 7:53-61. The

specifications disclose that the claimed average grain size is a structural threshold with the size

being 50 μm or less, or 30 μm or less. See id. at 5:8-18. The specifications further disclose that

the claimed magnetic and electrical properties reflect the microstructure of the PCD. See, e.g.,

JX-0003 at 3:65-4:12 (embodiments exhibit enhanced diamond-to-diamond bonding and the

magnetic properties reflect nucleation and growth of diamond particles); JX-0003 at 5:22-27




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(“The PCD defined collectively by the bonded diamond grains and the metal-solvent catalyst

may exhibit . . . a coercivity of about 115 Oe or more and a metal-solvent catalyst content of less

than about 7.5 wt % as indicated by a specific magnetic saturation of about 15 G·cm3/g or

less.”); JX-0002 at 5:32-39 (“Many physical characteristics of the PCD may be determined by

measuring certain magnetic and electrical properties of the PCD because the metal-solvent

catalyst may be ferromagnetic.”); JX-0002 at 22:44-47 (“Sensitivity of electrical conductivity

measurements of PDC diamond tables of a given PCD microstructure may provide an excellent

method for estimation and imaging of metal content in the diamond table.”).

       For example, as the specifications explain, measured coercivity is a corollary of “[t]he

mean free path between neighboring diamond grains,” which in turn is “indicative of the extent

of diamond-to-diamond bonding.” JX-0002 at 5:40-48. Similarly, specific magnetic saturation

is indicative of “the amount of the metal-solvent catalyst present.” Id. at 5:35-39. Electrical

conductivity as disclosed in the ’565 patent measures how conductive a PCD is, which is

associated with both the amount of metal-solvent catalyst in the diamond microstructure and the

continuity of the catalyst mesh between the diamond grains. Id. at 4:41-49, 5:64-6:3, 9:32-34,

15:26-31.

       The specifications further disclose that the improved PCD results in increased cutting

performance, which is measured by G-ratio and thermal stability. See, e.g., JX-0003 at 4:54-57,

5:63-6:38; see also JX-0002, 4:1-4, 15:49-61, 22:51-62. The specifications associate the claimed

G-ratio and thermal stability measurements with the PCD microstructure. Id.

       Thus, it is undisputed that the specifications associate the claimed properties with the

PCD structure. In fact, the Majority agrees that “[a]s for the electrical and magnetic properties of

a PCD, there is no dispute that the presence of cobalt or other metal-solvent catalyst in the PCD




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is measurable.” However, the Majority does not explain their conclusion that the claimed

properties do not define a “specific microstructure.” That conclusion seems inconsistent with the

intrinsic evidence and the Majority’s concession that the electrical and magnetic properties

reflect the presence of cobalt or other metal-solvent catalyst in the PCD. 10

       Labeling certain claim elements merely as “performance standards,” “results,” “side

effects,” or “not a design choice,” in my view, fails to appreciate that the claimed parameters are

concrete, objective measurements for defining the invention and which reflect the diamond

microstructure. Many properties of patented materials could be described the same way. As is

often the case in materials science and chemistry, intrinsic properties like density, pH,

conductivity, and melting point result from other design choices, such as the choice of chemical

inputs, processing parameters, and finishing steps. The claimed PDC involves a composition of

matter that the inventors characterized based on what it is. That a particular material property of

this composition of matter “results” from other design choices does not render it abstract. 11

               2.    The Precedent Cited By Majority Does Not Support Finding The Claims
                    Ineligible As Directed To An Abstract Idea

       Given that the abstract idea exception is a narrow, court-made exception to the language

of § 101, we should tread carefully before extending the exception beyond the subject matter that

the courts themselves have identified as being abstract. A manufactured composition of matter is



       10
           Similarly, the Majority’s analysis under Alice step 2 finding the claimed properties to
be “results-oriented” and “conventional” rests on the same conclusion. If the properties reflect
structure, they are not results-oriented or conventional claim elements.
       11
           The Majority cites USS’s expert testimony where he agreed the claimed properties are
the result of the sintering conditions and input materials that went into manufacturing the PDC.
See Tr. (German) at 1338:24-1339:4. The testimony is not inconsistent with the intrinsic
evidence that those properties reflect the structure of the PDC. The idea that properties of a
material may result from manufacturing conditions is unremarkable.




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a class of invention that has historically been patent eligible. See, e.g., Chakrabarty, 447 U.S. at

308-09 (explaining that the Patent Act of 1793 defined statutory subject matter as “any new and

useful art, machine, manufacture, or composition of matter, or any new or useful improvement

[thereof]”); Diehr, 450 U.S. at 184 n.8 (observing that “[i]ndustrial processes” and “new

machines and new compositions of matter” have “historically been eligible to receive the

protection of our patent laws”); see also Nat. Alternatives Int’l, Inc. v. Creative Compounds,

LLC, 918 F.3d 1338, 1347-49 (Fed. Cir. 2019) (holding product claims to dietary supplement to

be eligible). The ID and Majority have identified no case, nor do the Respondents cite any,

where a claim to a composition of matter has been deemed ineligible as an abstract idea.

       The ID and Majority cite as support several Federal Circuit decisions involving claims

for processing information using software on generic computer components – the “familiar class

of claims” that often receive eligibility scrutiny under the Alice line of cases. 12 See Elec. Power

Group LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016). I believe the reliance on those

cases is misplaced. The “results” or “effects” which the Majority identifies (i.e., the

measurement of PDC properties) as problematic are not the sort of results that have been called

into question in the software functionality computer cases.

       Rather, those cases stand for the principle that “information as such is an intangible,” and


       12
            The generic computer functionality cases cited by the ID and Majority include: Apple,
Inc. v. Ameranth, Inc., 842 F.3d 1229 (Fed. Cir. 2016) (claims related to software for information
management and the result of generating menus on a display); Free Stream Media Corp. v.
Alphonso Inc., 996 F.3d 1355 (Fed. Cir. 2021) (claims related to software for gathering
information and providing the result of target advertisements to a mobile device user); Elec.
Power Group LLC v. Alstom S.A., 830 F.3d 1350 (Fed. Cir. 2016) (claims related to software for
monitoring an electrical grid); Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335 (Fed. Cir.
2018) (claims related to software for information acquisition, organization, and display); Yu v.
Apple Inc., 1 F.4th 1040 (Fed. Cir. 2021) (claims related to processing information to produce a
digital image); ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759 (Fed. Cir. 2019) (claims
related to functionality of communicating over a generic network).




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hence abstract. Id.; SAP America, Inc. v. Investpic, LLC, 898 F.3d 1161, 1167 (Fed. Cir. 2018).

Therefore, “merely presenting the results of abstract processes of collecting and analyzing

information, without more . . . is abstract.” Elec. Power Group, 830 F.3d at 1354 (emphasis

added). As the Federal Circuit has explained, ineligible patents “claiming only a result” of an

abstract process and which lack specificity must be “contrast[ed]” with eligible patents claiming

“physical-realm improvements.” SAP America, 898 F.3d at 1167. The claimed PDC is a

“physical-realm” improvement defined by specific, measurable parameters.

       The Majority opinion cites Alice and Yu v. Apple Inc., 1 F.4th 1040 (Fed. Cir. 2021), to

argue that the fact that asserted claims involve physical phenomena is “beside the point.”

Specifically, the quote from Alice cited by the Majority includes the statement that “[t]he fact

that a computer ‘necessarily exist[s] in the physical, rather than purely conceptual, realm,’ is

beside the point.” 573 U.S. at 224. That statement merely stands for the common-sense

proposition that the claimed methods are not patent eligible just because they operate in the

tangible world. This makes sense because generic computers used to perform software

functionality steps are tangible objects. But taking Alice’s unremarkable statement and applying

it to the improved composition of matter at issue here to find it abstract is not supported by the

decision.

       Yu v. Apple is similar to Alice and the other cases involving abstract steps performed on

generic computer components. The claim at issue in Yu involved computing functions – i.e.,

processing information using conventional components of a digital camera. It is true that the

conventional digital camera components operate in the tangible world just like the generic

computer referenced in Alice. But, similar to the point above with Alice, that does not support

finding the improved PDC to be abstract.




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       The Majority opinion’s reliance on American Axle & Mfg., Inc. v. Neapco Holdings LLC,

967 F.3d 1285, 1302 (Fed. Cir. 2020), is also misplaced. In American Axle, the claims at issue

recited a manufacturing method directed to the “result” of applying a law of nature – Hook’s

law. The inventor’s own deposition testimony confirmed that the claimed “tuning” element of

the method claim merely required the use of Hooke’s law. Id. at 1294. There was no structural

claim at issue nor any specific numerical range to limit the application of Hooke’s law. Id. at

1295. Notably, the Federal Circuit explained that “[w]hat is missing is any physical structure or

steps for achieving the claimed result” of applying natural law. Here, in contrast, the advance of

the claimed invention is a physical structure described by various measured parameters. 13

       The Majority also relies on the Supreme Court decision in O’Reilly v. Morse, 56 U.S. (15

How.) 62 (1853). The claim held ineligible in O’Reilly is distinguishable on its face to those at

issue in this investigation. The claim in O’Reilly was not limited to any particular machinery or

other structure and was instead broadly directed to the use of electromagnetism, “however

developed,” for transmitting information. Id. at 112.

       The Majority additionally cites as support the Supreme Court decision in Funk Brothers

Seed Co. v. Kalo Inoculant Co., 333 U.S. 127 (1948). Funk Brothers addressed the eligibility of

claims directed to a natural phenomenon, i.e., a mixture of naturally occurring strains of bacteria.

Id. at 128–30. The Court concluded that this mixture of bacteria strains was not patent eligible

because the patentee did not alter the bacteria in any way. Id. at 132. In the current

investigation, there is no dispute that the asserted claims recite compositions of matter that are



       13
          American Axle instructs that product claims should be limited to structures specified at
some level of concreteness. 967 F.3d at 1302. The parameters recited in the claims, which are
objective and measurable, specify structure in a concrete way. See, e.g, JX-0002 at 5:32-39; Tr.
(German) at 1243:12-23.




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not found in nature. ID at 102. Thus, Respondents are not arguing, the Majority does not find,

that the asserted claims are directed to a natural phenomenon. Although the claimed bacteria in

Funk Brothers were naturally occurring organisms, they were certainly not abstract ideas. In my

view, Funk Brothers does not support finding the claims at issue here are directed to an abstract

idea. 14

           Unlike the Majority opinion, I do not see there being any preemption concerns.

ChargePoint, Inc. v. SemaConnect, Inc., cited by the Majority, involved claims related to generic

network communication functionality applied to any electric vehicle charging station. In finding

the claims directed to an abstract idea, the Court explained that communication over a network is

a “building block of the modern economy” and that claim 1 would broadly “preempt the use of

any networked charging stations.” 920 F.3d at 769, 773.

           In contrast to ChargePoint, there is no evidence that the asserted claims would broadly

preempt all PDCs. In fact, the evidence indicates that PDC manufacturers are capable of

manufacturing PDCs that do not read on the asserted claims. For example, during the pendency

of this investigation, SF Diamond developed A-Series redesign products, which the ID found to



           14
          I also do not believe that Le Roy v. Tatham, 55 U.S. 156 (1852), supports the
Majority’s decision today. Le Roy found the claim at issue eligible. Le Roy stands for the
proposition that an application of a law of nature to a new and useful end may be deserving of
patent protection.

        Further, Certain Light-Emitting Diode Products, Fixtures, and Components Thereof, Inv.
No. 337-TA-1213, cited by the ID and Majority is also distinguishable. There, the claim was
directed to energy efficiency of lighting devices having a wall plug efficiency of at least 85
lumens/watt “however achieved.” Final ID at 22 (Aug. 25, 2021), aff’d by Comm’n Op. (Jan.
14, 2022). The asserted claim recited only one structure, and only in the most generic terms: a
“solid state light emitter.” Final ID at 22. It was indisputably a conventional component
performing conventional function of producing light when supplied with electricity. Id. at 25. In
contrast, in the current investigation the asserted claims are structurally defined with concrete,
measurable parameters.




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be non-infringing. See ID at 39-43, 55, 68, 160. Further, the specifications disclose

polycrystalline diamond in Tables II-III that have magnetic properties outside the claimed

ranges. See, e.g., JX-0002 at tbls.II-III. 15

        The Majority opinion criticizes the patentee for not incorporating manufacturing steps or

equipment into the asserted claims. However, it is well-understood that product claims, unlike

product-by-process claims, do not need to recite a method of achieving the claimed product. See

Vanguard Prods. Corp. v. Parker Hannifin Corp., 234 F.3d 1370, 1372 (Fed. Cir. 2000) (“The

method of manufacture, even when cited as advantageous, does not of itself convert product

claims into claims limited to a particular process.”). The Patent Act includes provisions for

challenging eligible patent claims drafted in an overly broad fashion (section 112), that lack

novelty (section 102), and that involve the combination of familiar elements according to known

methods yielding predictable results (section 103). See Diehr, 450 U.S. at 188-90 (“The question

therefore of whether a particular invention is novel is wholly apart from whether the invention

falls into a category of statutory subject matter.”); Data Engine Techs. LLC v. Google LLC, 906

F.3d 999, 1011 (Fed. Cir. 2018) (“The eligibility question is not whether anyone has ever used

tabs to organize information. That question is reserved for §§ 102 and 103.”).

        The outcome in this case – finding claims reciting a specific, definable composition of


        15
           As support for preemption, the Majority opinion identifies two infringing products that
it finds were sintered at a pressure less than 7.5 GPa. Whether two infringing PDC products
practice an unclaimed cell pressure parameter – especially when the record demonstrates that
there are non-infringing PDCs available – does not in my view demonstrate monopolizing a
“building block” of the economy or “basic tools of scientific and technological work.” See Alice,
573 U.S. at 216-217; compare CX-0383C (listing all tested products), with ID at 10-11 (listing
only the accused products). If claims do not preempt a “building block” of human ingenuity or
“basic tools of scientific and technological work,” than breadth of claiming is addressed by other
statutory provisions. See infra.




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                        Appx79
337-TA-1236                                                                                                                                                          JX-0003

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              c12)   United States Patent                                                (IO) Patent No.:                  US 10,508,502 B2
                     Bertagnolli et al.                                                  (45) Date of Patent:                         *Dec. 17, 2019

              (54)   POLYCRYSTALLINE DIAMOND COMPACT                                (58)    Field of Classification Search
                                                                                            CPC .... E21B 10/46; E21B 10/55; E21B 2010/561;
              (71)   Applicant: US SYNTHETIC CORPORATION,                                                     E21B 10/567; E21B 10/573; E21B
                                Orem, UT (US)                                                                   10/5735; E21B 10/62; B22F 7/08
                                                                                            See application file for complete search history.
              (72)   Inventors: Kenneth E. Bertagnolli, Riverton, UT
                                (US); David P. Miess, Highland, UT                  (56)                      References Cited
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                                Sandy, UT (US)                                                                    (Continued)
              (73)   Assignee: US SYNTHETIC CORPORATION,                                          FOREIGN PATENT DOCUMENTS
                               Orem, UT (US)
                                                                                    CN                  1249221             4/2000
              ( *)   Notice:      Subject to any disclaimer, the term ofthis        CN                101321714            12/2008
                                  patent is extended or adjusted under 35                                         (Continued)
                                  U.S.C. 154(b) by O days.
                                  This patent is subject to a terminal dis-                              OTHER PUBLICATIONS
                                  claimer.                                         U.S. Appl. No. 11/545,929, filed Oct. 10, 2006, Bertagnolli, et al.
                                                                                                                  (Continued)
              (21)   Appl. No.: 16/358,281
                                                                                   Primary Examiner - Nicole Coy
              (22)   Filed:       Mar. 19, 2019
                                                                                   (74) Attorney, Agent, or Firm - Dorsey & Whitney LLP
              (65)                  Prior Publication Data
                                                                                    (57)                         ABSTRACT
                     US 2019/0211629 Al           Jul. 11, 2019                    In an embodiment, a method of fabricating a polycrystalline
                                                                                   diamond compact is disclosed. The method includes sinter-
                              Related U.S. Application Data
                                                                                   ing a plurality of diamond particles in the presence of a
              (63)   Continuation of application No. 13/789,099, filed on          metal-solvent catalyst to form a polycrystalline diamond
                     Mar. 7, 2013, now Pat. No. 10,287,822, which is a             body; leaching the polycrystalline diamond body to at least
                                                                                   partially remove the metal-solvent catalyst therefrom,
                                      (Continued)
                                                                                   thereby forming an at least partially leached polycrystalline
              (51)   Int. Cl.                                                      diamond body; and subjecting an assembly of the at least
                     E21B 10155              (2006.01)                             partially leached polycrystalline diamond body and a
                     E21B 101573             (2006.01)                             cemented carbide substrate to a high-pressure/high-tempera-
                                                                                   ture process at a pressure to infiltrate the at least partially
                                       (Continued)
                                                                                   leached polycrystalline diamond body with an infiltrant. The
              (52)   U.S. Cl.                                                      pressure of the high-pressure/high-temperature process is
                     CPC .............. E21B 10155 (2013.01); E21B 10136           less than that employed in the act of sintering of the plurality
                                   (2013.01); E21B 10146 (2013.01); E21B           of diamond particles.
                                                        101567 (2013.01);
                                         (Continued)                                                 28 Claims, 12 Drawing Sheets



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                                                                         Appx80
                                                                                                                                                                    JX-0003.1
337-TA-1236                                                                                                                          JX-0003

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                                         FIG. 1A




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                                        Measurement
                                         Electronics 128




                                        FIG,, 1B




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                                               FIG. 3A




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                                             Substrate Thickness (mm)


                                                    FIG. 3C




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                                               FIG. 4A




                                               FIG. 4B


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                                          FIG. 5A



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                                         FIG. 5B


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                                           FIG. 6A




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                                            FIG. 7


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                                            FIG . 8


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                                               FIG. 9



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                                                Appx95
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                  POLYCRYSTALLINE DIAMOND COMPACT                                   substrate following cooling and release of pressure from the
                                                                                    HPHT process. These complex stresses may be concentrated
                           CROSS-REFERENCE TO RELATED                               near the PCD table/substrate interface. Residual stresses at
                                      APPLICATIONS                                  the interface between the PCD table and cemented carbide
                                                                                  5 substrate may result in premature failure of the PDC upon
                 This application is a continuation of U.S. application Ser.        cooling or during subsequent use under thermal stresses and
              No. 13/789,099 filed on 7 Mar. 2013, which is a continuation          applied forces.
              of U.S. application Ser. No. 13/623,764 filed on 20 Sep.                 In order to help reduce de-bonding of the PCD table from
              2012 (now U.S. Pat. No. 8,616,306 issued on 31 Dec. 2013),            the cemented carbide substrate, some PDC designers have
              which is a continuation of U.S. patent application Ser. No. 10 made the interfacial surface of the cemented carbide sub-
              12/690,998 filed on 21 Jan. 2010 (now U.S. Pat. No.                   strate that bonds to the PCD table significantly nonplanar.
              8,297,382 issued on 30 Oct. 2012), which is a continuation-           For example, various nonplanar substrate interfacial surface
              in-part of U.S. patent application Ser. No. 12/244,960 filed          configurations have been proposed and/or used, such as a
              on 3 Oct. 2008 (now U.S. Pat. No. 7,866,418 issued on 11              plurality of spaced protrusions, a honeycomb-type protru-
              Jan. 2011 ), the disclosure of each of which is incorporated 15 sion pattern, and a variety of other configurations.
              herein, in its entirety, by this reference.
                                                                                                             SUMMARY
                                      BACKGROUND
                                                                                       Embodiments of the invention relate to PCD exhibiting
                 Wear-resistant, superabrasive compacts are utilized in a 20 enhanced diamond-to-diamond bonding. In an embodiment,
              variety of mechanical applications. For example, polycrys-            PCD includes a plurality of diamond grains defining a
              talline diamond compacts ("PDCs") are used in drilling tools          plurality of interstitial regions. A metal-solvent catalyst
              (e.g., cutting elements, gage trimmers, etc.), machining              occupies at least a portion of the plurality of interstitial
              equipment, bearing apparatuses, wire-drawing machinery,               regions. The plurality of diamond grains and the metal-
              and in other mechanical apparatuses.                               25 solvent catalyst collectively may exhibit a coercivity of
                 PDCs have found particular utility as superabrasive cut-           about 115 Oersteds ("Oe") or more and a specific magnetic
              ting elements in rotary drill bits, such as roller cone drill bits    saturation of about 15 Gauss·cm3 /grams ("G·cm3 /g") or less.
              and fixed-cutter drill bits. A PDC cutting element typically             In an embodiment, PCD includes a plurality of diamond
              includes a superabrasive diamond layer commonly referred              grains defining a plurality of interstitial regions. A metal-
              to as a diamond table. The diamond table may be formed and 30 solvent catalyst occupies the plurality of interstitial regions.
              bonded to a substrate using a high-pressure, high-tempera-            The plurality of diamond grains and the metal-solvent
              ture ("HPHT") process. The PDC cutting element may also               catalyst collectively may exhibit a specific magnetic satu-
              be brazed directly into a preformed pocket, socket, or other          ration of about 15 G·cm3 /g or less. The plurality of diamond
              receptacle formed in a bit body of a rotary drill bit. The            grains and the metal-solvent catalyst define a volume of at
              substrate may often be brazed or otherwise joined to an 35 least about 0.050 cm3 •
              attachment member, such as a cylindrical backing. A rotary               In an embodiment, a method of fabricating PCD includes
              drill bit typically includes a number of PDC cutting elements         enclosing a plurality of diamond particles that exhibit an
              affixed to the bit body. A stud carrying the PDC may also be          average particle size of about 30 µm or less, and a metal-
              used as a PDC cutting element when mounted to a bit body              solvent catalyst in a pressure transmitting medium to form a
              of a rotary drill bit by press-fitting, brazing, or otherwise 40 cell assembly. The method further includes subjecting the
              securing the stud into a receptacle formed in the bit body.           cell assembly to a temperature of at least about 1000° C. and
                 Conventional PDCs are normally fabricated by placing a             a pressure in the pressure transmitting medium of at least
              cemented carbide substrate into a container with a volume of          about 7.5 GPa to form the PCD.
              diamond particles positioned adjacent to the cemented car-               In an embodiment, a PDC includes a PCD table bonded
              bide substrate. A number of such cartridges may be loaded 45 to a substrate. At least a portion of the PCD table may
              into an HPHT press. The substrates and volume of diamond              comprise any of the PCD embodiments disclosed herein. In
              particles are then processed under HPHT conditions in the             an embodiment, the substrate includes an interfacial surface
              presence of a catalyst material that causes the diamond               that is bonded to the polycrystalline diamond table and
              particles to bond to one another to form a matrix of bonded           exhibits a substantially planar topography. According to an
              diamond grains defining a polycrystalline diamond ("PCD") 50 embodiment, the interfacial surface may include a plurality
              table that is bonded to the substrate. The catalyst material is       of protrusions, and a ratio of a surface area of the interfacial
              often a metal-solvent catalyst (e.g., cobalt, nickel, iron, or        surface in the absence of the plurality of provisions to a
              alloys thereof) that is used for promoting intergrowth of the         surface area of the interfacial surface with the plurality of
              diamond particles. For example, a constituent of the                  protrusions is greater than about 0.600.
              cemented carbide substrate, such as cobalt from a cobalt- 55             In an embodiment, a method of fabricating a PDC
              cemented tungsten carbide substrate, liquefies and sweeps             includes enclosing a combination in a pressure transmitting
              from a region adjacent to the volume of diamond particles             medium to form a cell assembly. The combination includes
              into interstitial regions between the diamond particles during        a plurality of diamond particles that exhibit an average
              the HPHT process. The cobalt acts as a catalyst to promote            particle size of about 30 µm or less positioned at least
              intergrowth between the diamond particles, which results in 60 proximate to a substrate having an interfacial surface that is
              formation of bonded diamond grains.                                   substantially planar. The method further includes subjecting
                 Because of different coefficients of thermal expansion and         the cell assembly to a temperature of at least about 1000° C.
              modulus of elasticity between the PCD table and the                   and a pressure in the pressure transmitting medium of at
              cemented carbide substrate, residual stresses of varying              least about 7 .5 GPa to form a PCD table adjacent to the
              magnitudes may develop within different regions of the PCD 65 substrate.
              table and the cemented carbide substrate. Such residual                  Further embodiments relate to applications utilizing the
              stresses may remain in the PCD table and cemented carbide             disclosed PCD and PDCs in various articles and appara-


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              tuses, such as rotary drill bits, bearing apparatuses, wire-       believed by the inventors that as the sintering pressure
              drawing dies, machining equipment, and other articles and          employed during the HPHT process used to fabricate such
              apparatuses.                                                       PCD is moved further into the diamond-stable region away
                 Features from any of the disclosed embodiments may be           from the graphite-diamond equilibrium line, the rate of
              used in combination with one another, without limitation. In     5 nucleation and growth of diamond increases. Such increased
              addition, other features and advantages of the present dis-        nucleation and growth of diamond between diamond par-
              closure will become apparent to those of ordinary skill in the     ticles (for a given diamond particle formulation) may result
              art through consideration of the following detailed descrip-
                                                                                 in PCD being formed exhibiting one or more of a relatively
              tion and the accompanying drawings.
                                                                                 lower metal-solvent catalyst content, a higher coercivity, a
                                                                              10 lower specific magnetic saturation, or a lower specific per-
                     BRIEF DESCRIPTION OF THE DRAWINGS
                                                                                 meability (i.e., the ratio of specific magnetic saturation to
                 The drawings illustrate several embodiments of the inven-       coercivity) than PCD formed at a lower sintering pressure.
              tion, wherein identical reference numerals refer to identical      Embodiments also relate to PDCs having a PCD table
              elements or features in different views or embodiments             comprising such PCD, methods of fabricating such PCD and
              shown in the drawings.                                          15 PDCs, and applications for such PCD and PDCs in rotary
                 FIG. lA is a schematic diagram of an example of a               drill bits, bearing apparatuses, wire-drawing dies, machining
              magnetic saturation apparatus configured to magnetize a            equipment, and other articles and apparatuses.
              PCD sample approximately to saturation.
                 FIG. lB is a schematic diagram of an example of a                                     PCD Embodiments
              magnetic saturation measurement apparatus configured to 20
              measure a saturation magnetization of a PCD sample.                   According to various embodiments, PCD sintered at a
                 FIG. 2 is a schematic diagram of an example of a                pressure of at least about 7 .5 GPa may exhibit a coercivity
              coercivity measurement apparatus configured to determine           of 115 Oe or more, a high-degree of diamond-to-diamond
              coercivity of a PCD sample.                                        bonding, a specific magnetic saturation of about 15 G·cm3 /g
                 FIG. 3A is a cross-sectional view of an embodiment of a 25 or less, and a metal-solvent catalyst content of about 7.5
              PDC including a PCD table formed from any of the PCD               weight % ("wt %") or less. The PCD includes a plurality of
              embodiments disclosed herein.                                      diamond grains directly bonded together via diamond-to-
                 FIG. 3B is a schematic illustration of a method of fabri-
                                                                                 diamond bonding (e.g., sp 3 bonding) to define a plurality of
              cating the PDC shown in FIG. 3A according to an embodi-
                                                                                 interstitial regions. At least a portion of the interstitial
              ment.
                 FIG. 3C is a graph of residual principal stress versus 30 regions or, in some embodiments, substantially all of the
              substrate thickness that was measured in a PCD table of a          interstitial regions may be occupied by a metal-solvent
              PDC fabricated at a pressure above about 7.5 GPa and a             catalyst, such as iron, nickel, cobalt, or alloys of any of the
              PCD table of a conventionally formed PDC.                          foregoing metals. For example, the metal-solvent catalyst
                 FIG. 4A is an exploded isometric view of a PDC com-             may be a cobalt-based material including at least 50 wt %
              prising a substrate including an interfacial surface exhibiting 35 cobalt, such as a cobalt alloy.
              a selected substantially planar topography according to an            The diamond grains may exhibit an average grain size of
              embodiment.                                                        about 50 µm or less, such as about 30 µm or less or about 20
                 FIG. 4B is an assembled cross-sectional view of the PDC         µm or less. For example, the average grain size of the
              shown in FIG. 4A taken along line 4B-4B.                           diamond grains may be about 10 µm to about 18 µm and, in
                 FIG. SA is cross-sectional view of a PDC comprising a 40 some embodiments, about 15 µm to about 18 µm. In some
              substrate including an interfacial surface exhibiting a            embodiments, the average grain size of the diamond grains
              selected substantially planar topography according to yet          may be about 10 µm or less, such as about 2 µm to about 5
              another embodiment.                                                µm or submicron. The diamond grain size distribution of the
                 FIG. SB is an isometric view of the substrate shown in          diamond grains may exhibit a single mode, or may be a
              FIG. SA.                                                        45 bimodal or greater grain size distribution.
                 FIG. 6Ais an isometric view of an embodiment of a rotary           The metal-solvent catalyst that occupies the interstitial
              drill bit that may employ one or more of the disclosed PDC         regions may be present in the PCD in an amount of about 7 .5
              embodiments.                                                       wt % or less. In some embodiments, the metal-solvent
                 FIG. 6B is a top elevation view of the rotary drill bit         catalyst may be present in the PCD in an amount of about 3
              shown in FIG. 6A.                                               50 wt % to about 7 .5 wt %, such as about 3 wt % to about 6 wt
                 FIG. 7 is an isometric cutaway view of an embodiment of         %. In other embodiments, the metal-solvent catalyst content
              a thrust-bearing apparatus that may utilize one or more of the     may be present in the PCD in an amount less than about 3
              disclosed PDC embodiments.                                         wt %, such as about 1 wt % to about 3 wt % or a residual
                 FIG. 8 is an isometric cutaway view of an embodiment of         amount to about 1 wt%. By maintaining the metal-solvent
              a radial bearing apparatus that may utilize one or more of the 55 catalyst content below about 7 .5 wt %, the PCD may exhibit
              disclosed PDC embodiments.                                         a desirable level of thermal stability suitable for subterra-
                 FIG. 9 is a schematic isometric cutaway view of an              nean drilling applications.
              embodiment of a subterranean drilling system including the            Many physical characteristics of the PCD may be deter-
              thrust-bearing apparatus shown in FIG. 7.                          mined by measuring certain magnetic properties of the PCD
                 FIG. 10 is a side cross-sectional view of an embodiment 60 because the metal-solvent catalyst may be ferromagnetic.
              of a wire-drawing die that employs a PDC fabricated in             The amount of the metal-solvent catalyst present in the PCD
              accordance with the principles described herein.                   may be correlated with the measured specific magnetic
                                                                                 saturation of the PCD. A relatively larger specific magnetic
                               DETAILED DESCRIPTION                              saturation indicates relatively more metal-solvent catalyst in
                                                                              65 the PCD.
                 Embodiments of the invention relate to PCD that exhibits           The mean free path between neighboring diamond grains
              enhanced diamond-to-diamond bonding. It is currently               of the PCD may be correlated with the measured coercivity


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              of the PCD. A relatively large coercivity indicates a rela-         Gratia may be at least about 30.0xl0 • The Gratia is the ratio
              tively smaller mean free path. The mean free path is repre-         of the volume of workpiece cut to the volume of PCD worn
              sentative of the average distance between neighboring dia-          away during the cutting process. An example of suitable
              mond grains of the PCD, and thus may be indicative of the           parameters that may be used to determine a G ratio of the PCD
              extent of diamond-to-diamond bonding in the PCD. A 5 are a depth of cut for the PCD cutting element of about 0.254
              relatively smaller mean free path, in well-sintered PCD, may        mm, a back rake angle for the PCD cutting element of about
              indicate relatively more diamond-to-diamond bonding.                20 degrees, an in-feed for the PCD cutting element of about
                 As merely one example, ASTM B886-03 (2008) provides              6.35 mm/rev, a rotary speed of the workpiece to be cut of
              a suitable standard for measuring the specific magnetic             about 101 rpm, and the workpiece may be made from Barre
              saturation andASTM B887-03 (2008) el provides a suitable 10
                                                                                  granite having a 914 mm outer diameter and a 254 mm inner
              standard for measuring the coercivity of the PCD. Although
                                                                                  diameter. During the Gratia test, the workpiece is cooled with
              bothASTM B886-03 (2008) andASTM B887-03 (2008) el
                                                                                  a coolant, such as water.
              are directed to standards for measuring magnetic properties
              of cemented carbide materials, either standard may be used             In addition to the aforementioned Gratia, despite the
              to determine the magnetic properties of PCD. A KOERZI- 15 presence of the metal-solvent catalyst in the PCD, the PCD
              MAT CS 1.096 instrument (commercially available from                may exhibit a thermal stability that is close to, substantially
              Foerster Instruments of Pittsburgh, Pa.) is one suitable            the same as, or greater than a partially leached PCD material
              instrument that may be used to measure the specific mag-            formed by sintering a substantially similar diamond particle
              netic saturation and the coercivity of the PCD.                     formulation at a lower sintering pressure (e.g., up to about
                 Generally, as the sintering pressure that is used to form the 20 5.5 GPa) and in which the metal-solvent catalyst (e.g.,
              PCD increases, the coercivity may increase and the magnetic         cobalt) is leached therefrom to a depth of about 60 µm to
              saturation may decrease. The PCD defined collectively by            about 100 µm from a working surface thereof. The thermal
              the bonded diamond grains and the metal-solvent catalyst            stability of the PCD may be evaluated by measuring the
              may exhibit a coercivity of about 115 Oe or more and a              distance cut in a workpiece prior to catastrophic failure,
              metal-solvent catalyst content ofless than about 7 .5 wt% as 25 without using coolant, in a vertical lathe test (e.g., vertical
              indicated by a specific magnetic saturation of about 15             turret lathe or a vertical boring mill). An example of suitable
              G·cm3 /g or less. In a more detailed embodiment, the coer-          parameters that may be used to determine thermal stability
              civity of the PCD may be about 115 Oe to about 250 Oe and           of the PCD are a depth of cut for the PCD cutting element
              the specific magnetic saturation of the PCD may be greater          of about 1.27 mm, a back rake angle for the PCD cutting
              than O G·cm3 /g to about 15 G·cm3 /g. In an even more 30 element of about 20 degrees, an in-feed for the PCD cutting
              detailed embodiment, the coercivity of the PCD may be               element of about 1.524 mm/rev, a cutting speed of the
              about 115 Oe to about 17 5 Oe and the specific magnetic             workpiece to be cut of about 1.78 m/sec, and the workpiece
              saturation of the PCD may be about 5 G·cm3 /g to about 15           may be made from Barre granite having a 914 mm outer
              G·cm3 /g. In yet an even more detailed embodiment, the              diameter and a 254 mm inner diameter. In an embodiment,
              coercivity of the PCD may be about 155 Oe to about 17 5 Oe 35 the distance cut in a workpiece prior to catastrophic failure
              and the specific magnetic saturation of the PCD may be              as measured in the above-described vertical lathe test may
              about 10 G·cm3 /g to about 15 G·cm3 /g. The specific per-           be at least about 1300 m, such as about 1300 m to about
              meability (i.e., the ratio of specific magnetic saturation to       3950 ill.
              coercivity) of the PCD may be about 0.10 G·cm3 /g·Oe or                PCD formed by sintering diamond particles having the
              less, such as about 0.060 G·cm3 /g·Oe to about 0.090 G·cm3 / 40 same diamond particle size distribution as a PCD embodi-
              g·Oe. Despite the average grain size of the bonded diamond          ment of the invention, but sintered at a pressure of, for
              grains being less than about 30 µm in some embodiments,             example, up to about 5.5 GPa and at temperatures in which
              the metal-solvent catalyst content in the PCD may be less           diamond is stable may exhibit a coercivity of about 100 Oe
              than about 7 .5 wt % resulting in a desirable thermal stability.    or less and/or a specific magnetic saturation of about 16
                 In one embodiment, diamond particles having an average 45 G·cm3 /g or more. Thus, in one or more embodiments of the
              particle size of about 18 µm to about 20 µmare positioned           invention, PCD exhibits a metal-solvent catalyst content of
              adjacent to a cobalt-cemented tungsten carbide substrate and        less than 7.5 wt % and a greater amount of diamond-to-
              subjected to an HPHT process at a temperature of about              diamond bonding between diamond grains than that of a
              1390° C. to about 1430° C. and a pressure of about 7.8 GPa          PCD sintered at a lower pressure, but with the same pre-
              to about 8.5 GPa. The PCD so-formed as a PCD table 50 cursor diamond particle size distribution and catalyst.
              bonded to the substrate may exhibit a coercivity of about 155          It is currently believed by the inventors that forming the
              Oe to about 175 Oe, a specific magnetic saturation of about         PCD by sintering diamond particles at a pressure of at least
              10 G·cm3 /g to about 15 G·cm3 /g, and a cobalt content of           about 7 .5 GPa may promote nucleation and growth of
              about 5 wt% to about 7.5 wt%.                                       diamond between the diamond particles being sintered so
                 In one or more embodiments, a specific magnetic satura- 55 that the volume of the interstitial regions of the PCD
              tion constant for the metal-solvent catalyst in the PCD may         so-formed is decreased compared to the volume of intersti-
              be about 185 G·cm3 /g to about 215 G·cm 3 /g. For example,          tial regions if the same diamond particle distribution was
              the specific magnetic saturation constant for the metal-            sintered at a pressure of, for example, up to about 5.5 GPa
              solvent catalyst in the PCD may be about 195 G·cm3 /g to            and at temperatures where diamond is stable. For example,
              about 205 G·cm3 /g. It is noted that the specific magnetic 60 the diamond may nucleate and grow from carbon provided
              saturation constant for the metal-solvent catalyst in the PCD       by dissolved carbon in metal-solvent catalyst (e.g., liquefied
              may be composition dependent.                                       cobalt) infiltrating into the diamond particles being sintered,
                 Generally, as the sintering pressure is increased above 7.5      partially graphitized diamond particles, carbon from a sub-
              GPa, a wear resistance of the PCD so-formed may increase.           strate, carbon from another source (e.g., graphite particles
              For example, the Gratia may be at least about 4.0xl0 6 , such 65 and/or fullerenes mixed with the diamond particles), or
              as about 5.0xl0 6 to about 15.0xl0 6 or, more particularly,         combinations of the foregoing. This nucleation and growth
              about 8.0xl0 6 to about 15.0xl0 6 . In some embodiments, the        of diamond in combination with the sintering pressure of at


                                                                         Appx98
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              least about 7.5 GPa may contribute to the PCD so-formed              FIG. 2 is a schematic diagram of a coercivity measure-
              having a metal-solvent catalyst content ofless than about 7.5     ment apparatus 200 configured to determine a coercivity of
              wt%.                                                              a PCD sample. The coercivity measurement apparatus 200
                 FIGS. lA, 1B, and 2 schematically illustrate the manner        includes a coil 202 and measurement electronics 204
              in which the specific magnetic saturation and the coercivity 5 coupled to the coil 202. The measurement electronics 204
              of the PCD may be determined using an apparatus, such as          are configured to pass a current through the coil 202 so that
              the KOERZIMAT CS 1.096 instrument. FIG. lA is a sche-             a magnetic field is generated. A sample holder 206 having a
              matic diagram of an example of a magnetic saturation              PCD sample 208 thereon may be positioned within the coil
              apparatus 100 configured to magnetize a PCD sample to             202. A magnetization sensor 210 configured to measure a
                                                                             10
              saturation. The magnetic saturation apparatus 100 includes a      magnetization of the PCD sample 208 may be coupled to the
              saturation magnet 102 of sufficient strength to magnetize a       measurement electronics 204 and positioned in proximity to
              PCD sample 104 to saturation. The saturation magnet 102           the PCD sample 208.
              may be a permanent magnet or an electromagnet. In the                During testing, the magnetic field generated by the coil
              illustrated embodiment, the saturation magnet 102 is a 15 202 magnetizes the PCD sample 208 at least approximately
              permanent magnet that defines an air gap 106, and the PCD         to saturation. Then, the measurement electronics 204 apply
              sample 104 may be positioned on a sample holder 108               a current so that the magnetic field generated by the coil 202
              within the air gap 106. When the PCD sample 104 is                is increasingly reversed. The magnetization sensor 210
              lightweight, it may be secured to the sample holder 108           measures a magnetization of the PCD sample 208 resulting
              using, for example, double-sided tape or other adhesive so 20 from application of the reversed magnetic field to the PCD
              that the PCD sample 104 does not move responsive to the           sample 208. The measurement electronics 204 determine the
              magnetic field from the saturation magnet 102 and the PCD         coercivity of the PCD sample 208, which is a measurement
              sample 104 is magnetized at least approximately to satura-        of the strength of the reversed magnetic field at which the
              tion.                                                             magnetization of the PCD sample 208 is zero.
                 Referring to the schematic diagram of FIG. 1B, after 25
              magnetizing the PCD sample 104 at least approximately to                 Embodiments of Methods for Fabricating PCD
              saturation using the magnetic saturation apparatus 100, a
              magnetic saturation of the PCD sample 104 may be mea-                The PCD may be formed by sintering a mass of a plurality
              sured using a magnetic saturation measurement apparatus           of diamond particles in the presence of a metal-solvent
              120. The magnetic saturation measurement apparatus 120 30 catalyst. The diamond particles may exhibit an average
              includes a Helmholtz measuring coil 122 defining a pas-           particle size of about 50 µm or less, such as about 30 µm or
              sageway dimensioned so that the magnetized PCD sample             less, about 20 µm or less, about 10 µm to about 18 µm or,
              104 may be positioned therein on a sample holder 124. Once        about 15 µm to about 18 µm. In some embodiments, the
              positioned in the passageway, the sample holder 124 sup-          average particle size of the diamond particles may be about
              porting the magnetized PCD sample 104 may be moved 35 10 µm or less, such as about 2 µm to about 5 µm or
              axially along an axis direction 126 to induce a current in the    submicron.
              Helmholtz measuring coil 122. Measurement electronics                In an embodiment, the diamond particles of the mass of
              128 are coupled to the Helmholtz measuring coil 122 and           diamond particles may comprise a relatively larger size and
              configured to calculate the magnetic saturation based upon        at least one relatively smaller size. As used herein, the
              the measured current passing through the Helmholtz mea- 40 phrases "relatively larger" and "relatively smaller" refer to
              suring coil 122. The measurement electronics 128 may also         particle sizes (by any suitable method) that differ by at least
              be configured to calculate a weight percentage of magnetic        a factor of two (e.g., 30 µm and 15 µm). According to various
              material in the PCD sample 104 when the composition and           embodiments, the mass of diamond particles may include a
              magnetic characteristics of the metal-solvent catalyst in the     portion exhibiting a relatively larger size (e.g., 30 µm, 20
              PCD sample 104 are known, such as with iron, nickel, 45 µm, 15 µm, 12 µm, 10 µm, 8 µm) and another portion
              cobalt, and alloys thereof. Specific magnetic saturation may      exhibiting at least one relatively smaller size (e.g., 6 µm, 5
              be calculated based upon the calculated magnetic saturation       µm, 4 µm, 3 µm, 2 µm, 1 µm, 0.5 µm, less than 0.5 µm, 0.1
              and the measured weight of the PCD sample 104.                    µm, less than 0.1 µm). In one embodiment, the mass of
                 The amount of metal-solvent catalyst in the PCD sample         diamond particles may include a portion exhibiting a rela-
              104 may be determined using a number of different analyti- 50 tively larger size between about 10 µm and about 40 µm and
              cal techniques. For example, energy dispersive spectroscopy       another portion exhibiting a relatively smaller size between
              (e.g., EDAX), wavelength dispersive x-ray spectroscopy            about 1 µm and 4 µm. In some embodiments, the mass of
              (e.g., WDX), Rutherford backscattering spectroscopy, or           diamond particles may comprise three or more different
              combinations thereof may be employed to determine the             sizes (e.g., one relatively larger size and two or more
              amount of metal-solvent catalyst in the PCD sample 104. 55 relatively smaller sizes), without limitation.
                 If desired, a specific magnetic saturation constant of the        It is noted that the as-sintered diamond grain size may
              metal-solvent catalyst content in the PCD sample 104 may          differ from the average particle size of the mass of diamond
              be determined using an iterative approach. A value for the        particles prior to sintering due to a variety of different
              specific magnetic saturation constant of the metal-solvent        physical processes, such as grain growth, diamond particle
              catalyst in the PCD sample 104 may be iteratively chosen 60 fracturing, carbon provided from another carbon source
              until a metal-solvent catalyst content calculated by the          (e.g., dissolved carbon in the metal-solvent catalyst), or
              analysis software of the KOERZIMAT CS 1.096 instrument            combinations of the foregoing. The metal-solvent catalyst
              using the chosen value substantially matches the metal-           (e.g., iron, nickel, cobalt, or alloys thereof) may be provided
              solvent catalyst content determined via one or more ana-          in particulate form mixed with the diamond particles, as a
              lytical techniques, such as energy dispersive spectroscopy, 65 thin foil or plate placed adjacent to the mass of diamond
              wavelength dispersive x-ray spectroscopy, or Rutherford           particles, from a cemented carbide substrate including a
              backscattering spectroscopy.                                      metal-solvent catalyst, or combinations of the foregoing.


                                                                        Appx99
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                 In order to efficiently sinter the mass of diamond particles, damage thereto through repetitive use in a high-volume
              the mass may be enclosed in a pressure transmitting              commercial manufacturing environment. As an alternative
              medium, such as a refractory metal can, graphite structure,      to or in addition to selectively dimensioning the surface area
              pyrophyllite, combinations thereof, or other suitable pres-      of each anvil face, in an embodiment, two or more internal
              sure transmitting structure to form a cell assembly. 5 anvils may be embedded in the cubic high-pressure cell
              Examples of suitable gasket materials and cell structures for    assembly to further intensify pressure. For example, the
              use in manufacturing PCD are disclosed in U.S. Pat. No.          article W. Utsumi, N. Toyama, S. Endo and F. E. Fujita,
              6,338,754 and U.S. patent application Ser. No. 11/545,929,       "X-ray diffraction under ultrahigh pressure generated with
              each of which is incorporated herein, in its entirety, by this   sintered diamond anvils," J. Appl. Phys., 60, 2201 (1986) is
              reference. Another example of a suitable pressure transmit- 10 incorporated herein, in its entirety, by this reference and
              ting material is pyrophyllite, which is commercially avail-      discloses that sintered diamond anvils may be embedded in
              able from Wonderstone Ltd. of South Africa. The cell             a cubic pressure transmitting medium for intensifying the
              assembly, including the pressure transmitting medium and         pressure applied by an ultra-high pressure press to a work-
              mass of diamond particles therein, is subjected to an HPHT       piece also embedded in the cubic pressure transmitting
              process using an ultra-high pressure press at a temperature 15 medium.
              of at least about 1000° C. (e.g., about 1100° C. to about
              2200° C., or about 1200° C. to about 1450° C.) and a                    PDC Embodiments and Methods of Fabricating
              pressure in the pressure transmitting medium of at least                                      PDCs
              about 7.5 GPa (e.g., about 7.5 GPa to about 15 GPa, about
              9 GPa to about 12 GPa, or about 10 GPa to about 12.5 GPa) 20        Referring to FIG. 3A, the PCD embodiments may be
              for a time sufficient to sinter the diamond particles together   employed in a PDC for cutting applications, bearing appli-
              in the presence of the metal-solvent catalyst and form the       cations, or many other applications. FIG. 3A is a cross-
              PCD comprising bonded diamond grains defining interstitial       sectional view of an embodiment of a PDC 300. The PDC
              regions occupied by the metal-solvent catalyst. For example,     300 includes a substrate 302 bonded to a PCD table 304. The
              the pressure in the pressure transmitting medium employed 25 PCD table 304 may be formed of PCD in accordance with
              in the HPHT process may be at least about 8.0 GPa, at least      any of the PCD embodiments disclosed herein. The PCD
              about 9.0 GPa, at least about 10.0 GPa, at least about 11.0      table 304 exhibits at least one working surface 306 and at
              GPa, at least about 12.0 GPa, or at least about 14 GPa.          least one lateral dimension "D" (e.g., a diameter). Although
                 The pressure values employed in the HPHT processes            FIG. 3A shows the working surface 306 as substantially
              disclosed herein refer to the pressure in the pressure trans- 30 planar, the working surface 306 may be concave, convex, or
              mitting medium at room temperature (e.g., about 25° C.)          another nonplanar geometry. Furthermore, other regions of
              with application of pressure using an ultra-high pressure        the PCD table 304 may function as a working region, such
              press and not the pressure applied to exterior of the cell       as a peripheral side surface and/or an edge. The substrate
              assembly. The actual pressure in the pressure transmitting       302 may be generally cylindrical or another selected con-
              medium at sintering temperature may be slightly higher. The 35 figuration, without limitation. Although FIG. 3A shows an
              ultra-high pressure press may be calibrated at room tem-         interfacial surface 308 of the substrate 302 as being sub-
              perature by embedding at least one calibration material that     stantially planar, the interfacial surface 308 may exhibit a
              changes structure at a known pressure such as, Pb Te, thal-      selected nonplanar topography, such as a grooved, ridged, or
              lium, barium, or bismuth in the pressure transmitting            other nonplanar interfacial surface. The substrate 302 may
              medium. Optionally, a change in resistance may be mea- 40 include, without limitation, cemented carbides, such as
              sured across the at least one calibration material due to a      tungsten carbide, titanium carbide, chromium carbide, nio-
              phase change thereof. For example, PbTe exhibits a phase         bium carbide, tantalum carbide, vanadium carbide, or com-
              change at room temperature at about 6.0 GPa and bismuth          binations thereof cemented with iron, nickel, cobalt, or
              exhibits a phase change at room temperature at about 7.7         alloys thereof. For example, in one embodiment, the sub-
              GPa. Examples of suitable pressure calibration techniques 45 strate 302 comprises cobalt-cemented tungsten carbide.
              are disclosed in G. Rousse, S. Klotz, A. M. Saitta, J.              In some embodiments, the PCD table 304 may include
              Rodriguez-Carvajal, M. I. McMahon, B. Couzinet, and M.           two or more layered regions 310 and 312 exhibiting different
              Mezouar, "Structure of the Intermediate Phase of Pb Te at        compositions and/or different average diamond grain sizes.
              High Pressure," Physical Review B: Condensed Matter and          For example, the region 310 is located adjacent to the
              Materials Physics, 71, 224116 (2005) and D. L. Decker, W. 50 interface surface 308 of the substrate 302 and exhibits a first
              A. Bassett, L. Merrill, H. T. Hall, and J. D. Barnett, "High-    diamond grain size, while the region 312 is remote from the
              Pressure Calibration: A Critical Review," J. Phys. Chem.         substrate 302 and exhibits a second average diamond grain
              Ref. Data, 1, 3 (1972).                                          size that is less than that of the first average diamond grain
                 In an embodiment, a pressure of at least about 7.5 GPa in     size. For example, the second average diamond grain size
              the pressure transmitting medium may be generated by 55 may be about 90% to about 98% (e.g., about 90 to about
              applying pressure to a cubic high-pressure cell assembly that    95%) of the first diamond grain size. In another embodi-
              encloses the mass of diamond particles to be sintered using      ment, the second average diamond grain size may be greater
              anvils, with each anvil applying pressure to a different face    than that of the first average diamond grain size. For
              of the cubic high-pressure assembly. In such an embodi-          example, the first average diamond grain size may be about
              ment, a surface area of each anvil face of the anvils may be 60 90% to about 98% (e.g., about 90 to about 95%) of the
              selectively dimensioned to facilitate application of pressure    second diamond grain size.
              of at least about 7 .5 GPa to the mass of diamond particles         As an alternative to or in addition to the first and second
              being sintered. For example, the surface area of each anvil      regions exhibiting different diamond grain sizes, in an
              may be less than about 16.0 cm2 , such as less than about 16.0   embodiment, the composition of the region 310 may be
              cm2 , about 8 cm2 to about 10 cm2 . The anvils may be made 65 different than that of the region 312. The region 310 may
              from a cobalt-cemented tungsten carbide or other material        include about 15 wt % or less of a tungsten-containing
              having a sufficient compressive strength to help reduce          material (e.g., tungsten and/or tungsten carbide) interspersed


                                                                      Appx100
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              between the diamond grains to improve toughness, while the           to about 1.9 cm. A representative volume of the PCD table
              region 312 may be substantially free of tungsten. For                304 (or any PCD article of manufacture disclosed herein)
              example, the tungsten-containing material may be present in          formed using the selectively dimensioned anvil faces and/or
              the region 310 in an amount of about 1 wt% to about 10 wt            internal anvils may be at least about 0.050 cm3 • For
                                                                                                                                 3
              %, about 5 wt % to about 10 wt %, or about 10 wt %.                5 example, the volume may be about 0.25 cm to at least about
                 FIG. 3B is a schematic illustration of an embodiment of           1.25 cm or about 0.1 cm to at least about 0.70 cm3 . A
                                                                                             3                   3

              a method for fabricating the PDC 300 shown in FIG. 3A.               representative volume for the PDC 300 may be about 0.4
              Referring to FIG. 3B, a mass of diamond particles 305                cm3 to at least about 4.6 cm3 , such as about 1.1 cm 3 to at
              having any of the above-mentioned average particle sizes             least about 2.3 cm 3 •
              and distributions (e.g., an average particle size of about 50 10        In other embodiments, a PCD table according to an
              µm or less) is positioned adjacent to the interfacial surface        embodiment may be separately formed using an HPHT
              308 of the substrate 302. As previously discussed, the               sintering process (i.e., a pre-sintered PCD table) and, sub-
              substrate 302 may include a metal-solvent catalyst. The              sequently, bonded to the interfacial surface 308 of the
              mass of diamond particles 305 and substrate 302 may be               substrate 302 by brazing, using a separate HPHT bonding
              subjected to an HPHT process using any of the conditions 15 process, or any other suitable joining technique, without
              previously described with respect to sintering the PCD               limitation. In yet another embodiment, a substrate may be
              embodiments disclosed herein. The PDC 300 so-formed                  formed by depositing a binderless carbide (e.g., tungsten
              includes the PCD table 304 that comprises PCD, formed of             carbide) via chemical vapor deposition onto the separately
              any of the PCD embodiments disclosed herein, integrally              formed PCD table.
              formed with the substrate 302 and bonded to the interfacial 20          In any of the embodiments disclosed herein, substantially
              surface 308 of the substrate 302. If the substrate 302               all or a selected portion of the metal-solvent catalyst may be
              includes a metal-solvent catalyst, the metal-solvent catalyst        removed (e.g., via leaching) from the PCD table. In an
              may liquefy and infiltrate the mass of diamond particles 305         embodiment, metal-solvent catalyst in the PCD table may be
              to promote growth between adjacent diamond particles of              removed to a selected depth from at least one exterior
              the mass of diamond particles 305 to form the PCD table 304 25 working surface (e.g., the working surface 306 and/or a
              comprised of a body of bonded diamond grains having the              sidewall working surface of the PCD table 304) so that only
              infiltrated metal-solvent catalyst interstitially disposed           a portion of the interstitial regions are occupied by metal-
              between bonded diamond grains. For example, if the sub-              solvent catalyst. For example, substantially all or a selected
              strate 302 is a cobalt-cemented tungsten carbide substrate,          portion of the metal-solvent catalyst may be removed from
              cobalt from the substrate 302 may be liquefied and infiltrate 30 the PCD table 304 of the PDC 300 to a selected depth from
              the mass of diamond particles 305 to catalyze formation of           the working surface 306.
              the PCD table 304.                                                      In another embodiment, a PCD table may be fabricated
                 In some embodiments, the mass of diamond particles 305            according to any of the disclosed embodiments in a first
              may include two or more layers exhibiting different com-             HPHT process, leached to remove substantially all of the
              positions and/or different average diamond particle sizes. 35 metal-solvent catalyst from the interstitial regions between
              For example, a first layer may be located adjacent to the            the bonded diamond grains, and subsequently bonded to a
              interface surface 308 of the substrate 302 and exhibit a first       substrate in a second HPHT process. In the second HPHT
              diamond particle size, while a second layer may be located           process, an infiltrant from, for example, a cemented carbide
              remote from the substrate 302 and exhibit a second average           substrate may infiltrate into the interstitial regions from
              diamond particle size that is less than that of the first average 40 which the metal-solvent catalyst was depleted. For example,
              diamond particle size. For example, the second average               the infiltrant may be cobalt that is swept-in from a cobalt-
              diamond particle size may be about 90% to about 98% (e.g.,           cemented tungsten carbide substrate. In one embodiment,
              about 90 to about 95%) of the first diamond particle size. In        the first and/or second HPHT process may be performed at
              another embodiment, the second average diamond particle              a pressure of at least about 7 .5 GPa. In one embodiment, the
              size may be greater than that of the first average diamond 45 infiltrant may be leached from the infiltrated PCD table
              particle size. For example, the first average diamond particle       using a second acid leaching process following the second
              size may be about 90% to about 98% (e.g., about 90 to about          HPHT process.
              95%) of the second diamond particle size.                               In some embodiments, the pressure employed in the
                 As an alternative to or in addition to the first and second       HPHT process used to fabricate the PDC 300 may be
              layers exhibiting different diamond particles sizes, in an 50 sufficient to reduce residual stresses in the PCD table 304
              embodiment, the composition of the first layer may be                that develop during the HPHT process due to the thermal
              different than that of the second layer. The first layer may         expansion mismatch between the substrate 302 and the PCD
              include about 15 wt % or less of a tungsten-containing               table 304. In such an embodiment, the principal stress
              material (e.g., tungsten and/or tungsten carbide) mixed with         measured on the working surface 306 of the PDC 300 may
              the diamond particles, while the second layer may be 55 exhibit a value of about -345 MPa to about 0 MPa, such as
              substantially free of tungsten. For example, the tungsten-           about -289 MPa. For example, the principal stress measured
              containing material may be present in the first layer in an          on the working surface 306 may exhibit a value of about
              amount of about 1 wt % to about 10 wt %, about 5 wt % to             -345 MPa to about 0 MPa. A conventional PDC fabricated
              about 10 wt%, or about 10 wt%.                                       using an HPHT process at a pressure below about 7 .5 GPa
                 Employing selectively dimensioned anvil faces and/or 60 may result in a PCD table thereof exhibiting a principal
              internal anvils in the ultra-high pressure press used to             stress on a working surface thereof of about -1724 MPa to
              process the mass of diamond particles 305 and substrate 302          about -414 MPa, such as about - 770 MPa.
              enables forming the at least one lateral dimension d of the             Residual stress may be measured on the working surface
              PCD table 304 to be about 0.80 cm or more. Referring again           306 of the PCD table 304 of the PDC 300 as described in T.
              to FIG. 3A, for example, the at least one lateral dimension 65 P. Lin, M. Hood, G. A. Cooper, and R. H. Smith, "Residual
              "D" may be about 0.80 cm to about 3.0 cm and, in some                stresses in polycrystalline diamond compacts," J. Am.
              embodiments, about 1.3 cm to about 1.9 cm or about 1.6 cm            Ceram. Soc. 77, 6, 1562-1568 (1994). More particularly,


                                                                        Appx101
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              residual strain may be measured with a rosette strain gage        conventional wisdom, which suggested that a highly non-
              bonded to the working surface 306. Such strain may be             planar interfacial surface for the substrate promotes bond-
              measured for different levels ofremoval of the substrate 302      ing. In such embodiments, the topography of the interfacial
              (e.g., as material is removed from the back of the substrate      surface of the substrate may be controlled so that it is still
              302). Residual stress may be calculated from the measured 5 substantially planar and exhibits a nonplanarity that does not
              residual strain data.                                             exceed a maximum threshold.
                 FIG. 3C is a graph of residual principal stress versus            Referring again to FIG. 3A, in an embodiment, the
              substrate thickness that was measured in a PCD table of a         interfacial surface 308 of the substrate 302 may be substan-
              PDC fabricated at pressure above about 7.5 GPa in accor-          tially planar. For example, to the extent that the interfacial
              dance with an embodiment of the invention and a PCD table 10 surface 308 includes a plurality of protrusions, the protru-
              of a conventionally formed PDC. The substrate of each PDC         sions may exhibit an average surface relief height of about
              had a substantially planar interfacial surface. The residual      0 to less than about 0.00010 inch, about Oto about 0.00050
              principal stress was determined using the technique               inch, about Oto about 0.00075 inch, or about 0.000010 inch
              described in the article referenced above by Lin et al. Curve     to about 0.00010 inch. The average surface relief is the
              310 shows the measured residual principal stress on a 15 height that the protrusions extend above the lowest point of
              working surface of the PDC fabricated at a pressure above         the interfacial surface 308. A ratio of a surface area of the
              about 7.5 GPa. The PDC that was fabricated at a pressure          interfacial surface in the absence of the plurality of protru-
              above about 7.5 GPa had a PCD table thickness dimension           sions (i.e., a flat interfacial surface) to a surface area of the
              of about 1 mm and the substrate had a thickness dimension         interfacial surface with the plurality of protrusions is greater
              of about 7 mm and a diameter of about 13 mm. Curve 312 20 than about 0.600. An example of an interfacial surface that
              shows the measured residual principal stress on a working         is substantially planar is one in which the ratio is greater than
              surface of a PCD table of a conventionally PDC fabricated         about 0.600. For example, the ratio may be about 0.600 to
              at pressure below about 7.5 GPa. The PDC that was fabri-          about 0.650, about 0.650 to about 0.725, about 0.650 to
              cated at a pressure below about 7 .5 GPa had a PCD table          about 0.750, about 0.650 to about 0.950, about 0.750 to less
              thickness dimension of about 1 mm and the substrate had a 25 than 1.0, or about 0.750 to about 1.0.
              thickness dimension of about 7 mm and a diameter of about            FIGS. 4A-6B illustrate embodiments in which the
              13 mm. The highest absolute value of the residual principal       selected substantially planar topography of the interfacial
              stress occurs with the full substrate length of about 7 mm. As    surface of the substrate is controlled to reduce or substan-
              shown by the curves 310 and 312, increasing the pressure          tially eliminate cracking in and/or de-bonding of a PCD
              employed in the HPHT process used to fabricate a PDC, 30 table of a PDC. FIGS. 4Aand 4B are exploded isometric and
              above about 7.5 GPa may reduce the highest absolute value         assembled isometric views, respectively, of an embodiment
              of the principal residual stress in a PCD table thereof by        of a PDC 400 comprising a substrate 402 including an
              about 60% relative to a conventionally fabricated PDC. For        interfacial surface 404 exhibiting a selected substantially
              example, at the full substrate length, the absolute value of      planar topography. The substrate 402 may be made from the
              the principal residual stress in the PCD table fabricated at a 35 same carbide materials as the substrate 302 shown in FIG.
              pressure above about 7 .5 GPa is about 60% less than the          3A. The interfacial surface 404 includes a plurality of
              absolute value of the principal residual stress in the PCD        protrusions 406 spaced from each other and extending
              table of the conventionally fabricated PDC.                       substantially transversely to the length of the substrate 402.
                 As discussed above in relation to FIG. 3C, the application     The protrusions 406 define a plurality of grooves 408
              of higher pressure in the HPHT process used to fabricate a 40 between pairs of the protrusions 406. A PCD table 410 may
              PDC may substantially reduce the residual compressive             be bonded to the interfacial surface 406. The PCD table 410
              stresses in the PCD table. Typically, high residual compres-      may exhibit some or all of the magnetic, mechanical,
              sive stresses in the PCD table are believed desirable to help     thermal stability, wear resistance, size, compositional, dia-
              reduce crack propagation in the PCD table. The inventors          mond-to-diamond bonding, or grain size properties of the
              have found that the reduced residual compressive stresses in 45 PCD disclosed herein and/or the PCD table 304 shown in
              a PCD table of a PDC fabricated in an HPHT process at a           FIG. 3A. The PCD table 410 exhibits a maximum thickness
              pressure of at least about 7 .5 GPa may result in detrimental     "T." Because the PCD table 410 may be integrally formed
              cracking in the PCD table and de-bonding of the PCD table         with the substrate 402 and fabricated from precursor dia-
              from the substrate upon brazing the substrate to, for             mond particles, the PCD table 410 may have an interfacial
              example, a carbide extension and/or a bit body of a rotary 50 surface 411 that is configured to correspond to the topog-
              drill bit depending upon the extent of the nonplanarity of the    raphy of the interfacial surface 404 of the substrate 402.
              interfacial surface of the substrate. It is believed by the          A ratio of a surface area of the interfacial surface 404 in
              inventors that when the PDC is fabricated at a pressure of at     the absence of the plurality of protrusions 406 (i.e., a flat
              least about 7.5 GPa, at the brazing temperature, tensile          interfacial surface) to a surface area of the interfacial surface
              stresses generated in the PCD table due to thermal expansion 55 with the protrusions 406 is greater than about 0.600. For
              are greater than if the PCD table had higher residual com-        example, the ratio may be about 0.600 to about 0.650, about
              pressive stresses. Due to the higher tensile stresses at the      0.650 to about 0.725, about 0.650 to about 0.750, about
              brazing temperature, hoop stresses generated in the PCD by        0.650 to about 0.950, about 0.750 to less than 1.0, or about
              nonplanar surface features (e.g., protrusions) of the substrate   0.750 to about 1.0.
              may cause the PCD table to form radially-extending and 60            The plurality of protrusions 406 exhibits an average
              vertically-extending cracks and/or de-bond from the sub-          surface relief height "h," which is the average height that the
              strate more frequently than if fabricated at relatively lower     protrusions 406 extend above the lowest point of the inter-
              pressures. Typically, conventional wisdom taught that a           facial surface 404. For example, h may be greater than Oto
              highly nonplanar interfacial surface for the substrate helped     less than about 0.030 inch, greater than O to about 0.020
              prevent de-bonding of the PCD table from the substrate. 65 inch, greater than Oto about 0.015 inch, about 0.0050 inch
              Thus, in certain embodiments discussed in more detail in          to about 0.010 inch, or 0.0080 inch to about 0.010 inch. The
              FIGS. 3A-6B, the inventors have proceeded contrary to             maximum thickness "T" may be about 0.050 inch to about


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              0.20 inch, such as about 0.050 inch to about 0.16 inch, about       It is noted that the interfacial surface geometries shown in
              0.050 inch to about 0.10 inch, about 0.050 inch to about         the PDCs 400 and 500 are merely two examples of suitable
              0.085 inch or about 0.070 inch to about 0.080 inch. The ratio    interfacial surface geometries. Other interfacial surface
              of h/T may be less than about 0.25, such as about 0.050 to       geometries may be employed that depart from the illustrated
              about 0.125, about 0.050 to about 0.10, about 0.070 to about 5 interfacial surface geometries shown in the PDCs 400 and
              0.090, or about 0.050 to about 0.075.                            500 of FIGS. 4A-5B.
                 Referring to FIG. 4B, the outermost of the protrusions 406
              (indicated as 406a and 406b) may be laterally spaced from                                 Working Examples
              an exterior peripheral surface 414 of the substrate 402 by a
              distanced. When the PDC 400 is substantially cylindrical, a 10      The following working examples provide further detail
              ratio of d to the radius of the PCD table "R" may be about       about the magnetic properties of PCD tables of PDCs
              0.030 to about 1.0, about 0.035 to about 0.080, or about         fabricated in accordance with the principles of some of the
              0.038 to about 0.060.                                            specific embodiments of the invention. The magnetic prop-
                 FIG. SA is cross-sectional view of a PDC 500 comprising       erties  of each PCD table listed in Tables I-IV were tested
              a substrate 502 including an interfacial surface 504 exhib- 15 using a KOERZIMAT CS 1.096 instrument that is commer-
                                                                               cially available from Foerster Instruments of Pittsburgh, Pa.
              iting a selected substantially planar topography according to
                                                                               The specific magnetic saturation of each PCD table was
              yet another embodiment and FIG. 5B is an isometric view of       measured in accordance with ASTM B886-03 (2008) and
              the substrate 502. The substrate 502 may be made from the        the coercivity of each PCD table was measured using ASTM
              same carbide materials as the substrate 302 shown in FIG.        B887-03 (2008) el using a KOERZIMAT CS 1.096 instru-
              3A. The interfacial surface 504 of the substrate 502 includes 20 ment. The amount of cobalt-based metal-solvent catalyst in
              a plurality of hexagonal protrusions 506 that extend out-        the tested PCD tables was determined using energy disper-
              wardly from a face 508. The face 508 may be convex, as in        sive spectroscopy and Rutherford backscattering spectros-
              the illustrated embodiment, or substantially planar. Tops 509    copy. The specific magnetic saturation constant of the
              of the protrusions 506 may lie generally in a common plane.      cobalt-based metal-solvent catalyst in the tested PCD tables
                                                                                                                              3
              The plurality of protrusions 506 defines a plurality of 25 was determined to be about 201 G·cm /g using an iterative
              internal cavities 510. A depth of each internal cavity 510       analysis    as   previously    described.    When    a value of 201
              may decrease as they approach the center of the substrate        G·cm3 /g was used for the specific magnetic saturation con-
              502. A bottom 511 of each cavity 510 may follow the profile      stant of the cobalt-based metal-solvent catalyst, the calcu-
              of the face 508.                                                 lated amount of the cobalt-based metal-solvent catalyst in
                 The PDC 500 further includes a PCD table 512 exhibiting 30 the tested PCD tables using the analysis software of the
              a maximum thickness "T," which is bonded to the interfacial      KOERZIMAT CS 1.096 instrument substantially matched
                                                                               the measurements using energy dispersive spectroscopy and
              surface 504 of the substrate 502. The thickness of the PCD
                                                                               Rutherford spectroscopy.
              table 512 gradually increases with lateral distance from the        Table I below lists PCD tables that were fabricated in
              center of the PCD table 512 toward a perimeter 513 of the        accordance with the principles of certain embodiments of
              PDC 500. The PCD table 512 may be configured to corre- 35 the invention discussed above. Each PCD table was fabri-
              spond to the topography of the interfacial surface 504 of the    cated by placing a mass of diamond particles having the
              substrate 502. For example, protrusions 513 of the PCD           listed average diamond particle size adjacent to a cobalt-
              table 512 may fill each of the internal cavities 510 defined     cemented tungsten carbide substrate in a niobium container,
              by the protrusions 506 of the substrate 502. The PCD table       placing the container in a high-pressure cell medium, and
              512 may exhibit some or all of the magnetic, mechanical, 40 subjecting the high-pressure cell medium and the container
              thermal stability, wear resistance, size, compositional, dia-    therein to an HPHT process using an HPHT cubic press to
              mond-to-diamond bonding, or grain size properties of the         form a PCD table bonded to the substrate. The surface area
              PCD disclosed herein and/or the PCD table 304 shown in           of each anvil of the HPHT press and the hydraulic line
              FIG. 3A. The closed features of the hexagonal protrusions        pressure used to drive the anvils were selected so that the
              506 include a draft angle a, such as about 5 degrees to about 45 sintering pressure was at least about 7.8 GPa. The tempera-
              15 degrees.                                                      ture of the HPHT process was about 1400° C. and the
                 A ratio of a surface area of the interfacial surface 504 in   sintering pressure was at least about 7 .8 GPa. The sintering
              the absence of the protrusions 506 (i.e., a flat interfacial     pressures listed in Table I refer to the pressure in the
              surface) to a surface area of the interfacial surface with the   high-pressure cell medium at room temperature, and the
              protrusions 506 is greater than about 0.600. For example, the 50 actual sintering pressures at the sintering temperature are
              ratio may be about 0.600 to about 0.650, about 0.650 to          believed to be greater. After the HPHT process, the PCD
              about 0.725, about 0.650 to about 0.750, about 0.650 to          table was removed from the substrate by grinding away the
              about 0.950, about 0.750 to less than 1.0, or about 0.750 to     substrate. However, the substrate may also be removed using
              about 1.0.                                                       electro-discharge machining or another suitable method.
                 The plurality of protrusions 506 exhibits an average 55
              surface relief height "h," which is the average height that the
                                                                                                              TABLE I
              protrusions 506 extend above the lowest point of the inter-
              facial surface 504. For example, h may be greater than Oto                 Selected Magnetic Properties of PCD Tables Fabricated
              less than about 0.030 inch, greater than 0 to about 0.020                        According to Embodiments of the Invention.
              inch, greater than Oto about 0.015 inch, about 0.0050 inch 60
                                                                                         Average                                               Specific
              to about 0.010 inch, or 0.0080 inch to about 0.010 inch. The              Diamond                   Specific   Calcu-            Perme-
              maximum thickness "T' may be about 0.050 inch to about                     Particle   Sintering    Magnetic     lated   Coer-     ability
              0.10 inch, such as about 0.050 inch to about 0.085 inch or         Ex-      Size      Pressure     Saturation     Co    civity (G · cm 3 /
                                                                                                                        3
              about 0.070 inch to about 0.080 inch. The ratio ofh/T may         ample     (µrn)       (GPa)     (G · cm /g)  wt%       (Oe)    g · Oe)

              be less than about 0.25, such as about 0.050 to about 0.125, 65              20          7.8         11.15     5.549 130.2 0.08564
              about 0.050 to about 0.10, about 0.070 to about 0.090, or           2        19          7.8         11.64     5.792 170.0 0.06847
              about 0.050 to about 0.075.


                                                                           Appx103
                                                                                                                                                           JX-0003.24
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                                                                                US 10,508,502 B2
                                                17                                                                                    18
                                      TABLE I-continued                                            grains. Thus, the PCD tables according to examples of the
                                                                                                   invention listed in Table I may exhibit significantly less
                       Selected Magnetic Properties of PCD Tables Fabricated                       cobalt therein and a lower mean free path between diamond
                            According to Embodiments of the Invention.
                                                                                                   grains than the PCD tables listed in Table II.
                      Average                                                     Specific    5      Table III below lists conventional PCD tables that were
                      Diamond                   Specific      Calcu-              Perme-           obtained from PDCs. Each PCD table listed in Table III was
                      Particle    Sintering    Magnetic        lated    Coer-      ability
               Ex-      Size      Pressure     Saturation       Co      civity   (G · cm3 /        separated from a cobalt-cemented tungsten carbide substrate
              ample     (µm)       (GPa)      (G · cm3 /g)    wt%        (Oe)     g · Oe)          bonded thereto by grinding.
                 3       19         7.8          11.85         5.899    157.9    0.07505      10
                 4       19         7.8          11.15         5.550    170.9    0.06524                                         TABLE III
                 5       19         7.8          11.43         5.689    163.6    0.06987
                 6       19         7.8          10.67         5.150    146.9    0.07263              Selected Magnetic Properties of Several Conventional PCD Tables.
                 7       19         7.8          10.76         5.357    152.3    0.07065
                 8       19         7.8          10.22         5.087    145.2    0.07039                           Specific
                 9       19         7.8          10.12         5.041    156.6    0.06462                          Magnetic                                        Specific
                                                                                              15                  Saturation      Calculated   Coercivity      Permeability
                10       19         7.8          10.72         5.549    137.1    0.07819
                11       11         7.8          12.52         6.229    135.3    0.09254           Example       (G · cm3 /g)     Co wt%         (Oe)        (G · cm 3 /g · Oe)
                12       11         7.8          12.78         6.362    130.5    0.09793
                                                                                                 25                 17.23           8.572        140.4            0.1227
                13       11         7.8          12.69         6.315    134.6    0.09428
                                                                                                 26                 16.06           7.991        150.2            0.1069
                14       11         7.8          13.20         6.569    131.6    0.1003
                                                                                                 27                 15.19           7.560        146.1            0.1040
                                                                                              20 28                 17.30           8.610        143.2            0.1208
                                                                                                 29                 17.13           8.523        152.1            0.1126
                 Table II below lists conventional PCD tables that were                          30                 17.00           8.458        142.5            0.1193
              fabricated. Each PCD table listed in Table II was fabricated                       31                 17.08           8.498        147.2            0.1160
              by placing a mass of diamond particles having the listed                           32                 16.10           8.011        144.1            0.1117
              average diamond particle size adjacent to a cobalt-cemented
              tungsten carbide substrate in a niobium container, placing 25       Table IV below lists conventional PCD tables that were
              container in a high-pressure cell medium, and subjecting the     obtained from PDCs. Each PCD table listed in Table IV was
              high-pressure cell medium and the container therein to an        separated from a cobalt-cemented tungsten carbide substrate
              HPHT process using an HPHT cubic press to form a PCD             bonded thereto by grinding the substrate away. Each PCD
              table bonded to the substrate. The surface area of each anvil    table listed in Table IV and tested had a leached region from
              of the HPHT press and the hydraulic line pressure used to 30
                                                                               which cobalt was depleted and an unleached region in which
              drive the anvils were selected so that the sintering pressure
                                                                               cobalt is interstitially disposed between bonded diamond
              was about 4.6 GPa. Except for samples 15, 16, 18, and 19,
                                                                               grains. The leached region was not removed. However, to
              which were subjected to a temperature of about 1430° C., the
              temperature of the HPHT process was about 1400° C. and           determine the specific magnetic saturation and the coercivity
              the sintering pressure was about 4.6 GPa. The sintering 35 of the unleached region of the PCD table having metal-
              pressures listed in Table II refer to the pressure in the        solvent catalyst occupying interstitial regions therein, the
              high-pressure cell medium at room temperature. After the         leached region may be ground away so that only the
              HPHT process, the PCD table was removed from the cobalt-         unleached region of the PCD table remains. It is expected
              cemented tungsten carbide substrate by grinding away the         that the leached region causes the specific magnetic satura-
              cobalt-cemented tungsten carbide substrate.                   4o tion to be lower and the coercivity to be higher than if the
                                                                               leached region was removed and the unleached region was
                                       TABLE II                                tested.

                 Selected Magnetic Properties of Several Conventional PCD Tables.                                                TABLE IV
                                                                                              45
                      Average                                                     Specific                         Selected Magnetic Properties of Several
                      Diamond                 Specific  Calcu-                    Perme-                             Conventional Leached PCD Tables.
                      Particle    Sintering Magnetic     lated         Coer-       ability
               Ex-      Size      Pressure Saturation     Co           civity    (G · cm3 /                    Specific
                                                    3
              ample     (µm)       (GPa)    (G · cm /g) wt%             (Oe)      g · Oe)                     Magnetic                                            Specific
                                                                                              50              Saturation                                        Permeability
                15       20         4.61       19.30         9.605      94.64     0.2039                       (G · cm 3        Calculated     Coercivity         (G · cm 3
                16       20         4.61       19.52         9.712      96.75     0.2018           Example    per gram)         Co wt%           (Oe)           per g · Oe)
                17       20         4.61       19.87         9.889      94.60     0.2100
                18       20         5.08       18.61         9.260      94.94     0.1960         33              17.12            8.471          143.8             0.1191
                19       20         5.08       18.21         9.061     100.4      0.1814         34              13.62            6.777          137.3             0.09920
                20       20         5.86       16.97         8.452     108.3      0.1567         35              15.87            7.897          140.1             0.1133
                21       20         4.61       17.17         8.543     102.0      0.1683      55
                                                                                                 36              12.95            6.443          145.5             0.0890
                22       20         4.61       17.57         8.745     104.9      0.1675         37              13.89            6.914          142.0             0.09782
                23       20         5.08       16.10         8.014     111.2      0.1448         38              13.96            6.946          146.9             0.09503
                24       20         5.08       16.79         8.357     107.1      0.1568         39              13.67            6.863          133.8             0.1022
                                                                                                 40              12.80            6.369          146.3             0.08749

                 As shown in Tables I and II, the conventional PCD tables 60
              listed in Table II exhibit a higher cobalt content therein than    As shown in Tables I, III, and IV, the conventional PCD
              the PCD tables listed in Table I as indicated by the relatively tables of Tables III and IV exhibit a higher cobalt content
              higher specific magnetic saturation values. Additionally, the   therein than the PCD tables listed in Table I as indicated by
              conventional PCD tables listed in Table II exhibit a lower      the relatively higher specific magnetic saturation values.
              coercivity indicative of a relatively greater mean free path 65 This is believed by the inventors to be a result of the PCD
              between diamond grains, and thus may indicate relatively        tables listed in Tables III and IV being formed by sintering
              less diamond-to-diamond bonding between the diamond             diamond particles having a relatively greater percentage of


                                                                                       Appx104
                                                                                                                                                                                  JX-0003.25
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                                               19                                                                         20
              fine diamond particles than the diamond particle formula-                                         TABLE V-continued
              tions used to fabricate the PCD tables listed in Table I.
                 Examples 41-120 tested four different substrate interfacial                            Effect of Substrate Interfacial Surface Area
                                                                                                          on PCD Table Cracking Upon Brazing
              surface geometries to evaluate the effect of the interfacial
              surface area of the substrate. Twenty samples of each                    5                             Interfacial                     Number of
              substrate interfacial surface geometry were tested. All of the                          Substrate       Surface                       Samples That
                                                                                                      Diameter        Area of                      Cracked When
              PDCs in examples 41-120 were fabricated by placing a mass                    Example      (in)       Substrate (in2 )      Ratio         Brazed
              of diamond particles having an average diamond particle
                                                                                            81-100     0.625           0.524             0.588       2 out of 20
              size of about 19 µm adjacent to a cobalt-cemented tungsten
                                                                                      10   101-120     0.625           0.585             0.526       9 out of 20
              carbide substrate in a niobium container, placing the con-
              tainer in a high-pressure cell medium, and subjecting the
              high-pressure cell medium and the container therein to an
              HPHT process using an HPHT cubic press to form a PCD                            Embodiments of Applications for PCD and PDCs
              table bonded to the substrate. The surface area of each anvil 15
              of the HPHT press and the hydraulic line pressure used to                     The disclosed PCD and PDC embodiments may be used
              drive the anvils were selected so that the sintering pressure              in a number of different applications including, but not
              was at least about 7.7 GPa. The temperature of the HPHT                    limited to, use in a rotary drill bit (FIGS. 6A and 6B), a
              process was about 1400° C. The sintering pressure of 7.7                   thrust-bearing   apparatus (FIG. 7), a radial bearing apparatus
              GPa refers to the pressure in the high-pressure cell medium 20 (FIG. 8), a subterranean drilling system (FIG. 9), and a
              at room temperature, and the actual sintering pressure at the              wire-drawing die (FIG. 10). The various applications dis-
              sintering temperature of about 1400° C. is believed to be                  cussed above are merely some examples of applications in
              greater.                                                                   which the PCD and PDC embodiments may be used. Other
                 The interfacial surface for the substrate in the PDCs of                applications are contemplated, such as employing the dis-
              examples 41-60 was a substantially planar interfacial surface 25 closed PCD and PDC embodiments in friction stir welding
              having essentially no surface topography other than surface                tools.
              roughness. The interfacial surface for the substrate in the                   FIG. 6A is an isometric view and FIG. 6B is a top
              PDCs of examples 61-80 was similar to the interfacial                      elevation view of an embodiment of a rotary drill bit 600.
              surface 404 shown in FIG. 4A. The interfacial surface for the              The rotary drill bit 600 includes at least one PDC configured
              substrate in the PDCs of Examples 81-100 was slightly 30 according to any of the previously described PDC embodi-
              convex with a plurality of radially and circumferentially                  ments. The rotary drill bit 600 comprises a bit body 602 that
              equally-spaced cylindrical protrusions. The interfacial sur-               includes radially and longitudinally extending blades 604
              face for the substrate in the PDCs of examples 101-120 was                 with leading faces 606, and a threaded pin connection 608
              similar to the interfacial surface 504 shown in FIGS. SA and               for connecting the bit body 602 to a drilling string. The bit
              SB.                                                                     35 body 602 defines a leading end structure for drilling into a
                 After fabricating the PDCs of examples 41-120, the                      subterranean formation by rotation about a longitudinal axis
              substrate of each PDC was brazed to an extension cobalt-                   610 and application of weight-on-bit. At least one PDC
              cemented tungsten carbide substrate. The braze alloy had a                 cutting element, configured according to any of the previ-
              composition of about 25 wt % Au, about 10 wt % Ni, about                   ously described PDC embodiments (e.g., the PDC 300
              15 wt% Pd, about 13 wt% Mn, and about 37 wt% Cu. The 40 shown in FIG. 3A), may be affixed to the bit body 602. With
              brazing process was performed at a brazing temperature of                  reference to FIG. 6B, a plurality of PDCs 612 are secured to
              about 1013° C. After the brazing process, the PDCs of                      the blades 604. For example, each PDC 612 may include a
              examples 41-120 were individually examined using an opti-                  PCD table 614 bonded to a substrate 616. More generally,
              cal microscope to determine if cracks were present in the                  the PDCs 612 may comprise any PDC disclosed herein,
              PCD tables.                                                             45 without limitation. In addition, if desired, in some embodi-
                 Table V below lists the substrate diameter, surface area of             ments, a number of the PDCs 612 may be conventional in
              the interfacial surface of the substrates for each type of                 construction. Also, circumferentially adjacent blades 604
              substrate geometry, the ratio of the interfacial surface area of           define so-called junk slots 618 therebetween, as known in
              the substrate to a flat interfacial surface of a substrate with            the art. Additionally, the rotary drill bit 600 may include a
              the same diameter, and the number of PDC samples in which 50 plurality of nozzle cavities 620 for communicating drilling
              the PCD table cracked upon brazing to the extension cobalt-                fluid from the interior of the rotary drill bit 600 to the PDCs
              cemented tungsten carbide substrate. As shown in Table V,                  612.
              as the surface area of the interfacial surface of the substrate               FIGS. 6A and 6B merely depict an embodiment of a
              decreases, the prevalence of the PCD table cracking                        rotary drill bit that employs at least one cutting element
              decreases upon brazing.                                                 55 comprising a PDC fabricated and structured in accordance
                                                                                         with the disclosed embodiments, without limitation. The
                                           TABLE V                                       rotary  drill bit 600 is used to represent any number of
                                                                                         earth-boring tools or drilling tools, including, for example,
                            Effect of Substrate Interfacial Surface Area                 core bits, roller-cone bits, fixed-cutter bits eccentric bits
                              on PCD Table Cracking Upon Brazing                      60 bicenter bits, reamers, reamer wings, or any 'other downhol~

                                         Interfacial                      Number of      tool including PDCs, without limitation.
                          Substrate       Surface                        Samples That       The PCD and/or PDCs disclosed herein (e.g., the PDC
                          Diameter        Area of                      Cracked When      300 shown in FIG. 3A) may also be utilized in applications
                Example     (in)       Substrate (in2 )      Ratio         Brazed        other than rotary drill bits. For example, the disclosed PDC
                 41-60     0.625            0.308            1.0              0       65 embodiments may be used in thrust-bearing assemblies,
                 61-80     0.625            0.398            0.772            0          radial bearing assemblies, wire-drawing dies, artificial
                                                                                         joints, machining elements, and heat sinks.


                                                                               Appx105
                                                                                                                                                                   JX-0003.26
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                 FIG. 7 is an isometric cutaway view of an embodiment of     connected to the output shaft 906. The rotary drill bit 908 is
              a thrust-bearing apparatus 700, which may utilize any of the   shown as a roller cone bit including a plurality of roller
              disclosed PDC embodiments as bearing elements. The             cones 910. However, other embodiments may utilize differ-
              thrust-bearing apparatus 700 includes respective thrust-bear-  ent types of rotary drill bits, such as a so-called "fixed cutter"
              ing assemblies 702. Each thrust-bearing assembly 702 5 drill bit shown in FIGS. 6A and 6B. As the borehole is
              includes an annular support ring 704 that may be fabricated    drilled, pipe sections may be connected to the subterranean
              from a material, such as carbon steel, stainless steel, or     drilling system 900 to form a drill string capable of pro-
              another suitable material. Each support ring 704 includes a    gressively drilling the borehole to a greater depth within the
              plurality ofrecesses (not labeled) that receive a correspond-  earth.
              ing bearing element 706. Each bearing element 706 may be 10       A first one of the thrust-bearing assemblies 702 of the
              mounted to a corresponding support ring 704 within a           thrust-bearing apparatus 700 1 is configured as a stator that
              corresponding recess by brazing, press-fitting, using fasten-  does not rotate and a second one of the thrust-bearing
              ers, or another suitable mounting technique. One or more, or   assemblies 702 of the thrust-bearing apparatus 700 1 is con-
              all of bearing elements 706 may be configured according to     figured as a rotor that is attached to the output shaft 906 and
              any of the disclosed PDC embodiments. For example, each 15 rotates with the output shaft 906. The on-bottom thrust
              bearing element 706 may include a substrate 708 and a PCD      generated when the drill bit 908 engages the bottom of the
              table 710, with the PCD table 710 including a bearing          borehole may be carried, at least in part, by the first
              surface 712.                                                   thrust-bearing apparatus 700 1 . A first one of the thrust-
                 In use, the bearing surfaces 712 of one of the thrust-      bearing assemblies 702 of the thrust-bearing apparatus 700 2
              bearing assemblies 702 bear against the opposing bearing 20 is configured as a stator that does not rotate and a second one
              surfaces 712 of the other one of the bearing assemblies 702.   of the thrust-bearing assemblies 702 of the thrust-bearing
              For example, one of the thrust-bearing assemblies 702 may      apparatus 700 2 is configured as a rotor that is attached to the
              be operably coupled to a shaft to rotate therewith and may     output shaft 906 and rotates with the output shaft 906. Fluid
              be termed a "rotor." The other one of the thrust-bearing       flow through the power section of the downhole drilling
              assemblies 702 may be held stationary and may be termed 25 motor 904 may cause what is commonly referred to as
              a "stator."                                                    "off-bottom thrust," which may be carried, at least in part, by
                 FIG. 8 is an isometric cutaway view of an embodiment of     the second thrust-bearing apparatus 700 2 .
              a radial bearing apparatus 800, which may utilize any of the      In operation, drilling fluid may be circulated through the
              disclosed PDC embodiments as bearing elements. The radial      downhole drilling motor 904 to generate torque and effect
              bearing apparatus 800 includes an inner race 802 positioned 30 rotation of the output shaft 906 and the rotary drill bit 908
              generally within an outer race 804. The outer race 804         attached thereto so that a borehole may be drilled. A portion
              includes a plurality of bearing elements 806 affixed thereto   of the drilling fluid may also be used to lubricate opposing
              that have respective bearing surfaces 808. The inner race      bearing surfaces of the bearing elements 706 of the thrust-
              802 also includes a plurality of bearing elements 810 affixed  bearing assemblies 702.
              thereto that have respective bearing surfaces 812. One or 35      FIG. 10 is a side cross-sectional view of an embodiment
              more, or all of the bearing elements 806 and 810 may be        of a wire-drawing die 1000 that employs a PDC 1002
              configured according to any of the PDC embodiments             fabricated in accordance with the teachings described
              disclosed herein. The inner race 802 is positioned generally   herein. The PDC 1002 includes an inner, annular PCD
              within the outer race 804 and, thus, the inner race 802 and    region 1004 comprising any of the PCD tables described
              outer race 804 may be configured so that the bearing 40 herein that is bonded to an outer cylindrical substrate 1006
              surfaces 808 and 812 may at least partially contact one        that may be made from the same materials as the substrate
              another and move relative to each other as the inner race 802  302 shown in FIG. 3A. The PCD region 1004 also includes
              and outer race 804 rotate relative to each other during use.   a die cavity 1008 formed therethrough configured for receiv-
                 The radial bearing apparatus 800 may be employed in a       ing and shaping a wire being drawn. The wire-drawing die
              variety of mechanical applications. For example, so-called 45 1000 may be encased in a housing (e.g., a stainless steel
              "roller cone" rotary drill bits may benefit from a radial      housing), which is not shown, to allow for handling.
              bearing apparatus disclosed herein. More specifically, the        In use, a wire 1010 of a diameter d 1 is drawn through die
              inner race 802 may be mounted to a spindle of a roller cone    cavity 1008 along a wire drawing axis 1012 to reduce the
              and the outer race 804 may be mounted to an inner bore         diameter of the wire 1010 to a reduced diameter d 2 .
              formed within a cone and that such an outer race 804 and 50       While various aspects and embodiments have been dis-
              inner race 802 may be assembled to form a radial bearing       closed herein, other aspects and embodiments are contem-
              apparatus.                                                     plated. The various aspects and embodiments disclosed
                 Referring to FIG. 9, the thrust-bearing apparatus 700       herein are for purposes of illustration and are not intended to
              and/or radial bearing apparatus 800 may be incorporated in     be limiting. Additionally, the words "including," "having,"
              a subterranean drilling system. FIG. 9 is a schematic iso- 55 and variants thereof (e.g., "includes" and "has") as used
              metric cutaway view of a subterranean drilling system 900      herein, including the claims, shall have the same meaning as
              that includes at least one of the thrust-bearing apparatuses   the word "comprising" and variants thereof (e.g., "com-
              700 shown in FIG. 7 according to another embodiment. The       prise" and "comprises").
              subterranean drilling system 900 includes a housing 902
              enclosing a downhole drilling motor 904 (i.e., a motor, 60        The invention claimed is:
              turbine, or any other device capable of rotating an output        1. A polycrystalline diamond compact, comprising:
              shaft) that is operably connected to an output shaft 906. A       a polycrystalline diamond table, at least an unleached
              first thrust-bearing apparatus 700 1 (FIG. 7) is operably            portion of the polycrystalline diamond table including:
              coupled to the downhole drilling motor 904. A second              a plurality of diamond grains bonded together via dia-
              thrust-bearing apparatus 700 2 (FIG. 7) is operably coupled 65       mond-to-diamond bonding to define interstitial regions,
              to the output shaft 906. A rotary drill bit 908 configured to        the plurality of diamond grains exhibiting an average
              engage a subterranean formation and drill a borehole is              grain size of about 50 µm or less; and


                                                                       Appx106
                                                                                                                                                  JX-0003.27
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                 a catalyst including cobalt, the catalyst occupying at least       a plurality of diamond grains bonded together via dia-
                    a portion of the interstitial regions;                             mond-to-diamond bonding to define defining intersti-
                 wherein the unleached portion of the polycrystalline dia-             tial regions, the plurality of diamond grains exhibiting
                    mond table exhibits a coercivity of about 115 Oe to                an average grain size of about 50 µm or less; and
                    about 250 Oe;                                                   a catalyst including cobalt, the catalyst occupying at least
                 wherein the unleached portion of the polycrystalline dia-             a portion of the interstitial regions;
                    mond table exhibits a specific permeability less than           wherein the unleached portion of the polycrystalline dia-
                    about 0.10 G·cm 3 /g·Oe; and                                       mond table exhibits:
                 a substrate bonded to the polycrystalline diamond table            a coercivity of about 115 Oe to about 250 Oe;
                                                                              10
                    along an interfacial surface, the interfacial surface           a specific magnetic saturation of about 10 G·cm3 /g to
                    exhibiting a substantially planar topography;                      about 15 G·cm3 /g; and
                 wherein a lateral dimension of the polycrystalline dia-            a thermal stability, as determined by a distance cut, prior
                    mond table is about 0.8 cm to about 1.9 cm.                        to failure in a vertical lathe test, of about 1300 m to
                 2. The polycrystalline diamond compact of claim 1 15                  about 3950 m;
              wherein the unleached portion of the polycrystalline dia-             wherein a lateral dimension of the polycrystalline dia-
              mond table exhibits a specific magnetic saturation of about              mond table is about 0.8 cm or more.
              15 G·cm3 /g or less.                                                  16. The polycrystalline diamond compact of claim 15
                 3. The polycrystalline diamond compact of claim 2               wherein the unleached portion of the polycrystalline dia-
              wherein:                                                        20 mond table includes metal-solvent catalyst in an amount of
                 the specific magnetic saturation is about 10 G·cm3 /g to        about 3 weight % to about 7.5 weight %.
                    about 15 G·cm3 /g; and                                          17. The polycrystalline diamond compact of claim 16
                 the unleached portion of the polycrystalline diamond table      wherein a ratio of a surface area of a planar interfacial
                    includes metal-solvent catalyst in an amount of about 3      surface to a surface area of the substantially planar interfa-
                    weight % to about 7 .5 weight %.                          25 cial surface is greater than about 0.600.
                 4. The polycrystalline diamond compact of claim 1                  18. The polycrystalline diamond compact of claim 17
              wherein a ratio of a surface area of a planar interfacial          wherein the ratio is about 0.600 to about 0.650.
              surface to a surface area of the substantially planar interfa-        19. The polycrystalline diamond compact of claim 17
              cial surface is greater than about 0.600.                          wherein the ratio is about 0.750 to less than 1.0.
                 5. The polycrystalline diamond compact of claim 4 30
                                                                                    20. The polycrystalline diamond compact of claim 16
              wherein the ratio is about 0.600 to about 0.650.
                                                                                 wherein a Gratia of the polycrystalline diamond table is at
                 6. The polycrystalline diamond compact of claim 5
                                                                                 least about 4.0xl0 6 •
              wherein a Gratia of the polycrystalline diamond table is at
                                                                                    21. The polycrystalline diamond compact of claim 15
              least about 4.0xl0 6 •
                 7. The polycrystalline diamond compact of claim 5 35
                                                                                 wherein    the unleached portion of the polycrystalline dia-
              wherein the average grain size is about 30 µm or less.             mond table exhibits a specific permeability less than about
                 8. The polycrystalline diamond compact of claim 4               0.10 G·cm3 /g·Oe.
              wherein the ratio is about 0.750 to less than 1.0.                    22. The polycrystalline diamond compact of claim 15
                 9. The polycrystalline diamond compact of claim 1               wherein the polycrystalline diamond table is formed from
              wherein the coercivity is about 115 Oe to about 17 5 Oe.        40 only single layer of polycrystalline diamond extending from
                 10. The polycrystalline diamond compact of claim 1              an upper working surface of the polycrystalline diamond
              wherein the unleached portion of the polycrystalline dia-          table to the substrate.
              mond table exhibits a specific magnetic saturation of about           23. The polycrystalline diamond compact of claim 15
              5 G·cm3 /g to about 15 G·cm 3 /g.                                  wherein the polycrystalline diamond table includes
                 11. The polycrystalline diamond compact of claim 1 45              a first layer including coarse-sized diamond grains exhib-
              wherein the lateral dimension of the polycrystalline diamond             iting a first average grain size; and
              table is about 1.3 cm to about 1.9 cm.                                a second layer including fine-sized diamond grains.
                 12. The polycrystalline diamond compact of claim 1                 24. A polycrystalline diamond compact, comprising:
              wherein the polycrystalline diamond table is formed from              a polycrystalline diamond table, at least an unleached
              only single layer of polycrystalline diamond extending from 50           portion of the polycrystalline diamond table including:
              an upper working surface of the polycrystalline diamond               a plurality of diamond grains bonded together via dia-
              table to the substrate.                                                  mond-to-diamond bonding to define interstitial regions,
                 13. The polycrystalline diamond compact of claim 1                    the plurality of diamond grains exhibiting an average
              wherein the polycrystalline diamond table includes:                      grain size of about 10 µm to about 18 µm; and
                 a first layer including coarse-sized diamond grains exhib- 55      a catalyst including cobalt, the catalyst occupying at least
                    iting a first average grain size; and a second layer               a portion of the interstitial regions;
                    including fine-sized diamond grains.                            wherein the unleached portion of the polycrystalline dia-
                 14. A rotary drill bit, comprising:                                   mond table exhibits a coercivity of about 115 Oe to
                 a bit body including a leading end structure configured to            about 250 Oe;
                    facilitate drilling a subterranean formation; and         60    wherein the unleached portion of the polycrystalline dia-
                 a plurality of cutting elements mounted to the bit body, at           mond table exhibits a specific permeability of about
                    least one of the plurality of cutting elements configured          0.060 G·cm 3 /g·Oe to about 0.090 G·cm3 /g·Oe; and
                    as the polycrystalline diamond compact according to             a substrate bonded to the polycrystalline diamond table
                    claim 1.                                                           along an interfacial surface, the interfacial surface
                 15. A polycrystalline diamond compact, comprising:           65       exhibiting a substantially planar topography;
                 a polycrystalline diamond table, at least an unleached             wherein a lateral dimension of the polycrystalline dia-
                    portion of the polycrystalline diamond table including:            mond table is about 1.3 cm to about 1.9 cm.


                                                                        Appx107
                                                                                                                                                   JX-0003.28
337-TA-1236                                                                                                           JX-0003

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                                                                 US 10,508,502 B2
                                           25                                                       26
                25. The polycrystalline diamond compact of claim 24
              wherein:
                 the specific magnetic saturation is about 10 G·cm3 /g to
                    about 15 G·cm3 /g; and
                 the unleached portion of the polycrystalline diamond table    5
                    includes metal-solvent catalyst in an amount of about 3
                   weight % to about 7 .5 weight %.
                 26. The polycrystalline diamond compact of claim 24
              wherein a ratio of a surface area of a planar interfacial
              surface to a surface area of the substantially planar interfa-   10
              cial surface is greater than about 0.600.
                 27. The polycrystalline diamond compact of claim 26
              wherein the ratio is about 0.600 to about 0.650.
                 28. The polycrystalline diamond compact of claim 26
              wherein the ratio is about 0.750 to less than 1.0.               15

                                    * * * * *




                                                                        Appx108
                                                                                                                    JX-0003.29
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FORM 31. Certificate of Confidential Material                                           Form 31
                                                                                       July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                    CERTIFICATE OF CONFIDENTIAL MATERIAL

             Case Number: 2023-1217

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